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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                                             19 Civ. 9236 (KPF)

    TETHER AND BITFINEX CRYPTO ASSET                                OPINION AND ORDER
    LITIGATION


KATHERINE POLK FAILLA, District Judge:

             In a 593-paragraph complaint, a group of individual investors who

purchased cryptocommodities — a class of crypto-assets that includes

bitcoin — detailed a wide-ranging conspiracy to artificially inflate the price of

those cryptocommodities. The thrust of Plaintiffs’ allegations is that iFinex

Inc., BFXNA Inc., BFXWW Inc., Tether Holdings Limited, Tether Operations

Limited, Tether Limited, Tether International Limited, DigFinex Inc., Giancarlo

Devasini, Ludovicus Jan van der Velde, Philip G. Potter, Reginald Fowler,

Crypto Capital Corp., Bittrex, Inc., and Poloniex, LLC (collectively,

“Defendants”) 1 engaged in a scheme to make large, carefully-timed purchases

of cryptocommodities using a fraudulently issued crypto-asset — called “tether”

or “USDT” — in an effort to signal to the market that there was enormous,

organic demand for cryptocommodities, thus causing the price of those


1            For convenience, the Court refers to Defendants as follows: iFinex Inc., BFXNA Inc., and
             BFXWW Inc. are collectively referred to as “Bitfinex” or the “Bitfinex Defendants”; Tether
             Holdings Limited, Tether Limited, Tether Operations Limited, and Tether International
             Limited are collectively referred to as “Tether” or the “Tether Defendants”; Giancarlo
             Devasini, Ludovicus Jan van der Velde, and Philip G. Potter are collectively referred to
             as the “Individual Defendants”; DigFinex, the Bitfinex Defendants, the Tether
             Defendants, Velde, and Devasini are collectively referred to as the “B/T Defendants”;
             the B/T Defendants and Potter are collectively referred to as the “DigFinex Defendants”;
             Bittrex, Inc. and Poloniex, LLC are collectively referred to as the “Exchange
             Defendants”; and Crypto Capital Corp. and Reginald Fowler are collectively referred to
             as the “CC Defendants.”
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commodities to spike, and thereby creating and sustaining a “bubble” in the

cryptocommodity market.

      Plaintiffs initiated this putative class action in October 2019, and bring

claims against Defendants under: (i) the Sherman Act, 15 U.S.C. §§ 1-38;

(ii) the Commodities Exchange Act (“CEA”), 7 U.S.C. §§ 1-27; (iii) the civil

provisions of the Racketeer Influenced and Corrupt Organizations Act (“RICO”),

18 U.S.C. §§ 1961-1968; (iv) the common law tort of fraud; and (v) New York

General Business Law (“GBL”) § 349, for misconduct that is alleged to have

occurred from February 17, 2015, to the present (the “Class Period”).

      The B/T Defendants, the Exchange Defendants, Potter, and Fowler

(collectively, the “Moving Defendants”) have moved to dismiss the Amended

Consolidated Class Action Complaint (the “Amended Complaint” or “CAC”)

under Federal Rule of Civil Procedure 12(b)(6), and Fowler further moves to

dismiss for lack of personal jurisdiction pursuant to Rule 12(b)(2). As set forth

in the remainder of this Opinion, the Court grants in part and denies in part

the Moving Defendants’ motions to dismiss.

                                    BACKGROUND 2

A.    Factual Background

      1.     The Parties

      The Tether Defendants are the central authority over and issuer of

USDT — a “stablecoin,” so called because it is purportedly pegged to and


2     This Opinion draws its facts from Plaintiffs’ Amended Consolidated Class Action
      Complaint (the “Amended Complaint” or “CAC” (Dkt. #114)), the well-pleaded
      allegations of which are taken as true for purposes of the instant motions. Additionally,
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backed by U.S. dollars held in reserve by Tether. (CAC ¶¶ 5, 29, 112-119). 3

Plaintiffs allege that Tether “represented to the market that every USDT in

circulation was backed by a U.S. dollar in Tether’s bank account, and holders

could exchange their USDT for those dollars anytime they wished. USDT was

thus held out as the digital equivalent of U.S. dollars.” (Id. at ¶ 5; see also id.

at ¶¶ 116-117). Plaintiffs further allege that USDT is the most widely used

crypto-asset in the world by trading volume, and the third-largest crypto-asset

in the world by market capitalization, the latter of which Plaintiffs estimate at

$9.1 billion, based on the more than 9.1 billion USDT in circulation. (Id. at

¶¶ 135, 137). In 2019, Bitfinex and Tether represented that USDT possessed a

near-perfect monopoly on the stablecoin market by accounting for 98.7% of

worldwide stablecoin trading volumes; and Plaintiffs allege that for much of the



      a court may consider any written instrument attached to the complaint as an exhibit,
      any statements or documents incorporated by reference in the complaint, and
      documents that are “integral” to the complaint even if they are not incorporated by
      reference. See Chambers v. Time Warner, Inc., 282 F.3d 147, 152-53 (2d Cir. 2002); see
      generally Goel v. Bunge, Ltd., 820 F.3d 554, 559 (2d Cir. 2016).
      For ease of reference, the Court refers to the B/T Defendants’ memorandum in support
      of their joint motion to dismiss as “B/T Br.” (Dkt. #143); to the Exchange Defendants’
      memorandum in support of their joint motion to dismiss as “Exchange Br.” (Dkt. #147);
      to Philip G. Potter’s memorandum in support of his motion to dismiss as “Potter Br.”
      (Dkt. #145); to Reginald Fowler’s memorandum in support of his motion to dismiss as
      “Fowler Br.” (Dkt. #149); to Plaintiffs’ omnibus memorandum in opposition to the
      motions to dismiss as “Pl. Opp.” (Dkt. #154); to the B/T Defendants’ joint reply as “B/T
      Reply” (Dkt. #164); to the Exchange Defendants’ joint reply as “Exchange Reply” (Dkt.
      #166); to Philip G. Potter’s reply as “Potter Reply” (Dkt. #165); and to Reginald Fowler’s
      reply as “Fowler Reply” (Dkt. #171).
3     Tether Holdings Limited is the holding company of Defendants Tether Limited, Tether
      Operations Limited, and Tether International Limited, and it is incorporated in and a
      citizen of the British Virgin Islands. (CAC ¶ 30). Plaintiffs allege that Tether Operations
      Limited appears to be incorporated in and a citizen of the British Virgin Islands. (Id. at
      ¶ 31). Tether International Limited is incorporated in and a citizen of the British Virgin
      Islands. (Id. at ¶ 32). Tether Limited is incorporated in and a citizen of Hong Kong. (Id.
      at ¶ 33).
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relevant time period, Tether had a nearly 100% market share in stablecoin. (Id.

at ¶¶ 135-136).

      The Bitfinex Defendants operate an online platform called “Bitfinex” for

exchanging and trading crypto-assets. (CAC ¶ 25). 4 Bitfinex is one of the

“largest and least regulated” crypto-exchanges in the world, and it allows users

to deposit and withdraw “fiat” currency, such as U.S. dollars or euros, in

addition to facilitating crypto-to-crypto transactions. (Id. at ¶ 139).

      DigFinex Inc. (“DigFinex”) operates as the ultimate parent company of

the Bitfinex Defendants and the Tether Defendants. (CAC ¶ 23). Plaintiffs

allege that, due in part to DigFinex’s common ownership and control of Bitfinex

and Tether, Bitfinex and Tether are “essentially the same,” a fact that the

DigFinex Defendants purportedly concealed. (Id. at ¶¶ 7, 152-161). DigFinex

is incorporated in and a citizen of the British Virgin Islands, and the Individual

Defendants are among DigFinex’s shareholders. (Id. at ¶¶ 23-24).

      Ludovicus Jan van der Velde (“Velde”) is a citizen of the Netherlands and

is the Chief Executive Officer (“CEO”) of iFinex Inc., BFXNA Inc., BFXWW Inc.,

and Tether Limited, positions he has held since early 2013. (CAC ¶ 34). Velde

is one of two directors listed on the corporate registries of DigFinex, iFinex Inc.,

and Tether Limited; is a shareholder of DigFinex and Tether Holdings Limited;




4     iFinex Inc. is incorporated in and is a citizen of the British Virgin Islands. iFinex Inc.
      owns and operates the online crypto-exchange called “Bitfinex,” and is the holding
      company that wholly owns Defendants BFXNA Inc. and BFXWW Inc. (CAC ¶ 26).
      BFXNA Inc. and BFXWW Inc. are incorporated in and are citizens of the British Virgin
      Islands. (Id. at ¶¶ 27-28).
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and is the former CEO of Perpetual Action Group (Asia), a shareholder of

DigFinex. (Id.).

          Giancarlo Devasini is a citizen of Italy and the Chief Financial Officer

(“CFO”) of Bitfinex and Tether. (CAC ¶ 35). Along with Velde, he is the other

director identified on the corporate registries of DigFinex, iFinex Inc., and

Tether Limited; and he is also a shareholder of Tether Holdings Limited and

DigFinex. (Id.). Plaintiffs allege that Devasini was involved in creating Bitfinex.

(Id.).

          Philip G. Potter is a citizen of New York and a co-founder of Tether. (CAC

¶¶ 36, 122). He was the Chief Strategy Officer (“CSO”) of Bitfinex and Tether

from in or around 2013 until “around the end of February 2018.” (Potter Br. 3;

see also CAC ¶ 36). Plaintiffs allege that Potter was or is a director of Tether

Holdings Limited and a shareholder of DigFinex. (CAC ¶ 36).

          Bittrex and Poloniex operate online platforms for exchanging and trading

crypto-assets. (CAC ¶ 37). 5 Each was founded in 2014. (Id. at ¶¶ 162, 170).

As relevant here, both exchanges were, for much of the relevant period, so-

called “crypto-to-crypto exchanges,” allowing their customers to trade only

different crypto-assets for each other and refusing to offer fiat-based deposits

or exchanges. (Id. at ¶¶ 164-165, 172). Both exchanges are registered as

money services businesses with the Department of the Treasury’s Financial




5         Bittrex is incorporated in and a citizen of Delaware, with a principal place of business is
          in Washington. (CAC ¶ 38). Poloniex is incorporated in and a citizen of Delaware, with
          a principal place of business in Massachusetts. (Id. at ¶ 39).
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Crime Enforcement Network, and both entities purport to comply with Know-

Your-Customer and anti-money-laundering regulations. (Id. at ¶¶ 169, 179).

      Crypto Capital Corp. (“Crypto Capital”) is incorporated in and a citizen of

Panama. (CAC ¶ 40). It operated as a “payment processor” that marketed

itself to crypto-asset exchanges. (Id.). Reginald Fowler, a citizen of Arizona,

acted as an employee, agent, or partner of Crypto Capital, and was responsible

for, inter alia, creating shell companies and opening bank accounts that could

be used by Bitfinex and Tether to process U.S. dollar and other fiat currency

transactions. (Id. at ¶¶ 41, 182). Plaintiffs allege that Bitfinex and Tether first

partnered with Crypto Capital in 2014 and had become completely dependent

on it for day-to-day business operations by 2017 — as “conventional banks

began shutting down Tether and Bitfinex accounts” — to the point that, by

early 2018, the CC Defendants controlled more than $1 billion of Bitfinex

funds. (Id. at ¶¶ 180, 183-184). 6

      Plaintiffs Matthew Script, Jason Leibowitz, Benjamin Leibowitz, Aaron

Leibowitz, and Pinchas Goldshtein are purchasers of various

cryptocommodities. (See CAC ¶¶ 18-22). Plaintiffs allege that during the Class

Period, they each purchased cryptocommodities at prices that had been

artificially inflated by Defendants’ market manipulation, causing Plaintiffs to

suffer economic losses and actual damages. (Id.). Plaintiffs provide examples

of specific cryptocommodity purchases made during the class period. (Id.).


6     To date, Crypto Capital Corp. has not appeared or otherwise participated in this
      litigation.
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Only one of the named plaintiffs, Goldshtein, is alleged to have purchased

cryptocommodities futures. (Id. at ¶ 22). In particular, Goldshtein is alleged to

have purchased bitcoin futures between January 16, 2018, and June 3, 2020

(shortly before the filing of the Amended Complaint). (Id.).

      2.     Crypto-assets and the Cryptocommodity Market

             a.     Types of Crypto-assets

      As noted, this case involves the purportedly fraudulent creation of

crypto-assets for the purpose of manipulating the market for

cryptocommodities. Crypto-assets are “digital assets that use a variety of

cryptographic principles to secure transactions, control the creation of

additional units, and verify their transfer.” (CAC ¶ 47). 7 As of the time

Plaintiffs initiated this lawsuit, there were more than 2,000 different crypto-

assets available. (Id. at ¶ 58). Of relevance to the instant suit are two types of

crypto-assets: cryptocommodities and stablecoins. Plaintiffs allege that the

DigFinex Defendants’ dominance in the stablecoin market allowed them to

directly manipulate prices in the cryptocommodity market (see id. at ¶ 394),

and for this reason, the Court considers their allegations regarding each

crypto-asset and its functions in the crypto-economy.

      Plaintiffs contend that cryptocommodities are distinguished from other

crypto-assets by three defining features. (CAC ¶ 64). Cryptocommodities



7     “Cryptocurrency” is a commonly used term to refer to crypto-assets (CAC ¶ 47 n.37);
      however, for the purpose of resolving the instant motions, the Court adopts Plaintiffs’
      nomenclature for specific elements of the cryptocommodity market, including using the
      term “crypto-assets” in lieu of the term “cryptocurrencies.”
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(i) provide a secure medium of exchange for general purposes, (ii) have a

controlled supply that cannot be unilaterally increased, and (iii) are

decentralized. (Id.). 8 One of the first and most widely known

cryptocommodities is Bitcoin. (Id. at ¶ 48). 9

      According to Plaintiffs, the first distinguishing feature of a

cryptocommodity is that it provides a secure medium of exchange. Plaintiffs

explain that the blockchain — a “digital ledger system” that “tracks the

ownership and transfer of every bitcoin in existence” — is what allows

cryptocommodities to provide a secure medium of exchange; the blockchain

was a unique development for digital assets, which typically are easy to

duplicate. (CAC ¶¶ 49-50). For example, the Bitcoin blockchain effectively

prevents the duplication or counterfeiting of bitcoin because it: (i) provides a

full transaction history of each bitcoin, (ii) publicly lists every address and the

number of bitcoin associated with that address, and (iii) allows anyone to see

every bitcoin transaction in which that address has engaged. (Id. at ¶¶ 50-51).

      The second distinguishing feature of a cryptocommodity is that it has a

controlled supply. For example, Bitcoin maintains its blockchain and provides

for new bitcoin to enter the economy through a consensus mechanism known



8     Examples of cryptocommodities Plaintiffs purchased include bitcoin, ethereum,
      ethereum classic, litecoin, monero, dash, and ZCash. (CAC ¶ 66; see also id. at ¶¶ 18-
      22).
9     The term “bitcoin” can refer to a computer protocol or a unit of exchange. The Court
      adopts Plaintiffs’ practice and uses the term “Bitcoin” when referring to the protocol,
      software, and community, and the term “bitcoin” when referring to the units of
      exchange. (CAC ¶ 48 n.38). Similarly, “ether” refers to one unit of exchange in the
      “Ethereum” system. (Id. at ¶ 67 n.41).
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as “mining,” which process entails the use of computer programs to perform

“complex, resource-intensive automated verifications of past transactions,

which are then added to the blockchain.” (CAC ¶ 52). Bitcoin “miners” are

rewarded with new bitcoin. (Id.). Bitcoin is designed to become progressively

more difficult to mine as more bitcoin is mined, creating scarcity and ensuring

a predictable supply of bitcoin, thus “preventing a flood of new bitcoin that

could undercut the value of the preexisting bitcoin.” (Id. at ¶¶ 53-54).

        Finally, cryptocommodities are decentralized, meaning that there is no

central authority or entity that administers or manages any cryptocommodity.

(CAC ¶ 56). As Plaintiffs explain, decentralization impacts value because:

              [i]f Bitcoin were run on centralized servers, the
              underlying value of bitcoin would rely on the trust that
              individuals had in those operating the centralized
              servers. If Bitcoin’s creator could issue more bitcoin at
              a whim, the value of bitcoin would reflect that
              uncertainty.     But because Bitcoin’s cryptographic
              protocols are self-sustaining and cannot be affected by
              the originator, the success of Bitcoin does not hinge on
              any single entity.

(Id.). As such, the values of cryptocommodities are not tied to the authority or

entity issuing the asset, distinguishing it from corporate stocks and bonds or

fiat currency, all of which are tied to the value of the issuing company or the

creditworthiness or political stability of the issuing government. (Id. at ¶¶ 56-

57).

        Not all crypto-assets fit Plaintiffs’ definition of a cryptocommodity. For

example, some crypto-assets are distributed through issuances akin to those of

traditional corporate securities and do not have a controlled supply. (CAC
                                          9
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¶ 61). Others are not decentralized or meant to be used as a secure medium of

exchange. (Id. at ¶¶ 60, 62). As relevant here, one example of a crypto-asset

that is not a cryptocommodity is stablecoin. (Id. at ¶¶ 112, 114). Stablecoins

are designed to maintain a consistent value relative to non-digital assets like

gold or fiat currency, and for this reason they are neither decentralized nor

mined. (Id. at ¶¶ 113-115). Generally, an issuer unilaterally controls the

creation of new stablecoins. (Id. at ¶ 114). As such, for a stablecoin to have

value, its issuer must guarantee that it will keep the coin “stable,” for example,

by issuing new coins only in a manner linked to the asset it is intended to

mirror. (Id. at ¶ 115). If not, the coin “would be subject to potentially

unlimited inflation as more was created.” (Id. at ¶ 114). Generally, the issuer

promises to issue coins fully backed by the corresponding asset. (Id. at ¶ 113).

             b.     The Storage and Transfer of Crypto-assets

      Crypto-assets are typically stored on cryptographic “keys.” (CAC ¶ 99).

Thus, control of crypto-assets is primarily attested through the control of the

key where those assets are stored. (Id.). Cryptographic keys generally have

two components: a public key and a private key. (Id.). To use Bitcoin as an

example, the public key is used to produce the “bitcoin address” — a

destination for transfers of bitcoin, like the account number of a conventional

bank account. (Id. at ¶ 100). 10 The private key, by contrast, allows the owner




10    Bitcoin addresses are long strings of alphanumeric text, often abbreviated by a small
      group of numbers and letters appearing in the string, such as “1s5F” or “R3w9.” (CAC
      ¶ 100).
                                            10
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of bitcoin to access the bitcoin stored on a key, or to authorize the transfer of

crypto-assets from a key to the bitcoin address of another user. (Id. at ¶¶ 101-

102). As noted above, the blockchain means that the transfer of bitcoin (or any

cryptocommodity) is public. In practice, this means that anyone can see the

transferor’s bitcoin address, the recipient’s bitcoin address, and the quantity of

assets transferred; however, the names of the individuals or entities that

control these addresses are private. (Id. at ¶ 103). This system of transfer and

exchange is generally the same for most crypto-assets, including for bitcoin

and USDT. (Id. at ¶ 99).

      Crypto-exchanges emerged to enable smoother and faster trading of

crypto-assets. (CAC ¶ 105). To use an exchange to trade crypto-assets,

including cryptocommodities, a user must first create an account on that

exchange. (Id. at ¶ 106). The exchange then provides the user with a deposit

address controlled by the exchange; this exchange-generated and -controlled

deposit address is distinct from a user’s cryptographic key. (Id.). When the

user deposits crypto-assets into that deposit address from the user’s

cryptographic key, the exchange will credit her trading account with the

corresponding crypto-assets. (Id.). The exchange will typically then transfer

the crypto-assets into one of its own cryptographic keys for storage. (Id.).

Similarly, when a user withdraws crypto-assets from an exchange, the

exchange debits the user’s account and transfers a corresponding amount of

crypto-asset from the exchange’s reserve to the address specified by the user.



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(Id. at ¶ 109). 11 As such, transfers within a single crypto-exchange are not

visible in the same way that trades between cryptographic keys are visible

because these transfers do not actually transfer crypto-assets and are thus not

recorded on the blockchain. (Id. at ¶ 110). 12 Plaintiffs allege that “[w]hen a

customer with an existing account wishes to transfer more crypto-assets into

an exchange,” the customer “must ask the exchange for a deposit address[,]

[which] destination address is often different each time the customer makes a

transfer, meaning that one cannot easily trace transactions belonging to a

particular individual. (Id. at ¶ 107). 13

             c.     The Cryptocommodity Market

      Cryptocommodities make up a distinct market — which has grown

exponentially since its establishment — and had a total market capitalization

of over $176 billion in June 2020. (CAC ¶ 64). Due to the digital nature of

cryptocommodities, the geographic market is global. (Id. at ¶ 78). For



11    As Plaintiffs explain, this process is similar to the process used by a customer
      transferring funds to an online account with a stockbroker, in that the customer wires
      funds from her personal bank account to an account controlled by the broker, for which
      she has a personal identification number (or “PIN”) and password. The broker then
      credits her with an equivalent amount of funds on its trading platform and places the
      funds it received into its reserve. (See CAC ¶ 108).
12    Plaintiffs provide an illustrative example in the Amended Complaint: if a user transfers
      bitcoin from her “1s5F” address, which is not on an exchange, to an address controlled
      by an exchange, the blockchain will record a transfer from the 1s5F address to an
      address designated by the exchange and from there to an address that the exchange
      uses to store consumer bitcoin. But trades the user makes within the exchange will not
      be recorded on the blockchain. Instead, intra-exchange transactions will be logged only
      on the account balance sheets for customers trading on the platform. Such intra-
      exchange activity is visible to the exchange itself, and may be publicized by the
      exchange, but it is not public. (See CAC ¶ 110).
13    The Exchange Defendants dispute that they prohibit their customers from reusing
      deposit addresses. (See Exchange Br. 5-6).
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example, crypto-exchanges are located all over the world and often allow

customers from any country to access and use them. (Id.). 14 Plaintiffs allege

that there are “meaningful barriers to entry into the cryptocommodity market,”

including (i) the need to create a sufficiently large community of independent

“miners” and other users to “create a distributed peer-to-peer network to verify

transactions on their own blockchains”; and (ii) the need for cryptocommodities

to be traded on exchanges, a process that entails significant technical

challenges. (Id. at ¶ 71). This latter barrier must be overcome “before any

cryptocommodity can become a widely accepted means of exchange with a

long-term, independent store of value.” (Id.).

      Plaintiffs allege that the cryptocommodity market includes “both the

cryptocommodities themselves ... and their corresponding futures contracts.”

(CAC ¶ 72). They further allege that futures and spot transactions for the same

commodity are “inherently part of the same product market because they

involve the same commodity. While a commodity’s prices may be lower or

higher in futures transactions than in spot transactions, those prices will

necessarily converge as the delivery date for the futures converges to the

present.” (Id. at ¶ 74).



14    According to Plaintiffs, the demand for cryptocommodities is attributable to their ability
      to satisfy three needs that are intertwined with the global nature of the market. (CAC
      ¶ 65). Specifically, cryptocommodities (i) “are suitable for satisfying the demand for
      products that allow for quick and secure transactions” — “especially those conducted
      on international digital platforms”; (ii) “can serve as long-term stores of value not
      controlled by a government or a private entity”; and (iii) “are efficient for both large and
      small transaction volumes.” (Id. at ¶¶ 65, 67). As a result, other crypto-assets or non-
      digital assets are not substitutes for cryptocommodities. (Id. at ¶¶ 68-70).
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         The Amended Complaint illustrates the relationship between spot and

futures transactions in the cryptocommodity market using bitcoin and bitcoin

futures as an example. 15 Plaintiffs include a chart of bitcoin and bitcoin

futures prices on the Chicago Mercantile Exchange (“CME”) from December

2017 until February 2020, demonstrating that the prices of bitcoin and bitcoin

futures “move[d] in step.” (CAC ¶¶ 75-76). Plaintiffs further allege that

regulatory filings “confirm the connection between the ‘spot’ price and futures

prices,” citing information provided to the Commodity Futures Trading

Commission (“CFTC”) by the CME, which information Plaintiffs contend

establishes that “CME designed bitcoin futures to track the spot price as

closely as possible.” (Id. at ¶ 77). Plaintiffs allege that the bitcoin futures that

traded on the Chicago Board Options Exchange (“CBOE”) were similarly

engineered. (Id.). From this information, Plaintiffs posit that “[a]ny price

manipulation or interference with price discovery in the ‘spot’ market

accordingly has direct and immediate effects on bitcoin futures prices.” (Id. at

¶ 75).

         Plaintiffs also allege that the cryptocommodity market has historically

been vulnerable to price manipulation because it is volatile and lightly

regulated, as compared to other commodity markets. (CAC ¶ 79). From 2014

to 2019, the average daily volatility of bitcoin, ethereum, and litecoin was seven



15       Bitcoin futures have traded on the Chicago Mercantile Exchange (“CME”) and Chicago
         Board Options Exchange (“CBOE”) since December 2017, though bitcoin futures
         stopped trading on the Chicago Board Options Exchange (“CBOE”) in June 2019. (CAC
         ¶ 73).
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times greater than that of the Bloomberg commodity index; three times greater

than that of the Bloomberg energy index; and six times greater than that of the

Bloomberg precious metal index. (Id. at ¶ 80). Plaintiffs attribute this volatility

to several factors, including the lack of: (i) a long trading history; (ii) easily

reportable figures understood to correlate with growth; and (iii) significant price

anchors that come with large-scale institutional capital investments. (Id. at

¶ 81). Additionally, although the CFTC categorized bitcoin as a commodity in

2015, the cryptocommodity market has been subject to limited regulation. (Id.

at ¶ 82).

             d.     The Cryptocommodity Market During the Class Period

      The price of bitcoin and most cryptocommodities increased significantly

from the beginning of the class period until early 2018, when the market

crashed. (CAC ¶¶ 93-94). For example, Plaintiffs allege that from 2014 to

2016, the price of bitcoin fluctuated between $200 and $800, but that starting

in late 2016 the price began spiking; that by March 2017 the price of bitcoin

was $1,200; and that by July 2017 it had risen above $2,000. (Id. at ¶ 93).

Between July 2017 and December 2017, the price of bitcoin increased tenfold,

and on December 17, 2017, the price of bitcoin peaked — at an astounding

$20,000 per unit. (Id. at ¶ 94). At that time, bitcoin’s market capitalization

was nearly $327 billion. (Id.).

      Shortly thereafter, however, the market began to crash, and the price of

bitcoin fell to $6,200 by February 2018. (CAC ¶ 96). By December 2018, the

price of bitcoin was $3,500 and its market capitalization was $62 billion. (Id.).
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Similarly, the combined market capitalization of all virtual currencies, not just

bitcoin, was roughly $795 billion on January 6, 2018, and by February 6,

2018, had dropped more than 50% to $329 billion. (Id. at ¶ 98).

      3.    Plaintiffs’ Allegations of Misconduct

      The crux of Plaintiffs’ Amended Complaint is that the DigFinex

Defendants, who controlled Tether and Bitfinex (CAC ¶¶ 152-161), fraudulently

issued between $1 and $3 billion worth of the crypto-asset USDT, which asset

Defendants claimed was backed at all times by an equivalent amount of U.S.

dollar reserves, but was in fact completely unbacked and “print[ed] out of thin

air.” (Pl. Opp. 1; see also CAC ¶¶ 185-189, 193-194, 216-218). Plaintiffs allege

that the unbacked USDT was transferred from Tether to Bitfinex, and then

further transferred to accounts maintained by Bitfinex on two crypto-

exchanges operated by the Exchange Defendants, Poloniex and Bittrex. (CAC

¶¶ 195-218, 261-263). Once the unbacked USDT was transferred to Poloniex

and Bittrex, Defendants used it to make carefully timed purchases of

cryptocommodities when prices threatened to fall, thereby fraudulently giving

the appearance of price “floors” in the market, artificially simulating organic

demand, and creating a “colossal bubble” in the cryptocommodity market. (Id.

at ¶¶ 264-309). Plaintiffs allege that the CC Defendants assisted in covering

up that USDT was unbacked (id. at ¶¶ 342-366), and that the Exchange

Defendants were knowing and willing participants in the scheme, despite

ostensibly competing with Bitfinex (id. at ¶¶ 310-341). Given the extensive

factual allegations contained in Plaintiffs’ 150-plus-page Amended Complaint,
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the Court relays only those facts regarding Defendants’ scheme that are

relevant to resolving the instant motions.

            a.    Defendants Issued USDT Unbacked by U.S. Dollars

      As noted, Plaintiffs’ allegations stem from the fraudulent issuance of

USDT, a stablecoin that is issued and administered by the Tether Defendants.

(CAC ¶ 29). Plaintiffs allege that from Tether’s founding in 2014 through the

present, in order to maintain the value of USDT, Tether and other of the

DigFinex Defendants (including Bitfinex), repeatedly and publicly represented

that: (i) each USDT would be backed by one U.S. dollar held in Tether’s

reserves; (ii) Tether would issue new USDT only in response to legitimate

market demand — i.e., “customers willing to exchange dollars one-for-one for

USDT”; and (iii) customers could exchange USDT for U.S. dollars at any time (a

process called “burning” USDT). (Id. at ¶¶ 116-117, 119-134, 147-151

(examples of the DigFinex Defendants’ public representations)). In fact,

according to Plaintiffs, “USDT was not fully backed by U.S. dollars,” and Tether

“issued unbacked USDT for its own purposes without regard to real demand.”

(Pl. Opp. 5). The Amended Complaint provides extensive detail about how the

DigFinex Defendants issued unbacked USDT and relies on expert analysis to

support their allegations. The Court summarizes the allegations briefly below.




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      Tether’s “Treasury” is the account — solely controlled by Tether — from

and in which all USDT is issued and burned. (CAC ¶ 158). 16 Although

customers could purchase USDT directly from Tether for most of the Class

Period, the “vast majority” of USDT issued by Tether was issued to accounts on

Bitfinex, and direct purchases from Tether “made up a tiny fraction of all

issued USDT.” (Id. at ¶¶ 159-160). Critically, Bitfinex “was the only exchange

to which Tether directly transferred USDT,” and due to the exclusive

relationship between Tether and Bitfinex, Bitfinex was the only medium

through which USDT could enter the “crypto-economy.” (Id. at ¶¶ 160-161).

Plaintiffs allege that this exclusive power over the distribution of USDT gave

Bitfinex “substantial economic power in the crypto-markets” (id.), as Tether

had a nearly 100% market share in stablecoin during the relevant period (id. at

¶ 136; see also id. at ¶ 135).

      However, Plaintiffs allege that Bitfinex and Tether were secretly under

common control, which facilitated Defendants’ scheme to fraudulently issue

unbacked USDT. (See CAC ¶¶ 152-161). For example, Devasini and

Potter (Bitfinex’s CFO and CSO, respectively) created and controlled Tether’s

holding company (id. at ¶ 153), and Devasini and Velde (Bitfinex’s CEO) were

the only directors of Tether Limited (id. at ¶ 154). Plaintiffs note that the

DigFinex Defendants omitted these facts from their public statements,




16    USDT issuances and burns are visible to anyone on the blockchain; however, the
      corresponding U.S. dollar for USDT exchanges that are supposed to occur in issuances
      and burns are not visible to the public. (CAC ¶ 118).
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including websites, press releases, and announcements, thereby creating the

illusion that USDT was supported by two independent entities — one that

issued and burned USDT while maintaining a cash reserve to “back” the

crypto-asset, and one that independently distributed USDT and thus had a

vested interest in monitoring the stablecoin’s legitimacy. (Id. at ¶¶ 152-156).

      With Tether and Bitfinex under common control, the DigFinex

Defendants proceeded to issue, from October 2014 through December 2018,

$3 billion in USDT — comprising 72% percent of all USDT issued during that

time — to just two user addresses on the Bitfinex exchange. (CAC ¶¶ 203, 208,

261-262). These two addresses belong to Bitfinex. (Id. at ¶ 204). From these

two addresses, Bitfinex then transferred nearly all of the USDT it received to

two corresponding addresses, one on the Poloniex exchange and the other on

the Bittrex exchange (id. at ¶¶ 205-209), where — and as discussed in greater

detail below — it was purportedly used to make purchases that would

artificially inflate the price of cryptocommodities.

      Plaintiffs allege that the majority of the transfers of USDT from the

Tether Treasury to the two Bitfinex accounts were made in “large, round

numbers” and “in amounts and at times highly unlikely to reflect genuine

customer demand.” (CAC ¶¶ 203, 269). Even more suspect, these transfers

were then passed on — in corresponding issuances and sizes — to just two

accounts, one on Poloniex and the other on Bittrex. (Id. at ¶¶ 205-209).

Plaintiffs allege that the Poloniex and Bittrex addresses were also controlled by

Bitfinex. (Id. at ¶¶ 205-206). Specifically, Plaintiffs allege that one Bitfinex
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address (“1KYi”) transferred all USDT it received to a Poloniex address

(“1DUb”), which then credited one account controlled by Bitfinex on Poloniex

(“1AA6”); while the other Bitfinex address (“1Gjg”) transferred all USDT it

received to a Bittrex address (“1Po1”), which then credited one account

controlled by Bitfinex on Bittrex (“1J1d”). (Id. at ¶¶ 204-207).

      In sum, and despite Defendants’ public claims that USDT was issued

only in exchange for U.S. dollars in response to legitimate market demand,

Plaintiffs allege that 72% of all USDT issued by Tether through the end of 2018

passed through just four accounts upon issuance, all controlled by Bitfinex

(and the other DigFinex Defendants through common control): two belonging to

Bitfinex on the Bitfinex exchange, and from there to either an account on

Poloniex or to an account on Bittrex, both of which addresses were also

controlled by Bitfinex. (See CAC ¶¶ 280-299 (summarizing independent expert

analysis of unusual trading activity)). As Plaintiffs explain, the unusual

pattern of distribution of USDT demonstrates that “Tether was not just issuing

USDT in response to demand from consumers, which would involve

distributing relatively small amounts to many accounts. Instead it was also,

and in secret, making large issuances to its affiliate, Bitfinex[.]” (Id. at ¶ 218;

see also id. at ¶¶ 204-207). 17



17    As further evidence of this scheme, Plaintiffs allege that the regular flow of USDT
      through these four addresses “dramatically changed” following public scrutiny
      occasioned by the publication of a report in late January 2018 (the “Tether Report”),
      which report concluded that “Tether may not be minted independently of Bitcoin price
      and may be created when Bitcoin is falling” to boost bitcoin prices. (CAC ¶ 212). In
      response to publication of the Tether Report, Plaintiffs allege that all USDT transfers to
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      In essence, Plaintiffs allege that Tether and Bitfinex were issuing USDT to

themselves. Although Tether could have obtained U.S. dollars from Bitfinex in

exchange for every USDT it issued to the two Bitfinex accounts — and thus

could have maintained an adequate reserve of U.S. dollars to back each

outstanding USDT as promised (see CAC ¶¶ 119-134) — the Amended

Complaint alleges that such an explanation is “economically impossible” (id. at

¶ 220). For example, in December 2017, Tether issued 605 million USDT to

Bitfinex, but iFinex — Bitfinex’s parent company — had total revenues of only

$333.5 million for the entirety of 2017. (Id.). This figure suggests that Bitfinex

did not have $605 million to pay Tether for the 605 million in USDT issued to it

in December 2017, and thus Tether did not have adequate cash reserves to

support all of the USDT issued to Bitfinex. (Id.).

      Furthermore, Plaintiffs’ examination of Tether’s historical difficulties in

obtaining and retaining access to the U.S. financial system through

correspondent banks is presented as support for their allegation that

Defendants issued unbacked USDT to themselves. (See CAC ¶¶ 219-258). In

order to maintain its one-to-one reserve of U.S. dollars to back outstanding

USDT, Tether would need access to the banking systems required to maintain

such a reserve. (Id. at ¶¶ 222, 236). From October 2014 through March 2017,

Tether issued roughly 42 million USDT. (Id. at ¶ 242). However, in early 2017,

Bitfinex’s and Tether’s banks cut off access to their U.S. correspondent


      the 1AA6 and 1J1d addresses ceased for ten days, while USDT transfers from Bitfinex
      to other addresses continued as before. (Id. at ¶ 213).
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banking services, and they did not regain access to U.S. correspondent

banking for another six months. (Id. at ¶¶ 233-235, 239). Yet during those six

months, Tether somehow issued 409 million new USDT (id. at ¶ 240) — nearly

ten times the total USDT issued in the previous two-and-a-half-years — and

thus, to maintain USDT’s one-to-one backing, Tether would have needed

access to U.S. correspondent banking to deposit $409 million obtained in

exchange for the issuance of this new USDT. (Id. at ¶ 241; see also id. at

¶¶ 223-227 (describing how correspondent banking works and its importance

to entities like Bitfinex and Tether)). 18 In response to questions about this very

issue, Tether refused to disclose the names of any new banks, and thus

declined to identify the location of its cash reserves. (Id. at ¶ 246).

             b.      The CC Defendants’ Role in Defendants’ Scheme

      Plaintiffs allege that as Tether and Bitfinex lost access to the U.S.

banking system, they became increasingly dependent on the CC Defendants to

“circumvent correspondent bank monitoring and facilitate access to U.S.


18    The Amended Complaint is replete with similar examples. In April 2018, Tether issued
      130 million in USDT — and should have added a corresponding $130 million to its cash
      reserves — yet that same month Bitfinex was having “extreme difficulty honoring its
      clients’ requests to [withdraw] their money from the trading platform.” (CAC ¶¶ 248-
      249). Similarly, in October 2018, as Devasini implored Crypto Capital to send Bitfinex
      cash to honor client redemption requests, Tether “delisted” 1.04 billion USDT, reducing
      the amount of outstanding USDT by nearly 40% and — if Tether’s promises regarding
      USDT were accurate — requiring customers to send 1.04 billion in USDT to be
      “burned,” and for Tether to send customers $1.04 billion. (Id. at ¶¶ 251, 253).
      Plaintiffs allege that an analysis of the blockchain reveals no massive transfer of 1.04
      billion USDT in October 2018; instead, the blockchain reveals a net transfer of just 72
      million USDT back to Bitfinex. (Id. at ¶¶ 254-255). Nor did Tether and Bitfinex have $1
      billion in cash to distribute, as Devasini’s messages to Crypto Capital reveal. (Id. at
      ¶ 257). Rather, Plaintiffs allege the 1.04 billion in USDT that was delisted could “easily
      [be] pull[ed] back from Bitfinex and destroy[ed] without having to pay U.S. dollars in
      return” because Tether “had issued that USDT directly to Bitfinex without receiving
      U.S. dollars in exchange.” (Id. at ¶ 256).
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banking,” in order to access cash and thus maintain the illusion that USDT

was backed by U.S. dollars. (See CAC ¶ 247; see also id. at ¶¶ 349-363).

Specifically, the CC Defendants provided Bitfinex and Tether access to the U.S.

banking system by creating bank accounts in the name of shell corporations,

which accounts allowed Bitfinex and Tether to access the U.S. banking system

to execute exchanges with customers. (Id. at ¶¶ 349-359). These “shadow

accounts” were closed when banks determined the accounts were being used

by Bitfinex and Tether, driving Crypto Capital and Fowler to create new

accounts in what Potter called a “cat-and-mouse” game. (See id. at ¶¶ 344-

346; see also id. at ¶ 362). Plaintiffs allege that the CC Defendants’ conduct

was “essential to Bitfinex and Tether’s scheme to make manipulative purchases

with debased USDT,” because “[w]ithout the illicit access to the U.S. financial

system facilitated by Fowler and Crypto Capital, Bitfinex and Tether would not

have been able to honor any withdrawal requests, which would have quickly

exposed that USDT was not redeemable or fully backed.” (Id. at ¶ 360).

      Critically, according to Plaintiffs, Fowler and Crypto Capital knew that

(i) “Bitfinex and Tether relied on Crypto Capital’s accounts to transact in fiat

currency”; (ii) “these transactions supported the market’s belief that USDT was

fully backed”; and (iii) the illusion of USDT’s full backing “facilitated the

manipulation of cryptocommodity prices.” (CAC ¶ 361). As support, Plaintiffs

point to a series of exchanges on October 15, 2018, between Devasini — CFO of

Tether and Bitfinex, and director and shareholder of DigFinex and iFinex —

and a Crypto Capital employee on the messaging app Telegram, in which
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Devasini pleads with Crypto Capital to “move at least 100M” to the DigFinex

Defendants to honor client redemption requests. (Id. at ¶ 362). Devasini

warns that failure to honor the requests would reveal that USDT was unbacked

and “could be extremely dangerous for everybody [in] the entire crypto

community,” because “BTC [i.e., bitcoin] could tank to below 1k if we don’t act

quickly[.]” (Id.). Plaintiffs allege that the CC Defendants participated in and

benefited from the scheme because (i) they were heavily invested in the

continued success of the crypto-asset market, as their entire business model

depended on its continued existence; (ii) they earned fees and interest on

transactions with the DigFinex Defendants; and (iii) the value of their own

reserves of cryptocommodities were inflated by the scheme, allowing them to

“tak[e] advantage of the bubble they helped create.” (Id. at ¶¶ 364-366).

            c.     Defendants Used USDT to Manipulate the
                   Cryptocommodity Market

      While the scheme to conceal the unbacked nature of USDT was quite

complex, Defendants’ scheme to use that unbacked USDT to manipulate the

cryptocommodity market was relatively straightforward. In brief, having

convinced the market that each USDT had the value equivalent of one U.S.

dollar, the DigFinex Defendants then “us[ed] the USDT they printed for

themselves to manipulate the cryptocommodity market” by signaling to the

market that the purchases they made with unbacked USDT “reflect[ed] massive

and measurable customer demand for … cryptocommodities. These purchases

thus naturally raised cryptocommodity prices.” (CAC ¶¶ 259, 272).


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      As noted above, Plaintiffs allege that from October 2014 through

December 2018, Tether issued 3 billion USDT — 72% of all USDT issued

during that time — to two Bitfinex-owned accounts on the Bitfinex exchange,

from which accounts Bitfinex then transferred the USDT to two Bitfinex-

controlled accounts on Poloniex and Bittrex. (CAC ¶¶ 203-209, 262). After the

USDT sent to Bittrex and Poloniex was credited to Bitfinex’s accounts, Bitfinex

used it to purchase cryptocommodities. (Id. at ¶ 264). Those “illicitly acquired

cryptocommodities” were then sent back to Bitfinex’s exchange address, where

Bitfinex sold them to its customers for U.S. dollars. (Id.). 19 Plaintiffs provide

extensive data to corroborate their allegations. (Id. at ¶¶ 265-269).

      Importantly, Plaintiffs contend that Defendants’ fraudulent scheme did

not just involve the conversion of unbacked USDT to valuable assets such as

fiat currency and cryptocommodities; instead, Plaintiffs allege that the entire

scheme was designed to, and had the effect of, artificially inflating the price of

bitcoin and other cryptocommodities. (See CAC ¶¶ 10-12). Because the

market falsely viewed USDT as equivalent to U.S. dollars, large influxes of this

crypto-asset into the cryptocommodity market had an outsized impact; the

market viewed influxes of USDT as a sign of an influx of new cash, and thus

increased demand, into the cryptocommodity market. (See id. at ¶¶ 272, 274).




19    Plaintiffs suggest, but do not directly allege, that the DigFinex Defendants were able to
      sell off these illicitly acquired cryptocommodities in secret using so-called “hidden”
      orders, in which the “‘hidden’ order does not appear on the publicly visible order book.”
      (CAC ¶ 144). Plaintiffs allege that “[t]hese hidden orders present an opaque channel
      mechanism for selling off bitcoin without crashing the price.” (Id.).
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      Specifically, Plaintiffs allege that the DigFinex Defendants made

carefully-timed, strategic purchases of cryptocommodities using their

unbacked USDT when cryptocommodity prices began to fall, in order to: (i) stop

prices from falling (CAC ¶¶ 276-277); (ii) push the prices of cryptocommodities

back up by causing “price reversions” (id. at ¶¶ 273-276, 278-279); and

(iii) keep prices above certain “round number thresholds” that fostered the

misimpression of “floors” below which cryptocommodity prices would not drop

(see id. at ¶¶ 295-296). In turn, this price manipulation was self-perpetuating,

as it caused the market to falsely believe that: (i) there was increased, organic

demand for cryptocommodities; and (ii) the value of cryptocommodities would

remain stable, and would not pass below certain price thresholds, thus

spurring further investment in cryptocommodities and further inflating prices.

(See id. at ¶ 191).

      As an example, Plaintiffs allege that, when cryptocommodity prices had

decreased by 5% or more, the DigFinex Defendants transferred, on average, ten

times more USDT to Poloniex and Bittrex than when prices had gone up. (CAC

¶¶ 276-277). Plaintiffs provide both data visualizations analyzing, and specific

examples of, instances where the DigFinex Defendants sent large influxes of

USDT to their Poloniex and Bittrex accounts, causing cryptocommodity prices

to rise. (See, e.g., id. at ¶¶ 272, 274-275, 278-279). Plaintiffs also cite

extensively to independent, expert analysis purporting to corroborate the

relationship between unbacked USDT, large transfers of USDT from Bitfinex to

Poloniex and Bittrex, and the increase in bitcoin and other cryptocommodity
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prices between March 2017 and March 2018. (See id. at ¶¶ 280-309).

Plaintiffs allege that Defendants’ conspiracy “created the largest asset bubble in

history” — as noted previously, at its height, bitcoin traded at $20,000 in

December 2017, before falling to $3,500 a year later. (See id. at ¶¶ 94, 96-97,

272)

             d.    The Exchange Defendants’ Role in Defendants’ Scheme

       Plaintiffs allege that the DigFinex Defendants needed to utilize other

crypto-exchanges to “flip” their unbacked USDT into more valuable

cryptocommodities, because to have Tether deposit massive amounts of USDT

directly to Bitfinex’s accounts on the Bitfinex exchange, and then immediately

attempt to purchase bitcoin with that newly minted USDT, would raise too

many red flags. In consequence, Bitfinex transferred USDT to one account at

each of Poloniex and Bittrex — direct competitors — and from these accounts

was able to purchase cryptocommodities anonymously and in large quantities,

thereby artificially creating demand for and manipulating the price of

cryptocommodities. (CAC ¶¶ 272, 421).

       Plaintiffs assert that Poloniex and Bittrex were more than just unwitting

facilitators of Defendants’ scheme. For most of the relevant time period,

neither exchange accepted fiat-based deposits nor offered fiat-based exchanges,

and as such, for example, users could not exchange bitcoin for U.S. dollars on

Poloniex or Bittrex. (CAC ¶¶ 164, 172). Thus, USDT was a critical crypto-asset

for both exchanges to support, because it purported to “combine the best

aspects of fiat currency and crypto-assets: [i]t [was] stable and safe like the
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U.S. dollar but also, like other crypto-assets, easily transferable across

different crypto-exchanges, and free from many government regulations.” (Id.

at ¶ 119). Both Poloniex and Bittrex adopted and advertised Tether’s

guarantee that each USDT was backed by a U.S. dollar, and both worked

closely with Tether to list USDT. (See id. at ¶¶ 166-167, 173-174, 318-319). 20

Plaintiffs allege that Poloniex and Bittrex quickly became large and successful

crypto-exchanges, in part as a result of their early adoption of USDT. (Id. at

¶¶ 168, 175).

      On the specific issue of knowledge, Plaintiffs allege that the Exchange

Defendants “knew that Bitfinex was the entity depositing massive volumes of

USDT into the 1J1d and 1AA6 addresses because Bittrex and Poloniex had

worked specifically with Bitfinex to enable those transfers.” (CAC ¶ 312). To

Plaintiffs, this agreement is evidenced by the uncommon practice employed by

the Exchange Defendants with respect to the 1J1d and 1AA6 addresses of

allowing Bitfinex to re-use these addresses multiple times, when ordinary

customers “are routinely given a new deposit address when they want to

transfer USDT to their Bittrex or Poloniex account.” (Id. at ¶¶ 313-315).

Similarly, evidence of an unusual and intentional arrangement between the

Exchange Defendants and the DigFinex Defendants is evident in the relative




20    Plaintiffs no longer rely on the claim in paragraph 173 of the Amended Complaint that
      trading of USDT on Bittrex began in March 2017. (See Pl. Opp. 9 n.2). However,
      Plaintiff continues to rely on its other assertions in paragraph 173 (id.), and as such the
      Court must “assume [those] well-pleaded factual allegations to be true,” Faber v. Metro.
      Life Ins. Co., 648 F.3d 98, 104 (2d Cir. 2011).
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proportion of USDT traded on the Exchange Defendants’ platform relative to

other crypto-exchanges: the cumulative net flow of USDT to Bittrex and

Poloniex accounted for more than half of all USDT issued, even though trading

of cryptocommodities and other crypto-assets on Bittrex and Poloniex

represented only a small fraction of the overall market. (Id. at ¶ 334). Plaintiffs

contrast the relative saturation of USDT at Poloniex and Bittrex with the

minimal flow of USDT to Binance, the largest crypto-exchange in the world.

(Id. at ¶ 335 (“[W]hen Binance first listed USDT, minimal USDT flowed to its

exchange[,] [a]nd even at the peak of the bubble, Binance experience[d]

relatively little USDT demand.”)).

      Plaintiffs further contend that the Exchange Defendants knew that

Bitfinex controlled the 1J1d and 1AA6 addresses “because federal know-your-

customer … requirements prohibit them from accepting such large transfers

from an anonymous source,” and because both exchanges purported to follow

such requirements and stated that they had systems in place to comply with

them. (CAC ¶¶ 320-322). 21 Proceeding from that proposition, Plaintiffs allege

that because the Exchange Defendants knew that Bitfinex controlled the 1J1d

and 1AA6 addresses, and thus had “direct visibility into the daily trading

activity” of Bitfinex’s accounts (id. at ¶ 322), they necessarily knew that USDT

was not being issued in response to organic customer demand (id. at ¶¶ 324-

325). More broadly, Plaintiffs contend that the Exchange Defendants were


21    Prior to the release of the Tether Report, Bitfinex sent $1.5 billon to Poloniex through
      the 1J1d address and $1.2 billion to Bittrex through the 1AA6 address. (CAC ¶ 314).
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aware of the unbacked nature of USDT and its use to manipulate crypto-

commodity prices because of their knowledge of the DigFinex Defendants’

cashflow issues, and based on the pattern of transfers and issuances they

could observe:

             Because it happened on their exchanges, Bittrex and
             Poloniex also knew that Tether and Bitfinex were using
             this debased USDT to buy cryptocommodities. They
             knew which assets the Tether Defendants were buying
             and when, and that the cryptocommodities they
             purchased were being transferred back to Bitfinex.
             They also knew how those purchases affected
             cryptocommodity prices on their own exchanges. Given
             the size and regularity of these transfers through a
             mechanism they created for that exact purpose and
             their perfect visibility into the transactions, Bittrex and
             Poloniex knew the manipulative effect of the
             transactions on their exchanges.

(Id. at ¶ 331; see also id. at ¶¶ 208, 324-333).

      Despite full knowledge of the DigFinex Defendants’ scheme and of their

legal obligations to report suspicious transactions, the Exchange Defendants

did not report such transactions, and instead are alleged to have knowingly

and willingly facilitated such transactions by setting up “bespoke” accounts for

Bitfinex. (CAC ¶ 332). Furthermore, despite being direct competitors of

Bitfinex, the Exchange Defendants purportedly agreed to participate in the

DigFinex Defendants’ scheme because they benefitted from: (i) increased

trading volume caused by market manipulation; (ii) increased commissions

from increased trading; (iii) increased value in their cryptocommodity reserves

due to the artificial price inflation; and (iv) the continued viability of the



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cryptocommodity market, upon which market their entire business model

depended. (Id. at ¶¶ 339-341).

B.    Procedural Background

      Plaintiffs filed the initial class action complaint in this case, then

captioned Leibowitz v. iFinex Inc. et al., on October 6, 2019. (Dkt. #1).

Thereafter, three related lawsuits were filed. See Young et al. v. iFinex Inc. et

al., No. 20 Civ. 169 (KPF), Dkt. #1 (S.D.N.Y. Jan. 8, 2020); Faubus v. iFinex Inc.

et al., No. 20 Civ. 211 (KPF), Dkt. #1 (S.D.N.Y. Jan. 9, 2020); Ebanks v. iFinex

Inc. et al., No. 20 Civ. 453 (KPF), Dkt. #1 (S.D.N.Y. Jan. 16, 2020).

      On January 16, 2020, plaintiffs in the Liebowitz, Young, and Faubus

cases filed a joint letter to consolidate. (Dkt. #61). On January 24, 2020, the

Ebanks Plaintiffs filed a letter joining in the motion to consolidate. Ebanks v.

iFinex Inc. et al., No. 20 Civ. 453 (KPF), Dkt. #8 (S.D.N.Y. Jan. 24, 2020).

Accordingly, by Order dated January 27, 2020, the Court granted the motion to

consolidate (Dkt. #67), and on February 24, 2020, it held oral argument on the

competing motions for the appointment of interim lead class counsel. (See

Minute Entry for February 24, 2020; see also Dkt. #96 (Transcript)). On the

record on February 27, 2020, the Court granted the Leibowitz Plaintiffs’ motion

to appoint interim lead counsel. (See Minute Entry for February 27, 2020; see

also Dkt. #97 (transcript)).

      On March 5, 2020, the Court adopted the parties’ proposed schedule for

the submission of Plaintiffs’ anticipated amended class complaint and for

briefing Defendants’ anticipated motions to dismiss. (Dkt. #99). After several
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delays not pertinent to resolving the instant motion, on May 14, 2020, the

Court endorsed the parties’ proposed case management plan and scheduling

order (Dkt. #109); Plaintiffs filed the Amended Complaint, the operative

pleading in this case, on June 5, 2020 (Dkt. #114); and on July 7, 2020, the

Court adopted the parties’ joint Stipulation and Order setting a briefing

schedule for Defendants’ anticipated motions to dismiss (Dkt. #130).

      Thereafter, on August 7, 2020, the Exchange Defendants filed a pre-

motion letter seeking to pursue a motion for summary judgment instead of a

motion to dismiss, arguing that the Exchange Defendants had proof that the

1J1d and 1AA6 addresses did not belong to Bitfinex, and instead “belong to an

individual with no apparent connection to Bitfinex, other than as a customer of

its exchange, who is known to engage in a lawful arbitrage strategy.” (Dkt.

#135). Plaintiffs filed a letter in opposition on August 12, 2020. (Dkt. #137).

By Order dated August 14, 2020, the Court denied the Exchange Defendants’

motion to pursue summary judgment before the parties had engaged in any

discovery, and reaffirmed the briefing schedule on Defendants’ anticipated

motions to dismiss set by the July 7, 2020 Stipulation and Order. (Dkt. #139).

      On September 3, 2020, the B/T Defendants, the Exchange Defendants,

Potter, and Fowler filed their respective motions to dismiss and supporting

papers. (Dkt. #142-149). On November 5, 2020, Plaintiffs filed a consolidated

memorandum of law in opposition to the motions to dismiss. (Dkt. #154). On

December 17, 2020, the B/T Defendants, the Exchange Defendants, and Potter

filed their reply briefs. (Dkt. #164-166). Fowler filed his reply brief on
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January 19, 2021. (Dkt. 171). 22 Accordingly, the Moving Defendants’ motions

to dismiss are fully briefed and ripe for decision.

                                      DISCUSSION 23

A.    The Court Has Personal Jurisdiction over Fowler

      While the Exchange Defendants, Potter, and the B/T Defendants do not

contest personal jurisdiction, Defendant Fowler argues that neither RICO, nor

the CEA, nor New York’s long-arm statute allows the Court to exercise personal

jurisdiction over him. (See Fowler Br. 3-11; Fowler Reply 1-6). Fowler further

argues that the assertion of jurisdiction over him would be inconsistent with

principles of due process. (See Fowler Br. 12-13; Fowler Reply 6-7).

      “A court facing challenges as to both its jurisdiction over a party and the

sufficiency of any claims raised must first address the jurisdictional question.”

Cohen v. Facebook, Inc., 252 F. Supp. 3d 140, 148 (E.D.N.Y. 2017) (citing

Arrowsmith v. United Press Int’l, 320 F.2d 219, 221 (2d Cir. 1963)). Therefore,

the Court will first address Fowler’s motion to dismiss Plaintiffs’ claims for lack




22    By letter dated December 11, 2020, and in the middle of briefing the instant motion,
      counsel for Fowler moved to withdraw as his attorney. (Dkt. #159). After receiving a
      letter from Plaintiffs regarding the motion to withdraw (Dkt. #168), and hearing oral
      argument on the motion (see Minute Entry for December 22, 2020; see also Dkt. #174
      (transcript)), the Court conditionally granted the motion to withdraw pending the
      submission of a reply brief on Fowler’s behalf (Dkt. #169). After receiving Fowler’s reply
      brief on January 19, 2021 (Dkt. #171), the Court issued an Order confirming that the
      motion to withdraw had been fully granted (Dkt. #172). To the best of the Court’s
      knowledge, Fowler is now proceeding pro se in this litigation.
23    The parties do not dispute, at least for purposes of the instant motion, that this Court
      has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337, and 18 U.S.C.
      § 1964(c).
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of personal jurisdiction before addressing the merits of the Moving Defendants’

motions to dismiss for failure to state a claim.

      1.     Applicable Law

      On a motion to dismiss for lack of personal jurisdiction pursuant to

Rule 12(b)(2), the plaintiff bears the burden of showing that the court has

jurisdiction over the defendant. In re Magnetic Audiotape Antitrust Litig., 334

F.3d 204, 206 (2d Cir. 2003); accord In re Terrorist Attacks on Sept. 11, 2001,

714 F.3d 659, 673 (2d Cir. 2013). “Prior to discovery, a plaintiff challenged by

a jurisdiction testing motion may defeat the motion by pleading in good faith,

legally sufficient allegations of jurisdiction. At that preliminary stage, the

plaintiff’s prima facie showing may be established solely by allegations.”

Dorchester Fin. Sec., Inc. v. Banco BRJ, S.A., 722 F.3d 81, 84-85 (2d Cir. 2013)

(citation omitted); accord In re Terrorist Attacks, 714 F.3d at 673 (“In order to

survive a motion to dismiss for lack of personal jurisdiction, a plaintiff must

make a prima facie showing that jurisdiction exists.” (citation omitted)). All

jurisdictional allegations “are construed in the light most favorable to the

plaintiff and doubts are resolved in the plaintiff’s favor[.]” A.I. Trade Fin., Inc. v.

Petra Bank, 989 F.2d 76, 79-80 (2d Cir. 1993). However, the court “will not

draw argumentative inferences in the plaintiff’s favor” and need not “accept as

true a legal conclusion couched as a factual allegation.” In re Terrorist Attacks,

714 F.3d at 673 (citations omitted); accord Licci ex rel. Licci v. Lebanese

Canadian Bank, SAL, 673 F.3d 50, 59 (2d Cir. 2012).



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      District courts deciding a motion to dismiss for lack of personal

jurisdiction engage in a two-part analysis. First, the court must establish

whether there is “a statutory basis for exercising personal jurisdiction[.]”

Marvel Characters, Inc. v. Kirby, 726 F.3d 119, 128 (2d Cir. 2013). Second, the

court must decide whether the exercise of jurisdiction comports with due

process. Sonera Holding B.V. v. Çukurova Holding A.S., 750 F.3d 221, 224 (2d

Cir. 2014) (per curiam). In part one of the analysis, the court “applies the

forum state’s personal jurisdiction rules,” unless a federal statute “specifically

provide[s] for national service of process.” PDK Labs, Inc. v. Friedlander, 103

F.3d 1105, 1108 (2d Cir. 1997) (internal quotation marks omitted).

      2.     Analysis

             a.      Bases for Exercising Personal Jurisdiction

      Plaintiffs proffer several separate bases for exercising personal

jurisdiction over Fowler, including RICO’s jurisdictional provisions, 18 U.S.C.

§ 1965(a)-(b); the CEA’s jurisdictional provision, 7 U.S.C. § 25(c); New York’s

long-arm statute, N.Y. C.P.L.R. (“CPLR”) § 302(a)(1); and conspiracy jurisdiction

as articulated in cases such as Charles Schwab Corporation v. Bank of America

Corporation, 883 F.3d 68 (2d Cir. 2018). Fowler counters that, as a resident of

Arizona, he did not “transact[] his affairs” in New York or otherwise have any

significant connections to the state. (Fowler Br. 3-5, 6-8). 24


24    In their opposition brief, Plaintiffs assert jurisdiction over Fowler under the CEA, which
      provides that “[p]rocess ... may be served in any judicial district of which the defendant
      is an inhabitant or wherever the defendant may be found.” 7 U.S.C. § 25(c). (See Pl.
      Opp. 76). Fowler does not contest that the Court could properly exercise jurisdiction
      over him pursuant to this provision, but argues instead that Plaintiffs failed to cite
                                              35
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                     i.      The Court Has Personal Jurisdiction over Fowler
                             Pursuant to Section 1965(b)

      Turning first to the RICO statute, the Court finds that Plaintiffs have

established personal jurisdiction over Fowler pursuant to Section 1965(b),

which provides in relevant part:

             In any action under section 1964 of this chapter in any
             district court of the United States in which it is shown
             that the ends of justice require that other parties
             residing in any other district be brought before the
             court, the court may cause such parties to be
             summoned, and process for that purpose may be served
             in any judicial district of the United States by the
             marshal thereof.

18 U.S.C. § 1965(b). Courts have allowed this provision to be triggered only

after a finding that a court has proper jurisdiction over at least one defendant

under Section 1965(a), which permits the institution of a civil RICO action

“against any person ... for any district in which such person resides, is found,

has an agent, or transacts his affairs.” 18 U.S.C. § 1965(a); see also PT United

Can Co. v. Crown Cork & Seal Co., 138 F.3d 65, 71 (2d Cir. 1998); Dandong Old

N.-E. Agric. & Animal Husbandry Co. v. Hu, No. 15 Civ. 10015 (KPF), 2017 WL

3328239, at *6 (S.D.N.Y. Aug. 3, 2017). Courts in this Circuit have concluded

that “[t]he phrase ‘transacts his or her affairs’ contained in § 1965(a) ‘has been




      Section 25(c) as a ground for personal jurisdiction in the Amended Complaint and that
      any attempt to raise it in opposition to the instant motion is thus improper. (Fowler
      Reply 2-3). Plaintiffs did cite Section 25(c) as a basis for venue, but did not explicitly
      list it in the paragraph detailing their bases for jurisdiction in the Amended Complaint.
      (CAC ¶¶ 44-45). Because, as discussed infra, the Court finds that it has personal
      jurisdiction over Fowler pursuant to three independent grounds, the Court need not
      address the parties’ dispute over the adequacy of Plaintiffs’ invocation of Section 25(c) of
      the CEA.
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held to be synonymous with the “transacts business” language of section 12 of

the Clayton Act’ and ‘[t]he test for transacting business for venue purposes

under the antitrust laws is co-extensive with the test for jurisdiction under New

York CPLR § 302.’” Arabi v. Javaherian, No. 13 Civ. 456 (ERK) (CLP), 2014 WL

3892098, at *8 (E.D.N.Y. May 1, 2014) (quoting City of New York v. Cyco.Net,

Inc., 383 F. Supp. 2d 526, 542 (S.D.N.Y. 2005)).

      Here, given the conduct alleged in the Amended Complaint, Plaintiffs

easily establish jurisdiction under Section 1965(a) as to the other RICO

defendants. For example, Plaintiffs adequately pleaded RICO jurisdiction in

New York as to Potter, who is a New York resident, and as to the DigFinex

Defendants, who, inter alia, are alleged to have harmed Plaintiffs in New York

through their manipulation of the cryptocommodity market and to have

directed customers to transfer money to New York-based bank accounts in

furtherance of their scheme. Therefore, because the scheme as alleged has

many ties to New York, the ends of justice are best served by this Court

exercising jurisdiction over Fowler under Section 1965(b). See Hu, 2017 WL

3328239, at *6. 25


25    The parties dispute whether Plaintiffs adequately establish personal jurisdiction over
      Fowler under Section 1965(a). Plaintiffs allege that Fowler opened correspondent bank
      accounts in New York on the DigFinex Defendants’ behalf, satisfying the “transacts his
      affairs” language in Section 1965(a). (See Pl. Opp. 76-77; CAC ¶¶ 359, 495). Fowler
      retorts that because the specific bank account Plaintiffs cite in the Amended Complaint
      was shuttered at the time the complaint was filed, Plaintiffs fail to satisfy Section
      1965(a)’s temporal requirement that “[t]he defendant must ‘transact[] his affairs in the
      district at the time the complaint is filed.’” (Fowler Br. 4 (quoting Gates v. Wilkinson,
      No. 01 Civ. 3145 (GBD), 2003 WL 21297296, at *2 (S.D.N.Y. June 4, 2003))). The Court
      need not resolve this dispute because, as noted herein, the Court has jurisdiction over
      Fowler pursuant to Section 1965(b), CPLR § 302(a)(1), and conspiracy jurisdiction.
      Furthermore, for the reasons discussed below, the Court dismisses Plaintiffs’ RICO
                                             37
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                    ii.     The Court Has Personal Jurisdiction over Fowler
                            Pursuant to CPLR § 302(a)(1)

      Turning next to New York’s long-arm statute, the Court determines that

CPLR § 302(a)(1) provides an independent basis for exercising personal

jurisdiction over Fowler. A court may exercise personal jurisdiction over a non-

domiciliary defendant who, either “in person or through an agent ... transacts

any business within the state or contracts anywhere to supply goods or

services in the state.” CPLR § 302(a)(1). A defendant transacts business within

the state if he has “purposefully availed himself of the privilege of conducting

activities within New York and thereby invoked the benefits and protections of

its laws.” United States v. Prevezon Holdings Ltd., 122 F. Supp. 3d 57, 76

(S.D.N.Y. 2015) (internal quotation marks omitted) (quoting Reich v. Lopez, 38

F. Supp. 3d 436, 457 (S.D.N.Y. 2014), aff’d, 858 F.3d 55 (2d Cir. 2017)).

Under New York law, the “transacts business” prong of CPLR 302(a)(1) “may be

satisfied by the defendant’s use of a correspondent bank account in New York,

even if no other contacts between the defendant and New York can be

established, if the defendant’s use of that account was purposeful.” Vasquez v.

Hong Kong & Shanghai Banking Corp., Ltd., 477 F. Supp. 3d 241, 253 (S.D.N.Y.

2020) (quoting Licci v. Lebanese Canadian Bank, 20 N.Y.3d 327, 337 (2012)).

      Here, Plaintiffs allege that Fowler created and operated a “shadow”

banking network by opening dozens of bank accounts — using a series of front


      claims entirely, making the viability of personal jurisdiction over Fowler under RICO of
      minimal importance to future litigation in this action.


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companies and his own name — in order to assist the DigFinex Defendants in

their scheme. (CAC ¶¶ 180-182, 342-363, 492-500). Plaintiffs allege that “the

correspondent account[s] at issue” — including at least one in New York (id. at

¶ 359) — were maintained to “be[] used as an instrument to achieve the very

wrong alleged,” Licci ex rel. Licci v. Lebanese Canadian Bank, SAL, 732 F.3d

161, 171 (2d Cir. 2013), viz., providing the DigFinex Defendants access to the

U.S. banking system in order to cover up their issuance of unbacked USDT and

to help Defendants to manipulate the cryptocommodity market (CAC ¶¶ 180-

182, 342-363).

      Fowler cites Licci ex rel. Licci v. Lebanese Canadian Bank, SAL, 732 F.3d

at 172, for the proposition that a defendant’s use of a single bank account in

New York is insufficient to establish personal jurisdiction under CPLR

§ 302(a)(1), because here Plaintiffs allege that Fowler operated an extensive

network across numerous states, minimizing the importance of the New York-

based account. (Fowler Reply 4). However, Licci held that the existence of a

single correspondent bank account in New York was sufficient to establish

personal jurisdiction under CPLR § 302(a)(1), where — as here — plaintiffs

pleaded that the account was “used as an instrument to achieve the very wrong

alleged,” and where the use of the account was “deliberate and recurring.”

Licci, 732 F.3d at 171-72; see also id. at 172 n.7 (suggesting that the “use of a

forum’s banking system as part of an allegedly wrongful course of conduct may

expose the user to suits seeking redress in that forum when that use is an

integral part of the wrongful conduct” (emphasis added)). As such, the Court
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agrees that Plaintiffs have adequately alleged the means by which Fowler used

New York’s “banking system as part of an allegedly wrongful course of

conduct”; that this activity was critical to Fowler’s role in the illicit scheme; and

that therefore these allegations sufficiently establish Fowler’s “‘purposeful

availment of New York’s dependable and transparent banking system, the

dollar as a stable and fungible currency, and the predictable jurisdictional and

commercial law of New York and the United States.’” Licci, 732 F.3d at 171-72

(quoting Licci v. Lebanese Canadian Bank, 20 N.Y.3d at 339); see generally

Vasquez, 477 F. Supp. 3d at 253-55 (analyzing recent judicial decisions

establishing the limits of the exercise of personal jurisdiction pursuant to CPLR

§ 302(a)(1) based on the defendant’s use of New York-based correspondent

bank accounts). 26




26    Plaintiffs allege that at least one of these accounts was in New York. (CAC ¶ 359). The
      Amended Complaint lists more than a dozen additional accounts of unknown
      provenance, and Plaintiffs allege that discovery will uncover whether any of these
      accounts is also in New York. (See id. at ¶ 495). Construing jurisdictional allegations
      “in the light most favorable to the plaintiff” and resolving disputes “in the plaintiff’s
      favor,” A.I. Trade Fin., Inc. v. Petra Bank, 989 F.2d 76, 79-80 (2d Cir. 1993), the Court
      believes that Plaintiffs have plausibly pleaded that there are additional correspondent
      bank accounts located in New York. However, as discussed supra and based on the
      facts pleaded in the Amended Complaint, Fowler’s use of even the single New York
      account on these facts is sufficiently “deliberate and recurring” to establish personal
      jurisdiction under CPLR § 302(a)(1), Licci ex rel. Licci v. Lebanese Canadian Bank, SAL,
      732 F.3d 161, 171-72 (2d Cir. 2013), and the Court need not rely on the statistical
      likelihood of additional New York-based accounts or order jurisdictional discovery into
      the issue.
      Furthermore, Plaintiffs cite the 2019 indictment of Fowler in a criminal case arising out
      of related conduct as additional support for Fowler’s illicit use of correspondent banking
      services in New York in connection with the scheme at issue in this case. See United
      States v. Fowler, No. 19 Cr. 254 (ALC), Dkt. #4 (S.D.N.Y. Apr. 11, 2019). The Court may
      consider the 2019 indictment because it is fairly incorporated by reference in the
      Amended Complaint. (See CAC ¶¶ 41 & n.36, 358 & n.208). However, Fowler
      maintains that the Court may not consider a later-filed 2020 superseding indictment,
      as it is not fairly incorporated in the Amended Complaint. (Fowler Reply 3 n.1). The
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      Indeed, as Plaintiffs allege, Fowler’s ability to facilitate the DigFinex

Defendants’ access to the U.S. banking system, including through at least one

bank account in New York, was a critical component of the illicit scheme, as it

allowed Defendants to maintain their fraudulent claim that USDT was fully

backed by U.S. dollars, and thus to manipulate the cryptocommodity market

through the use of unbacked USDT. (CAC ¶¶ 342-363). Such allegations

establish a “substantial relationship between” the conduct alleged and the

claim asserted. See Al Rushaid v. Pictet & Cie, 28 N.Y.3d 316, 329-30 (2016).

Accordingly, the Court exercises specific personal jurisdiction over Fowler on

the independent ground of New York’s long-arm statute.

                    iii.   Plaintiffs Adequately Allege Conspiracy
                           Jurisdiction over Fowler

      Finally, Plaintiffs allege jurisdiction over Fowler by imputing to him the

forum contacts of his co-conspirators, citing Charles Schwab Corporation v.

Bank of America Corporation, 883 F.3d at 87. (Pl. Opp. 82-83). In Schwab, the

Second Circuit clarified that to “alleg[e] a conspiracy theory of jurisdiction[,] the

plaintiff must allege that [i] a conspiracy existed; [ii] the defendant participated

in the conspiracy; and [iii] a co-conspirator’s overt acts in furtherance of the

conspiracy had sufficient contacts with a state to subject that co-conspirator to

jurisdiction in that state.” Id. at 87 (citing Unspam Techs., Inc. v. Chernuk, 716

F.3d 322, 329 (4th Cir. 2013)). As recently noted by a sister court in this




      Court has no need to review the disputed 2020 superseding indictment, as it finds
      Plaintiffs’ allegations to be sufficient without it.
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District, “the requirements of conspiracy jurisdiction under New York law are

unsettled,” but at a minimum, “the requirements for conspiracy jurisdiction

announced in Schwab appear to be less demanding than those established

under the New York long-arm statute.” In re Platinum & Palladium Antitrust

Litig. (“Platinum II”), 449 F. Supp. 3d 290, 323 n.24 (S.D.N.Y. 2020).

Nevertheless, this Court agrees with Judge Woods’s thorough and well-

reasoned observations that although “[c]ourts have been increasingly reluctant

to extend this theory of [conspiracy] jurisdiction beyond the context of New

York’s long-arm statute,” In re Platinum & Palladium Antitrust Litig.

(“Platinum I”), No. 14 Civ. 9391 (GHW), 2017 WL 1169626, at *49 (S.D.N.Y.

Mar. 28, 2017), “any doubts about the continued viability of conspiracy

jurisdiction in the Second Circuit were resolved by Schwab,” Platinum II, 449 F.

Supp. 3d at 327. Accordingly, the Court considers whether Plaintiffs have

adequately established conspiracy jurisdiction under Schwab. 27

      On this point, Fowler argues only that Plaintiffs fail to allege his

participation in a conspiracy. (Fowler Reply 6). But, as discussed in greater

detail below, the Court disagrees and finds that Plaintiffs have adequately

alleged Fowler’s participation in Defendants’ conspiracy. As such, at least on

the record currently before the Court, conspiracy jurisdiction exists here

because Plaintiffs have adequately alleged: (i) a conspiracy, (ii) in which Fowler

participated, and (iii) other Defendants in this case with minimum contacts


27    In any event, and as noted supra, personal jurisdiction over Fowler is proper pursuant
      to New York’s long-arm statute.
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with New York, and that those “minimum contacts were in furtherance of the

conspiracy.” Schwab, 883 F.3d at 87. 28

             b.     Due Process Considerations

      A defendant satisfies the “minimum contacts” inquiry by making

sufficient contacts with the forum state. Daimler AG v. Bauman, 571 U.S. 117,

144 (2014). In turn, a defendant makes sufficient contacts by “purposefully

availing himself of the privilege of conducting activities within the forum

State ... thereby invoking the benefits and protections of its laws.” Licci, 673

F.3d at 61 (internal quotation marks and citation omitted). If the defendant

satisfies the “minimum contacts” requirement, courts consider those contacts

in light of five factors to determine whether the exercise of personal jurisdiction

is reasonable:

             [i] the burden that the exercise of jurisdiction will
             impose on the defendant; [ii] the interests of the forum
             state in adjudicating the case; [iii] the plaintiff’s interest
             in obtaining convenient and effective relief; [iv] the
             interstate judicial system’s interest in obtaining the
             most efficient resolution of the controversy; and [v] the
             shared interest of the states in furthering substantive
             social policies.




28    For example, Plaintiffs allege that Tether, a purported co-conspirator, affirmatively
      misrepresented USDT’s backing by stating to the New York State Office of the Attorney
      General that “issuances of new [USDT] occur when an investor has requested to
      purchase [USDT] by depositing U.S. dollars with Tether the company, or by depositing
      U.S. dollars with a trading platform that is authorized to accept dollar deposits in
      exchange for USDT.” (CAC ¶ 133). And Plaintiffs allege that Potter, a purported co-
      conspirator and New York resident, committed overt acts in furtherance of the
      conspiracy by, inter alia, misrepresenting USDT’s backing, concealing the links between
      Bitfinex and Tether, and coordinating with the CC Defendants to improperly access U.S.
      correspondent banking. (See, e.g., id. at ¶¶ 152-161, 193-258, 219-258).
                                            43
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Chloe v. Queen Bee of Beverly Hills, LLC, 616 F.3d 158, 164-65 (2d Cir. 2010)

(citing Asahi Metal Indus. Co. v. Super. Ct. Cal., Solano Cnty., 480 U.S. 102, 113

(1987)).

      Fowler argues that this Court’s exercise of personal jurisdiction over him

would offend due process because he did not “transact business” within New

York. (See Fowler Reply 6-7; see also Fowler Br. 12-13). However, Fowler’s

due process objections are simply a rehash of his arguments that the Court

cannot exercise jurisdiction over him pursuant to the RICO statute or CPLR

§ 302(a)(1). (Fowler Reply 6-7). Because, as just discussed, the Court rejects

Fowler’s arguments, and finds both that nationwide service is proper pursuant

to Section 1965(b), and that specific jurisdiction is appropriate under CPLR

§ 302(a)(1), the exercise of personal jurisdiction over Fowler would not violate

due process. See Sonterra Cap. Master Fund Ltd. v. Credit Suisse Grp. AG

(“Sonterra I”), 277 F. Supp. 3d 521, 589 (S.D.N.Y. 2017); Prevezon Holdings,

122 F. Supp. 3d at 77.

B.    The Moving Defendants’ Motions to Dismiss Are Granted in Part and
      Denied in Part

      1.     Applicable Law

      Having addressed Fowler’s jurisdictional challenge to Plaintiffs’ suit, the

Court now turns to the merits of the Moving Defendants’ four motions to

dismiss. “To survive a [Rule 12(b)(6)] motion to dismiss, a complaint must

contain sufficient factual matter, accepted as true, to ‘state a claim to relief

that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)


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(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim is

facially plausible ‘when the plaintiff pleads factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct

alleged.’” Allco Fin. Ltd. v. Klee, 861 F.3d 82, 94-95 (2d Cir. 2017) (quoting

Iqbal, 556 U.S. at 678). “While Twombly does not require heightened fact

pleading of specifics, it does require enough facts to ‘nudge [a plaintiff’s] claims

across the line from conceivable to plausible.’” In re Elevator Antitrust Litig.,

502 F.3d 47, 50 (2d Cir. 2007) (quoting Twombly, 550 U.S. at 570). In

resolving a Rule 12(b)(6) motion to dismiss, “the only facts to be considered are

those alleged in the complaint, and the court must accept them, drawing all

reasonable inferences in the plaintiff’s favor.” Doe v. Columbia Univ., 831 F.3d

46, 48 (2d Cir. 2016); see generally Goel v. Bunge, Ltd., 820 F.3d 554, 559 (2d

Cir. 2016 (discussing documents a court may properly consider in resolving a

motion to dismiss under Rule 12(b)(6)).

      2.     Analysis

             a.       Sherman Act Claims

      The Court begins with the four antitrust claims that Plaintiffs advance

under the Sherman Act:

                  •   Monopolization pursuant to Section 2 of the
                      Sherman Act, against the DigFinex Defendants
                      (Count One);

                  •   Attempted monopolization pursuant to Section 2
                      of the Sherman Act, against the DigFinex
                      Defendants (Count Two);



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                •   Conspiracy to monopolize pursuant to Section 2
                    of the Sherman Act, against all Defendants
                    (Count Three); and

                •   Agreement in restraint of trade pursuant to
                    Sections 1 and 3 of the Sherman Act, against all
                    Defendants (Count Four).

(CAC ¶¶ 389-430). In their motions to dismiss, the Moving Defendants raise

myriad arguments, including that: (i) Plaintiffs lack antitrust standing;

(ii) Plaintiffs fail to allege that Defendants engaged in anticompetitive conduct;

(iii) Plaintiffs inadequately allege Defendants’ monopoly power; (iv) Plaintiffs fail

to allege an intent to monopolize; and (v) Plaintiffs fail to allege an agreement

among Defendants in furtherance of any Sherman Act claim. The Individual

Defendants and Fowler further argue that Plaintiffs fail to implicate them

individually in any purported antitrust violations. The Court first addresses

antitrust injury under the Sherman Act, then turns to each of Plaintiffs’

Sherman Act claims, and concludes by resolving the Individual Defendants’

and Fowler’s arguments against Sherman Act liability. For the reasons that

follow, the Court denies the Moving Defendants’ motions to dismiss Counts

One, Two, and Four, but grants the motions to dismiss Count Three.

                    i.     Plaintiffs Adequately Allege an Antitrust Injury

      Defendants first argue that Plaintiffs lack antitrust standing because

Plaintiffs have not adequately alleged an antitrust injury. (B/T Br. 6-7; B/T

Reply 6; Potter Br. 6; Potter Reply 3). Assuming the existence of an antitrust

violation, the Second Circuit has held that to establish antitrust standing, “a

private antitrust plaintiff [must] plausibly ... allege [i] that it suffered a special

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kind of antitrust injury, and [ii] that it is a suitable plaintiff to pursue the

alleged antitrust violations and thus is an ‘efficient enforcer’ of the antitrust

laws.” Gatt Commc’ns, Inc. v. PMC Assocs., LLC, 711 F.3d 68, 76 (2d Cir. 2013)

(citations and internal quotations omitted). “[A]ntitrust standing is a threshold,

pleading-stage inquiry[.]” Id. at 75-76 (quotation omitted). 29

      “‘Congress did not intend the antitrust laws to provide a remedy in

damages for all injuries that might conceivably be traced to an antitrust

violation,’” Associated Gen. Contractors of Cal., Inc. v. Cal. State Council of

Carpenters, 459 U.S. 519, 534 (1983) (quoting Hawaii v. Standard Oil Co., 405

U.S. 251, 263 n.14 (1972)), but only for those injuries reflecting an

“anticompetitive effect either of the violation or of anticompetitive acts made

possible by the violation,” Gelboim v. Bank of Am. Corp., 823 F.3d 759, 772 (2d

Cir. 2016) (quoting Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477,

489 (1977)). Determining whether a plaintiff has suffered an antitrust injury

involves a three-step process:

             [i] the plaintiff must “identify the practice complained of
             and the reasons such a practice is or might be
             anticompetitive”; then [ii] the court must “identify the
             actual injury the plaintiff alleges” by “look[ing] to the
             ways in which the plaintiff claims it is in a worse
             position as a consequence of defendant’s conduct”; and
             finally, [iii] the court must “compare the anticompetitive
             effect of the specific practice at issue to the actual injury
             the plaintiff alleges.”




29    Because the Moving Defendants do not dispute the efficient enforcer prong of the test to
      establish antitrust standing, the Court only addresses whether Plaintiffs have
      adequately alleged an antitrust injury.
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City of Long Beach v. Total Gas & Power N. Am., Inc., 465 F. Supp. 3d 416, 444-

45 (S.D.N.Y. 2020) (quoting Harry v. Total Gas & Power N. Am., Inc., 889 F.3d

104, 115 (2d Cir. 2018)). Here, Defendants argue that Plaintiffs have not

alleged an injury to competition because price manipulation — without more —

is insufficiently anticompetitive to establish injury under the Sherman Act.

(See B/T Br. 6-8). Plaintiffs counter that antitrust injury is established when a

plaintiff alleges that it transacted in a market subject to price manipulation

and lost money as a result. (Pl. Opp. 12-13). While the Court disagrees with

Plaintiffs’ argument that merely purchasing an item in a market subject to

price manipulation necessarily suffices to demonstrate antitrust injury, it

ultimately concludes that Plaintiffs have sufficiently alleged facts to establish

that the price manipulation by which they claim to have been injured was the

product of an anticompetitive scheme.

      The Second Circuit has explained that “when consumers, because of a

conspiracy, must pay prices that no longer reflect ordinary market conditions,

they suffer ‘injury of the type the antitrust laws were intended to prevent and

that flows from that which makes defendants’ acts unlawful.’” Gelboim, 823

F.3d at 772 (quoting Brunswick Corp., 429 U.S. at 489). The nature of an

antitrust injury described in Gelboim maps easily onto Plaintiffs’ claims that

they purchased cryptocommodities at prices artificially produced by

anticompetitive price manipulation. In Gelboim, the Second Circuit held that

the manipulation of LIBOR rates by banks that participated in the LIBOR

benchmarking process gave rise to an antitrust injury on the part of those
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plaintiffs who had transacted in LIBOR-dependent financial instruments. Id. at

772-75. Even though the defendants did not “control the market,” and even

though the plaintiffs were free to negotiate the interest rates attached to certain

financial instruments, the Second Circuit nonetheless found that plaintiffs had

adequately alleged that they were in a “worse position” because of the

defendant banks’ horizontal price-fixing and, therefore, had plausibly alleged

an antitrust injury. Id. at 773-75 (“Even though the members of the price-

fixing group were in no position to control the market, to the extent that they

raised, lowered, or stabilized prices they would be directly interfering with the

free play of market forces.” (quoting United States v. Socony-Vacuum Oil Co.,

310 U.S. 150, 221 (1940) (internal quotation marks omitted))).

      Here, although Plaintiffs do not allege the same kind of horizontal price-

fixing as in Gelboim, they do allege that they were harmed by purchasing

cryptocommodities at artificially inflated prices that were the product of

Defendants’ manipulation of the cryptocommodity market, including, inter alia,

Defendants’ conspiracy to use unbacked USDT to simulate organic demand for

cryptocommodities. (See, e.g., CAC ¶¶ 393-394). 30 Defendants’ scheme


30    Defendants argue that the price manipulation alleged in the Amended Complaint was of
      the type that “any other participant in the market could have made” (B/T Reply 6
      (quoting City of Long Beach v. Total Gas & Power N. Am., Inc., 465 F. Supp. 3d 416, 447
      (S.D.N.Y. 2020))), and is thus insufficiently anticompetitive to establish antitrust
      standing. The Long Beach plaintiff alleged only a Sherman Act Section 2
      monopolization claim, and the Long Beach court found allegations that the defendant
      single-handedly “influenced natural gas prices” by “manipulating the Monthly Index
      Prices by means of its bidweek transactions” insufficient to establish antitrust injury.
      465 F. Supp. 3d at 446. The Long Beach court explained that price manipulation by a
      single entity, without more, is insufficient to establish an antitrust injury, because price
      manipulation on its own “ha[s] nothing to do with competition,” and because the
      plaintiff “d[id] not allege that [defendant’s strategically-timed trades] involved the willful
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purportedly aimed to and succeeded in intentionally creating an

anticompetitive market by artificially inflating prices of cryptocommodities.

Because Plaintiffs have alleged that their “loss[es] stem[ ] from a competition-

reducing aspect or effect of the [Defendants’] behavior,” Atl. Richfield Co. v. USA

Petroleum Co., 495 U.S. 328, 329 (1990) (emphasis omitted) — namely,

Defendants’ agreement to use USDT to manipulate cryptocommodity prices —

Plaintiffs’ alleged “injury is of the type the antitrust laws were intended to

prevent and that flows from that which makes [or might make] Defendants’

acts unlawful” Gatt, 711 F.3d at 76 (citations and internal quotation marks

omitted); see also Merced Irrigation Dist. v. Barclays Bank PLC, 165 F. Supp. 3d

122, 133 (S.D.N.Y. 2016) (holding that plaintiff who purchased electricity at

artificially inflated prices due to Defendants’ price manipulation, “instead of [at

prices derived from] the forces of supply and demand,” alleged antitrust injury),


      attainment, maintenance, or exercise of monopoly power.” Id. at 446-47; see also id. at
      447 n.163 (declining to hold that antitrust injury can be established by allegations of
      paying higher supra-competitive prices or receiving lower sub-competitive prices as a
      result of a defendant’s rate-manipulation).
      The instant case is distinguishable from Long Beach. First, the Long Beach court noted
      that antitrust injury could be established by pleading a conspiracy to manipulate
      prices. 465 F. Supp. 3d at 445-46. Here, Plaintiffs do allege a conspiracy among
      Defendants to artificially inflate cryptocommodity prices using unbacked USDT, and
      provide detailed allegations of Defendants’ scheme to engage in anti-competitive price-
      fixing. (See, e.g., CAC ¶¶ 310-366, 417-430). Second, Plaintiffs allege more than
      “strategically timed trades,” Long Beach, 465 F. Supp. 3d at 447, in an otherwise
      healthy market because the trades here were executed using unbacked USDT with the
      intent to manipulate the market. Specifically, Plaintiffs describe how the DigFinex
      Defendants’ monopoly control over the stablecoin market allowed them, with the
      purported assistance of the CC and Exchange Defendants, to manipulate prices in the
      cryptocommodity market by issuing unbacked USDT to create the illusion of price floors
      and organic market demand when neither existed, causing appreciable manipulation in
      the price of cryptocommodities. (See id. at ¶¶ 393-394). As such, Plaintiffs plead more
      than antitrust injury caused by strategically timed purchases that any market
      participant could make, which the Long Beach court held was insufficiently
      anticompetitive to state a Section 2 claim.
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reconsideration denied, 178 F. Supp. 3d 181 (S.D.N.Y. 2016). The Court

therefore finds that Plaintiffs have adequately pleaded an antitrust injury.

                   ii.   Section 2 Claims

      Plaintiffs allege a claim for monopolization, or in the alternative,

attempted monopolization, in violation of Section 2 of the Sherman Act against

the DigFinex Defendants. (CAC ¶¶ 389-409). Plaintiffs further allege a

violation of Section 2 against all Defendants for engaging in a conspiracy to

monopolize the cryptocommodity market. (Id. at ¶¶ 410-416). The Court first

addresses Plaintiffs’ Section 2 claims against the DigFinex Defendants, and

then addresses the broader conspiracy to monopolize claim brought against all

Defendants.

                         (a)    Plaintiffs Adequately Allege a Monopolization
                                Claim

      “[T]o state a claim for monopolization under Section 2 of the Sherman

Act, a plaintiff must establish: ‘[i] the possession of monopoly power in the

relevant market and [ii] the willful acquisition or maintenance of that power as

distinguished from growth or development as a consequence of a superior

product, business acumen, or historic accident.’” PepsiCo, Inc. v. Coca-Cola

Co., 315 F.3d 101, 105 (2d Cir. 2002) (quoting United States v. Grinnell Corp.,

384 U.S. 563, 570-71 (1966)). “Inherent to the second element, there must be

a showing of anticompetitive conduct.” In re Term Commodities Cotton Futures

Litig. (“Cotton Futures I”), No. 12 Civ. 5126 (ALC), 2013 WL 9815198, at *23

(S.D.N.Y. Dec. 20, 2013) (citing Verizon Commc’ns Inc. v. Law Offices of Curtis


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V. Trinko, LLP, 540 U.S. 398, 407 (2004)), on reconsideration in part, 2014 WL

5014235 (S.D.N.Y. Sept. 30, 2014). For the reasons discussed below, the

Court denies the motions to dismiss Plaintiffs’ monopolization claim.

                                 Monopoly Power

      “There are two ways a plaintiff can show the possession of monopoly

power: [i] through direct evidence of anticompetitive effects or [ii] by defining a

relevant market and showing defendants’ excess market share.” In re Crude Oil

Commodity Futures Litig., 913 F. Supp. 2d 41, 51 (S.D.N.Y. 2012) (citing

PepsiCo, 315 F.3d at 107). “[M]onopoly power may be established, not only by

proof of a defendant’s market share in a relevant market, but alternatively by

direct evidence of a defendant’s price control or exclusion of competitors from a

particular market in a manner indicative of its possession of monopoly power.”

Shak v. JPMorgan Chase & Co., 156 F. Supp. 3d 462, 482 (S.D.N.Y. 2016); see

also Heerwagen v. Clear Channel Commc’ns, 435 F.3d 219, 227 (2d Cir. 2006);

Geneva Pharm. Tech. Corp. v. Barr Labs. Inc., 386 F.3d 485, 500 (2d Cir. 2004);

Tops Mkts., Inc. v. Quality Mkts., Inc., 142 F.3d 90 (2d Cir. 1998).

      Here, Plaintiffs argue that they have adequately pleaded the DigFinex

Defendants’ monopoly power in the cryptocommodity market by establishing

their direct control over prices, which control Plaintiffs argue was accomplished

through Defendants’ “dominat[ion of] the stablecoin market.” (CAC ¶¶ 393-

394; see Pl. Opp. 14-16; see also CAC ¶¶ 34-78 (delimiting the

cryptocommodity market)). In particular, Plaintiffs allege that Defendants

leveraged their domination of the stablecoin market to capture market power in
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the cryptocommodity market by issuing unbacked USDT to simulate organic

market demand for cryptocurrencies. (CAC ¶ 393). The DigFinex Defendants

argue that Plaintiffs must allege more than direct control over prices to

adequately plead monopoly power (B/T Br. 9-10; B/T Reply 2-3), because

“whatever ‘power’ the Defendants had over prices arose from the allegedly

manipulative scheme” (B/T Br. 9), and further argues that the scheme “had

nothing to do with exploiting a market-dominant position to unilaterally move

markets” (B/T Reply 2-3).

      Plaintiffs rely primarily on three cases to support their argument that

pleading evidence of Defendants’ ability to control prices is sufficient to

establish monopoly power. First, in In re Crude Oil Commodity Futures

Litigation, the plaintiffs alleged that the defendants amassed a dominant

position in physical crude oil — 92% of the market — and then dumped the

commodity onto the market on certain dates with the purpose and effect of

shifting futures prices, so as to benefit the defendants’ positions in certain

calendar spreads in the futures market. See 913 F. Supp. 2d at 49-50. The

Crude Oil court found these allegations of control over prices in the futures

market — along with allegations of domination in the closely-related physical

commodity market — sufficient to plead monopoly power. Id. at 52-53.

      Second, in Cotton Futures I, the plaintiffs alleged that the defendants

acquired 99% of the market share for two futures contracts during the relevant

period, which they used to “effectuate[] a squeeze” that forced others to pay

artificially high prices in order to settle their contracts. 2013 WL 9815198, at
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*23-25. The Cotton Futures I court found that the plaintiffs’ allegations

concerning the defendants’ control over prices and dominant market share

were sufficient to plead monopoly power. Id. at *25; see also In re Term

Commodities Cotton Futures Litig. (“Cotton Futures II”), No. 12 Civ. 5126 (ALC),

2020 WL 5849142, at *35-36 (S.D.N.Y. Sept. 30, 2020) (holding that plaintiffs

established monopoly power on summary judgment by demonstrating control

over prices without reference to defendants’ relative domination of the market).

      Third, in Merced Irrigation District v. Barclays Bank PLC, the plaintiff

alleged that the defendant manipulated the daily index prices for electricity by

purchasing swaps contracts, purchasing physical electricity contracts in the

opposite direction from the swaps, and then buying or selling “large quantities

of underlying daily contracts at artificial money-losing prices.” 165 F. Supp. 3d

at 129-30. The Merced plaintiff alleged that the defendant’s “large position in

swap contracts and significant trading in daily contracts” manipulated the

index price. Id. at 131. The Merced court held that these allegations, plus

evidence from the complaint of the correlation between the defendant’s

uneconomical, anti-competitive trading and the index price, established that

the defendant “successfully capture[d] market share sufficient to move index

prices in its favor,” and thus that plaintiff adequately pleaded monopoly power

through the ability to control prices. Id. at 142.

      As noted above, “it is well-settled law in this Circuit that ‘pleading a

defendant’s direct control over prices is an alternative to pleading relevant

market share.’” Cotton Futures II, 2020 WL 5849142, at *36 (quoting Merced,
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165 F. Supp. 3d at 141) (collecting cases). However, the DigFinex Defendants

argue that Plaintiffs must still plead some form of relative market share, even

when establishing monopoly power via direct evidence of control over prices.

(B/T Reply 3-4). In support of this argument, Defendants note that in Crude

Oil, the plaintiffs had alleged that the defendants controlled 92% of the market

for physical crude oil when the market at issue was a futures market, and that

in Cotton Futures I, the plaintiffs had alleged temporary control of 99% of the

market at issue. (B/T Reply 3 (first citing Crude Oil, 913 F. Supp. 2d at 52, 57;

then citing Cotton Futures I, 2013 WL 9815198, at *15, 24-25)). Defendants

quote with approval Judge Engelmayer’s synthesis of Crude Oil and Cotton

Futures I in Shak v. JPMorgan Chase & Co., to the effect that “concrete

allegations of a dominant position in either a physical commodity or a related

futures market, combined with significant pricing anomalies that are closely

correlated with defendants’ alleged conduct, may be sufficient to plead

monopoly power.” (Id. at 4 (emphases in B/T Reply) (quoting Shak, 156 F.

Supp. 3d at 485)). The DigFinex Defendants thus argue that Plaintiffs’ failure

to provide “concrete allegations of a dominant position” in the cryptocommodity

market is fatal to their monopolization claim. (Id.).

      The Court’s reading of Crude Oil leads it to conclude that Plaintiffs have

alleged monopoly power by showing direct evidence of anticompetitive effects

through price control. In Crude Oil, the plaintiffs alleged that the defendants

had amassed a dominant position in a market closely related to the market at

issue — they dominated the physical crude oil market and manipulated the
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futures market — and Judge Pauley inferred monopoly power in the futures

market from defendants’ ability to control prices. Crude Oil, 913 F. Supp. 2d at

49-52. Similarly, Plaintiffs here allege that the DigFinex Defendants

maintained a “nearly 100% market share” of the stablecoin market, and

leveraged their dominant market share in stablecoin to directly control prices

in the closely-related cryptocommodity market. (CAC ¶¶ 135-136, 272-279,

295-300, 393-394).

      Merced offers even greater support for Plaintiffs’ argument. In Merced,

Judge Marrero rejected an argument nearly identical to the one advanced by

Defendants here, and held that allegations of the defendant’s ability to control

prices through manipulative trading, without allegations of its dominant

market share, sufficiently pleaded monopoly power at the motion to dismiss

stage. Merced, 165 F. Supp. 3d at 141-42; see also id. at 142 (“Merced

presents factual allegations that Barclays did successfully capture market

share sufficient to move index prices in its favor.”). Here, Plaintiffs have

similarly provided concrete allegations of the DigFinex Defendants’ direct

control over prices through manipulative trading; unlike in Merced, they have

also provided detailed allegations of how Defendants exploited their monopoly

control over a related market to exert anticompetitive control over prices in the

cryptocommodity market.

      While Defendants are correct that, in holding that the plaintiffs

adequately pleaded monopoly power in Cotton Futures, Judge Carter cited both

the defendants’ ability to directly control prices and their “control[] [of] 99% of
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the relative market during the relevant period,” this Court’s reading of Cotton

Futures I does not establish that Judge Carter required satisfaction of both

elements to establish monopoly power. See Cotton Futures I, 2013 WL

9815198, at *24-25. Rather, Judge Carter analyzed first whether the plaintiffs

had established market power by pleading market share, and then whether the

plaintiffs had established monopoly power by pleading the defendants’ “direct

ability to control prices,” ultimately concluding that both sets of allegations

provided support for a finding of monopoly power. Id. Indeed, in Cotton

Futures II, Judge Carter cited only the defendants’ ability to control prices —

and not the defendants’ market share — as grounds for denying summary

judgment with respect to the monopoly power element of the plaintiffs’ Section

2 monopolization claim. 2020 WL 5849142, at *35-36. In any event, while

Plaintiffs have not provided concrete allegations that the DigFinex Defendants

controlled a dominant share of the cryptocommodity market, as noted above,

they have provided detailed allegations of how the DigFinex Defendants used

their dominance of the closely related stablecoin market to manipulate prices

in the cryptocommodity market, bringing this case closer to Crude Oil than to

Defendants’ reading of Cotton Futures I. 31



31    Defendants also cite Long Beach for the proposition that allegations of price
      manipulation without more are insufficient to establish monopoly power. (B/T Reply 3
      (citing Long Beach, 465 F. Supp. 3d at 447)). For starters, Long Beach did not reach the
      issue of monopoly power, dismissing the plaintiff’s Section 2 claim for lack of antitrust
      injury. Long Beach, 465 F. Supp. 3d at 446-47. However, to the extent Long Beach
      says anything about pleading monopoly power, it is distinguishable for essentially the
      same reasons the Court believes the decision is distinguishable with respect to antitrust
      injury. Here, Plaintiffs allege more than simple, strategic purchases in an otherwise
      healthy market by connecting the DigFinex Defendants’ monopoly control over the
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      To be sure, Judge Engelmayer’s synthesis of Crude Oil and Cotton

Futures called for “concrete allegations of a dominant position in either a

physical commodity or a related futures market.” Shak, 156 F. Supp. 3d at 485

(emphases added). In the instant case, however, given the unique qualities of

the cryptocommodity market and its close relationship to the stablecoin

market (see, e.g., CAC ¶¶ 119, 135-136, 165-168, 172, 175), the Court believes

that Plaintiffs’ allegations establishing the DigFinex Defendants’ dominance

over the stablecoin market accord with the rationales of Cotton Futures and

Crude Oil, as articulated by Judge Engelmayer in Shak. Put differently,

Plaintiffs have provided “concrete allegations of [Defendants’] dominant

position” in a “related ... market,” and have pleaded “significant pricing

anomalies that are closely correlated with defendants’ alleged conduct,” which

is “sufficient to plead monopoly power.” Shak, 156 F. Supp. 3d at 485. Here,

Plaintiffs have adequately alleged the DigFinex Defendants’ ability to control

prices in the cryptocommodity market by describing an improper scheme

whereby Defendants leveraged their near-100% share in the stablecoin market

to issue unbacked USDT to simulate organic demand and create artificial price

floors. (See CAC ¶¶ 135-136, 272-279, 295-300, 393-394). 32 At the motion to

dismiss stage, this is sufficient to establish monopoly power.


      stablecoin market to their ability to control prices in the cryptocommodity market. (See,
      e.g., CAC ¶¶ 393-394).
32    The DigFinex Defendants compare the monthly trading volumes of USDT on the Bittrex
      and Poloniex exchanges to the total amount of unbacked USDT they allegedly issued to
      argue that, according to the Amended Complaint, Tether did not have a monopoly in the
      stablecoin market. (See B/T Reply 4). This fact-based argument fails for at least two
      reasons. First, Plaintiffs adequately allege Tether “had nearly 100% market share in
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                      Willful Acquisition of Monopoly Power

      The second element of a Section 2 claim is demonstrating “the willful

acquisition or maintenance of that power as distinguished from growth or

development as a consequence of a superior product, business acumen, or

historic accident.” PepsiCo, 315 F.3d at 105 (quoting Grinnell Corp., 384 U.S.

at 570-71). As discussed above, as part of this element, Plaintiffs must show

anticompetitive conduct. See Verizon Commc’ns Inc., 540 U.S. at 407 (“To

safeguard the incentive to innovate, the possession of monopoly power will not

be found unlawful unless it is accompanied by an element of anticompetitive

conduct.”). “The Second Circuit has defined anticompetitive conduct as

‘conduct without a legitimate business purpose that makes sense only because

it eliminates competition.’” Cotton Futures II, 2020 WL 5849142, at *37

(quoting In re Adderall XR Antitrust Litig., 754 F.3d 128, 133 (2d Cir. 2014)).

      Here, none of the DigFinex Defendants’ statements explicitly articulates

an intent to build a monopoly in the cryptocommodity market or to exclude

competition. Plaintiffs argue that “[i]ntentional distortion of a commodities



      stablecoin,” citing a statement by Bitfinex’s and Tether’s Chief Technical Officer to that
      effect. (See, e.g., CAC ¶¶ 135-136). Second, and more fundamentally, the comparison
      of monthly trading volume to the absolute number of unbacked USDT issued by the
      DigFinex Defendants says nothing about Defendants’ market share or control of the
      stablecoin market. Plaintiffs allege that Tether issued nearly 100% of the stablecoin for
      much of the relevant time period, and that much of it was unbacked and issued directly
      to Bitfinex, making Plaintiffs’ allegation of the DigFinex Defendants’ monopoly power in
      the stablecoin market plausible. (See id. at ¶¶ 136, 208). “A court ruling on a Rule
      12(b)(6) motion ‘may not properly dismiss a complaint that states a plausible version of
      events merely because the court finds a different version more plausible.’” In re Elec.
      Books Antitrust Litig., 859 F. Supp. 2d 671, 688 (S.D.N.Y. 2012) (quoting Anderson
      News LLC v. Am. Media, Inc., 680 F.3d 162, 185 (2d Cir. 2012)). Thus, the Court rejects
      this fact-based counternarrative at the motion to dismiss stage.
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market through manipulation for profit is anticompetitive,” and that from this,

the Court can infer willful acquisition of monopoly power. (Pl. Opp. 17). The

DigFinex Defendants protest that Plaintiffs must further allege specific facts

regarding their willfulness to “exclude ... other participant[s] [from] entering the

cryptocommodities market,” or to “control[] bitcoin or other cryptocommodity

supply in a way that excluded competitors from participating.” (B/T Br. 10).

      Plaintiffs have adequately pleaded willful acquisition by offering evidence

of the DigFinex Defendants’ scheme to leverage their monopoly position in the

stablecoin market to artificially inflate cryptocommodity prices for profit and

anticompetitive effect. (See CAC ¶¶ 394-395). In other words, Plaintiffs have

plausibly alleged conduct from which the Court can draw a reasonable

inference of the DigFinex Defendants’ intent to control prices, and thus to

“constrain the market for other buyers and sellers” of cryptocommodities.

Merced, 165 F. Supp. 3d at 143. Specific allegations in support of this finding

include: (i) the timing and volume of Bitfinex’s seemingly irrational purchases

of large quantities of bitcoin with USDT when bitcoin prices dropped by more

than 5% or to certain threshold prices (CAC ¶¶ 277, 289, 295-296);

(ii) evidence of the DigFinex Defendants’ scheme to cover up links between

Tether and Bitfinex (id. at ¶¶ 152-161); (iii) Tether’s and Bitfinex’s repeated

misrepresentations that each USDT was fully backed by one U.S. dollar (id. at

¶¶ 116-117, 119-134, 147-151); and (iv) Devasini’s messages to Crypto Capital

explicitly acknowledging the link between maintaining the illusion of USDT’s



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one-to-one backing and the price of bitcoin (and other cryptocommodities) (id.

at ¶ 362).

      Putting it colloquially, Plaintiffs allege that the DigFinex Defendants

“print[ed]” the crypto-equivalent of money “out of thin air” (Pl. Opp. 1), and

then used that counterfeit “money” to purchase cryptocommodities when prices

of those commodities began tanking, increasing Defendants’ market share

through anticompetitive means and, more critically, artificially inflating

cryptocommodity prices divorced from any legitimate market forces. A rational

market actor would be unlikely to make large purchases of cryptocommodities

when the prices of those commodities dropped significantly — as Plaintiffs

allege here (CAC ¶¶ 277, 289, 295-296) — supporting the inference that the

DigFinex Defendants “willful[ly] maint[ained] power” “to distort ordinary forces

of supply and demand” through “uneconomical physical trading positions.”

Merced, 165 F. Supp. 3d at 143.

      It remains to be seen whether Plaintiffs will be able to establish willful

acquisition in discovery. But taking the allegations in the Amended Complaint

as true and drawing all reasonable inferences in Plaintiffs’ favor, Plaintiffs

plausibly allege the DigFinex Defendants’ willful intent to acquire monopoly

power. Accordingly, the motions to dismiss Count One are denied.

                         (b)    Plaintiffs Adequately Allege an Attempted
                                Monopolization Claim

      To the extent the DigFinex Defendants “did not or do not possess actual

monopoly power,” Plaintiffs assert a claim for attempted monopolization under


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Section 2 of the Sherman Act. (CAC ¶ 402; see id. at ¶¶ 400-409). “To state a

claim for attempted monopolization in violation of Section 2, a plaintiff must

allege ‘[i] that the defendant has engaged in predatory or anticompetitive

conduct with [ii] a specific intent to monopolize and [iii] a dangerous probability

of achieving monopoly power.’” In re Keurig Green Mountain Single-Serve Coffee

Antitrust Litig., 383 F. Supp. 3d 187, 219 (S.D.N.Y. 2019) (quoting Spectrum

Sports, Inc. v. McQuillan, 506 U.S. 447, 456 (1993)), reconsideration denied,

No. 14 MDL 2542 (VSB), 2019 WL 2603187 (S.D.N.Y. June 25, 2019); see also

Tops Mkts., 142 F.3d at 99. For the reasons discussed above, Plaintiffs have

already adequately pleaded elements one and three of an attempted

monopolization claim, because the DigFinex Defendants “successfully

capture[d] market share sufficient to move [cryptocommodity] prices in [their]

favor.” Merced, 165 F. Supp. 3d at 140, 142 (denying motion to dismiss

attempted monopolization claim).

      However, while “the completed offense of monopolization requires only a

general intent, ‘a specific intent to destroy competition or build monopoly is

essential to guilt for the mere attempt.’” Tops Mkts., 142 F.3d at 101 (quoting

Times-Picayune Publ’g Co. v. United States, 345 U.S. 594, 626 (1953)). The

Supreme Court has characterized specific intent as “an intent which goes

beyond the mere intent to do the act[,]” contrasting it with a claim for actual

monopolization, where “evidence of intent is merely relevant to the question

whether the challenged conduct is fairly characterized as ‘exclusionary’ or

‘anticompetitive.’” Aspen Skiing Co. v. Aspen Highlands Skiing Corp., 472 U.S.
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585, 602 (1985). Here, as noted above, the DigFinex Defendants’ statements

do not contain any explicit attestations of specific intent to build monopoly or

to exclude competitors. Nevertheless, and for the same reasons the Court finds

Plaintiffs’ allegations regarding willful acquisition to be plausible, the Court

believes that Plaintiffs have sufficiently pleaded facts to survive a motion to

dismiss with respect to the intent element of an attempted monopolization

claim. See Tops Mkts., 142 F.3d at 101-02 (holding that specific intent can be

“reasonably infer[red]” from defendants’ uneconomic conduct, which a jury

could determine “was not motivated by a valid business justification” (collecting

cases)).

      In sum, to the extent discovery reveals that the DigFinex Defendants did

not possess monopoly power, Plaintiffs may maintain their attempted monopoly

claim and seek to meet the lower threshold required to demonstrate “a

dangerous probability” of achieving monopoly power. Tops Mkts., 142 F.3d at

100). The motions to dismiss Count Two are therefore denied.

                          (c)   Plaintiffs’ Section 2 Conspiracy to
                                Monopolize Claim Is Dismissed

      In contrast to their Section 2 monopolization and attempted

monopolization claims, brought only against the DigFinex Defendants,

Plaintiffs assert a Section 2 conspiracy to monopolize claim against all

Defendants. (CAC ¶¶ 410-416). A claim for conspiracy to monopolize under

Section 2 requires a showing of: “[i] concerted action, [ii] overt acts in

furtherance of the conspiracy, and [iii] specific intent to monopolize.” Elecs.


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Commc’ns Corp. v. Toshiba Am. Consumer Prod., Inc., 129 F.3d 240, 246 (2d

Cir. 1997) (quoting Volvo N. Am. Corp. v. Men’s Int’l Prof’l Tennis Council, 857

F.2d 55, 74 (2d Cir. 1988)); see also Shak, 156 F. Supp. 3d at 490-91 (same).

Furthermore, because “a Section 2 conspiracy claim based on a shared

monopoly theory” is not viable, In re Zinc Antitrust Litig., 155 F. Supp. 3d 337,

382 (S.D.N.Y. 2016) (citing H.L. Hayden Co. of N.Y. v. Siemens Med. Sys., Inc.,

879 F.2d 1005, 1018 (2d Cir. 1989)) (collecting cases), Plaintiffs must allege

that Defendants conspired to confer monopoly power upon a single entity.

      Here, the Amended Complaint appears to plead a shared monopoly

theory, inasmuch as Plaintiffs do not specify which entity Defendants

conspired to confer monopoly power upon, and instead plead that all

Defendants “took these [anticompetitive] actions with the specific intent to

obtain market power[.]” (CAC ¶ 414; see generally id. at ¶¶ 410-416). But as

just explained, a shared monopoly theory cannot support a Section 2 claim.

See FLM Collision Parts, Inc. v. Ford Motor Co., 543 F.2d 1019, 1030 (2d Cir.

1976) (explaining that allegations of a “shared monopoly” amount to no more

than a “[Section] 1 claim under another name”); In re Aluminum Warehousing

Antitrust Litig., No. 13 MDL 2481 (KBF), 2014 WL 4277510, at *36 (S.D.N.Y.

Aug. 29, 2014) (same), supplemented, 2014 WL 4743425 (S.D.N.Y. Sept. 15,

2014), and aff’d, 833 F.3d 151 (2d Cir. 2016).

      To the extent Plaintiffs argue that the Exchange and CC Defendants

intended to assist the DigFinex Defendants in monopolizing the

cryptocommodity market, the supporting allegations in the Amended
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Complaint fall short. There are no allegations regarding the Exchange

Defendants’ intent to assist the DigFinex Defendants to monopolize, for

example, by refusing to allow transactions to or from other crypto-exchanges or

by restricting other exchanges’ or users’ access to fiat currency,

cryptocommodities, or USDT. Similarly, there are no allegations regarding

Fowler’s intent to assist the DigFinex Defendants in monopolizing the

cryptocommodity market by refusing to provide U.S. correspondent banking to

competitors or providing specialized treatment to the DigFinex Defendants.

As such, Count Three must be dismissed. 33

                     iii.   Plaintiffs Adequately Allege That Defendants
                            Conspired to Restrain Trade in Violation of
                            Sections 1 and 3 of the Sherman Act

      Separately, Plaintiffs allege that all Defendants conspired to inflate

cryptocommodity prices in violation of Sections 1 and 3 of the Sherman Act.

Section 1 of the Sherman Act prohibits restraints on trade “effected by a

contract, combination, or conspiracy[.]” Twombly, 550 U.S. at 553. 34 “The

critical question for purposes of a Section 1 claim is whether the challenged



33    To the extent the Amended Complaint contains allegations supporting a cognizable
      shared monopolization theory, Plaintiffs fail to plead the Exchange and CC Defendants’
      specific intent to monopolize, the third element required to establish a Section 2
      conspiracy to monopolize claim. Rather, and as discussed in greater detail below,
      Plaintiffs’ Amended Complaint more properly describes an agreement, inter alia, in
      restraint of trade or to manipulate cryptocommodity prices for profit — not to reduce
      competition in that market or exclude competitors from the market. Plaintiffs
      accordingly fail to plead the Exchange Defendants’ or the CC Defendants’ (including
      Fowler’s) specific intent to monopolize, and as such, this claim must be dismissed for
      this independent reason.
34    Section 3 simply “extends the reach of Section 1 to trade or commerce involving U.S.
      Territories and the District of Columbia.” Spinelli v. Nat’l Football League, 96 F. Supp.
      3d 81, 107 n.10 (S.D.N.Y. 2015).
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anticompetitive conduct ‘stems from independent decision or from an

agreement, tacit or express.’” Merced, 165 F. Supp. 3d at 137 (quoting

Twombly, 550 U.S. at 553). To state a claim under Section 1 of the Sherman

Act, a plaintiff must show “[i] a combination or some form of concerted action

between at least two legally distinct economic entities that [ii] unreasonably

restrains trade.” United States v. Am. Express Co., 838 F.3d 179, 193 (2d Cir.

2016). The Court addresses each element in turn.

                                   Conspiracy

      With respect to the first element, “[t]o allege an unlawful agreement

under Section One of the Sherman Act, Plaintiffs must assert either direct

evidence (such as a recorded phone call or email in which competitors agreed

to fix prices) or ‘circumstantial facts supporting the inference that a conspiracy

existed.’” In re Commodity Exch., Inc., 213 F. Supp. 3d 631, 659 (S.D.N.Y.

2016) (quoting Mayor & City Council of Balt. v. Citigroup, Inc., 709 F.3d 129,

136 (2d Cir. 2013)); see also Gelboim, 823 F.3d at 781 (“At the pleading stage, a

complaint claiming conspiracy, to be plausible, must plead ‘enough factual

matter (taken as true) to suggest that an agreement was made[.]’” (quoting

Anderson News, 680 F.3d at 184)). Because “‘conspiracies are rarely evidenced

by explicit agreements,’” however, a conspiracy “‘nearly always must be proven

through inferences that may fairly be drawn from the behavior of the alleged

conspirators.’” Gelboim, 823 F.3d at 781 (quoting Anderson News, 680 F.3d at

183). “The line separating conspiracy from parallelism is indistinct, but may be

crossed with allegations of interdependent conduct, accompanied by
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circumstantial evidence and plus factors.” Id. (internal quotation marks

omitted) (quoting Mayor & City Council of Balt., 709 F.3d at 136). Those

illustrative, non-exhaustive “plus factors” include “[i] a common motive to

conspire; [ii] evidence that shows that the parallel acts were against the

apparent individual economic self-interest of the alleged conspirators; and

[iii] evidence of a high level of interfirm communications.” Id. (internal

quotation marks omitted) (quoting Mayor & City Council of Baltimore, 709 F.3d

at 136). “[A]t the motion-to-dismiss stage, appellants must only put forth

sufficient factual matter to plausibly suggest an inference of conspiracy, even if

the facts are susceptible to an equally likely interpretation.” Id. at 782.

      Applying the foregoing principles here, the Court concludes that Plaintiffs

plausibly allege that Defendants engaged in an antitrust conspiracy. Plaintiffs

offer the following allegations to demonstrate the existence of an agreement

between Defendants to manipulate the price of cryptocommodities:

                •   Defendants’ misrepresentations to the market
                    that USDT was fully backed by U.S. dollars (CAC
                    ¶¶ 116, 125-135, 147-150, 165-167, 173-174);

                •   Defendants’ knowing concealment of the
                    unbacked nature of USDT: for example, the
                    Exchange Defendants violated regulations that
                    would have revealed the truth of USDT’s backing
                    (id. at ¶¶ 331-333), and the CC Defendants
                    facilitated access to the U.S. banking system to
                    assist the DigFinex Defendants in preserving the
                    illusion of USDT’s backing (id. at ¶¶ 342-366);

                •   The Exchange Defendants’ willing facilitation of
                    the distribution of unbacked USDT from Bitfinex-
                    controlled accounts on the Bitfinex exchange, to
                    Bitfinex-controlled accounts on the Poloniex and
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                    Bittrex exchanges, because, for example, the
                    Exchange Defendants were able to see every trade
                    on their platform and were required to know basic
                    information about their users pursuant to anti-
                    money laundering regulations, and as such knew
                    or should have known that Bitfinex controlled
                    those accounts and that USDT was not fully
                    backed (id. at ¶¶ 195-207, 310-324);

                •   The Exchange Defendants’ knowing facilitation of
                    the use of that unbacked USDT to buy large
                    quantities of cryptocommodities with the intent to
                    inflate the price of those cryptocommodities (id.
                    at ¶¶ 260-271, 320-324);

                •   Specific communications about the need to
                    preserve the illusion of USDT’s full backing to
                    preserve the value of bitcoin (id. at ¶ 362);

                •   Close communication and coordination between
                    the DigFinex Defendants and the Exchange
                    Defendants with respect to the use of USDT on
                    their respective crypto-exchanges (id. at ¶¶ 318-
                    319); and

                •   The fact that the Exchange Defendants and
                    DigFinex Defendants coordinated in response to
                    the publication of the Tether Report to minimize
                    the conspicuousness of their unusual activity (id.
                    at ¶¶ 212-215).

Plaintiffs also allege a common intent and common motive, to wit, the intent to

stop the prices of cryptocommodities from falling, and to artificially increase

prices in the cryptocommodity market, because each Defendant’s continued

viability was wholly dependent on the continued growth of the

cryptocommodity market and each stood to profit significantly from the bubble

in the cryptocommodity market. (Id. at ¶¶ 187, 341-340, 364, 366). 35


35    Furthermore, as Plaintiffs note, allegations that the Bitfinex and Tether Defendants
      were under investigation by the New York State Attorney General (CAC ¶¶ 367-371; see
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      The Moving Defendants’ arguments to the contrary fall short. The B/T

and Exchange Defendants argue that Plaintiffs fail to cite to communications

among Defendants specifically regarding the conspiracy. (B/T Br. 13;

Exchange Br. 9). Yet Plaintiffs do cite evidence of interfirm communications

between the purported conspirators (see CAC ¶¶ 318-319), and further cite

specific evidence of communications about the conspiracy between Devasini

and the CC Defendants (see id. at ¶ 362). More fundamentally, at the motion

to dismiss stage, the failure to quote specific communications is not fatal to a

Section 1 claim if the other circumstantial evidence “‘support[s] the inference

that a conspiracy existed.’” Mayor & City Council of Balt., 709 F.3d at 136

(emphasis omitted).

      The B/T Defendants, Exchange Defendants, and Fowler all argue that

they acted in their respective self-interests (see B/T Br. 13, Exchange Br. 12,

Fowler Br. 10, Fowler Reply 16), such that their actions in furtherance of the

agreement, as alleged in the Amended Complaint, could not be viewed as

“against [their] apparent individual economic self-interest[s],’” Gelboim, 823

F.3d at 781. 36 However, Plaintiffs plausibly allege that these groups of


      also Dkt. #176), are an additional “plus factor” bolstering the plausibility of a Section 1
      claim. See City of Philadelphia v. Bank of Am. Corp., 498 F. Supp. 3d 516, 526
      (S.D.N.Y. 2020) (collecting cases).
36    The Exchange Defendants attempt to characterize the allegations as making them
      “strictly liable for market manipulation on their exchanges.” (Exchange Reply 4).
      However, as noted above, Plaintiffs allege far more than that the DigFinex Defendants
      merely carried out market manipulation in the ordinary course of using the Exchange
      Defendants’ platforms. For example, Plaintiffs plausibly allege the Exchange
      Defendants: (i) knew of and agreed to cover up the unbacked nature of USDT;
      (ii) facilitated unusually large and repeated transfers of unbacked USDT to the same
      accounts on their exchanges; (iii) knew the DigFinex Defendants controlled those
      accounts; and (iv) allowed the DigFinex Defendants to trade large quantities of that
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Defendants acted against self-interest. For example, Plaintiffs allege that:

(i) the Exchange Defendants violated federal and state law to protect the

economic interest of a direct competitor (see CAC ¶¶ 331-333); (ii) the DigFinex

Defendants purchased large quantities of cryptocommodities when prices

began to fall (id. at ¶¶ 277, 289, 295-296); and (iii) Fowler repeatedly violated

banking regulations to further the scheme (id. at ¶¶ 351-361). Additionally, as

noted above, Plaintiffs plead equally plausible economic motives for Defendants

to engage in the scheme: all three groups of Defendants (i.e., the DigFinex,

Exchange, and CC Defendants) were heavily invested in, and completely

dependent on, the continued viability and growth of the cryptocommodity

market. (Id. at ¶¶ 340, 364). Furthermore, Defendants stood to profit by

artificially inflating the value of their cryptocommodity stores. (Id. at ¶¶ 187,

341, 366).

      The Exchange Defendants further ask the Court to draw factual

inferences in their favor instead of Plaintiffs’, for example, by (i) accepting the

Exchange Defendants’ proffer that the owner of the 1AA6 and 1J1d accounts

was unaffiliated with Bitfinex and was engaged in lawful arbitrage trading

(Exchange Br. 4-6); (ii) accepting the Exchange Defendants argument that they

had no insight into the common ownership of Tether and Bitfinex, despite

factual allegations in the Amended Complaint to the contrary (id. at 6-7, 10-

11); (iii) rejecting Plaintiffs’ extensive factual allegations that USDT was


      unbacked USDT on their exchanges with the intent to inflate the price of
      cryptocommodities. (See, e.g., CAC ¶¶ 310-341).
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unbacked (id. at 7); (iv) selecting the Exchange Defendants’ benign

explanations for the unusual and highly suspicious trading activity described

in the Amended Complaint over the explanations offered by Plaintiffs (id. at 8-

9); and (v) inferring a lack of knowledge (rather than culpable knowledge) from

various factual allegations regarding the Exchange Defendants’ purported

insight into trades on their exchanges and into the owners of the accounts

operated on their exchanges (id. at 9-10). As described above, Plaintiffs’ factual

allegations plausibly give rise to the inference of an agreement between

DigFinex and the Exchange Defendants and, “at the motion-to-dismiss stage,

[plaintiffs] must only put forth sufficient factual matter to plausibly suggest an

inference of conspiracy, even if the facts are susceptible to an equally likely

interpretation.” Gelboim, 823 F.3d at 782.

                       Agreement in Restraint of Trade

      Having established that Plaintiffs adequately allege an agreement, the

Court now turns to the second element of a Section 1 claim. Section 1 of the

Sherman Act “does not disallow any and all agreements; it disallows only those

‘in restraint of trade or commerce among the several States.’” In re Elec. Books

Antitrust Litig., 859 F. Supp. 2d 671, 682 (S.D.N.Y. 2012) (quoting 15 U.S.C.

§ 1). Moreover, Section 1 “outlaws only unreasonable restraints.” Leegin

Creative Leather Prods., Inc. v. PSKS, Inc., 551 U.S. 877, 885 (2007). Therefore,

to plead the second element of a Section 1 claim, a plaintiff must show that the

concerted action was unreasonable.



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      Price-fixing “conspiracies concentrate the power to set prices among the

conspirators, including the power to control the market and to fix arbitrary and

unreasonable prices.” United States v. Apple, Inc., 791 F.3d 290, 326 (2d Cir.

2015). “[A]ny conspiracy ‘formed for the purpose and with the effect of raising,

depressing, fixing, pegging, or stabilizing the price of a commodity is illegal per

se,’ and the precise ‘machinery employed is immaterial.’” Id. at 327 (quoting

Socony-Vacuum Oil Co., 310 U.S. at 223); see also Merced, 165 F. Supp. 3d at

138 (“Certain restraints on trade, such as minimum price fixing, may have

‘such predictable and pernicious anticompetitive effect, and such limited

potential for procompetitive benefit’ that they are deemed per se unreasonable.”

(quoting State Oil Co. v. Khan, 522 U.S. 3, 17 (1997))). Accordingly, Plaintiffs

have adequately pleaded that the agreement at issue here was “unreasonable”

as they allege it was formed with the intent to engage in price-fixing (see CAC

¶¶ 135-136, 272-279, 295-300, 310-366, 393-394), which is per se

unreasonable, accord Merced, 165 F. Supp. 3d at 138.

                                        ***

      In sum, although Defendants offer plausible non-collusive explanations

for many of the facts alleged in the Amended Complaint, “[t]he choice between

two plausible inferences that may be drawn from factual allegations is not a

choice to be made by the court on a Rule 12(b)(6) motion.” Anderson News,

680 F.3d at 185. Rather, the question for the Court on a motion to dismiss is

whether Plaintiffs have put forward “enough fact[s] to raise a reasonable

expectation that discovery will reveal evidence of illegal agreement.” Twombly,
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550 U.S. at 556. Taking all of Plaintiffs’ allegations together and drawing all

reasonable inferences in their favor, as the Court must, see, e.g., Cont’l Ore Co.

v. Union Carbide & Carbon Corp., 370 U.S. 690, 696 (1962), the Court

concludes that Plaintiffs meet that burden on their claims brought pursuant to

Sections 1 and 3 of the Sherman Act.

                   iv.   Plaintiffs Adequately Allege Sherman Act Claims
                         Against the Individual Defendants and Fowler

      Each of Defendants Devasini, Velde, Potter, and Fowler argues that the

Amended Complaint fails to allege sufficiently particularized facts to sustain

antitrust claims against them. (See B/T Br. 4 n.1; Potter Br. 6-7; Fowler

Br. 16-17; Potter Reply 3-5; Fowler Reply 9-10). Plaintiffs respond that

“[c]orporate officers may be held ‘personally liable for damages arising from an

antitrust violation’ when they ‘participated in the unlawful acts’ or ‘acquiesced

or ratified the actions of other officers or agents of the corporation who violated

the antitrust laws.’” (Pl. Opp. 24 (quoting Six W. Retail Acquisition, Inc. v. Sony

Theatre Mgmt. Corp., No. 97 Civ. 5499 (DNE), 2000 WL 264295, at *35

(S.D.N.Y. Mar. 9, 2000))). More to the point, Plaintiffs argue that they have

sufficiently alleged the Individual Defendants’ and Fowler’s roles in the

conspiracy and provided evidence from which the Court can infer “‘that they

joined or were members of the alleged conspiracy.’” (Id. (quoting In re Air Cargo

Shipping Servs. Antitrust Litig., No. 06 MDL 1775 (JG) (VVP), No. 10 Civ. 639

(JG) (VVP), 2010 WL 10947344, at *8 (E.D.N.Y. Sept. 22, 2010))).




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      The Court agrees with Plaintiffs that the Amended Complaint sufficiently

alleges each Individual Defendant’s involvement in the conspiracy to defeat a

motion to dismiss. For example, Plaintiffs argue that the Individual

Defendants dominated DigFinex, Tether, and Bitfinex through their leadership

positions (see CAC ¶¶ 23-24, 34-36, 478-480), and further allege the following

specific allegations regarding their individual participation in the antitrust

schemes:

                •   Potter, Devasini, and Velde concealed their
                    simultaneous control over Bitfinex, Tether, and
                    DigFinex, a key element of the scheme to conceal
                    the unbacked nature of USDT and to use USDT
                    to inflate cryptocommodity prices and monopolize
                    the cryptocommodity market (id. at ¶¶ 152-161);

                •   On April 5, 2017, Velde stated under penalty of
                    perjury that each USDT was fully backed by a
                    corresponding U.S. dollar, furthering the
                    conspiracy (id. at ¶ 130);

                •   On October 15, 2018, Devasini pleaded with
                    Crypto Capital to “move at least 100M” to the
                    DigFinex Defendants to honor client redemption
                    requests, and warned that failure to do so would
                    reveal that USDT was unbacked, which would
                    “tank” the price of bitcoin (id. at ¶ 362); and

                •   Potter made multiple, specific public statements
                    of Tether’s intent to evade banking laws and anti-
                    money laundering regulations, especially around
                    the time the DigFinex Defendants lost access to
                    U.S. correspondent banking, suggesting his
                    knowledge of and active participation in the illicit
                    scheme (id. at ¶¶ 343-347).

      With particular respect to Fowler, Plaintiffs plead that he was “an

employee, agent, or partner of Defendant Crypto Capital” (CAC ¶ 41), and that


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he was at the center of Crypto Capital’s “scheme to operate a shadow bank on

behalf of crypto-exchanges in which hundreds of millions of dollars passed

through accounts controlled by him in jurisdictions around the world” (id. at

¶ 352 (alteration omitted); see also id. at ¶ 351). Plaintiffs also advance specific

allegations as to Fowler’s involvement in the antitrust conspiracy, for example,

that he set up specific shell companies and bank accounts to facilitate the

DigFinex Defendants’ scheme throughout the relevant period. (See id. at

¶¶ 354-363).

      These allegations, considered in the aggregate, are sufficiently specific to

survive a motion to dismiss. This is not a case where Plaintiffs allege only that

the Individual Defendants “had knowledge of [their employers’] conduct,

approved of it, and participated in it,” which “might not by itself give rise to

individual liability under the Sherman Act.” Air Cargo, 2010 WL 10947344, at

*8. While Plaintiffs do not allege multiple specific communications in

furtherance of the conspiracy from any of the Individual Defendants or Fowler,

the Court can nonetheless infer the Individual Defendants’ involvement in

controlling DigFinex, Tether, and Bitfinex from the allegations in the Amended

Complaint, as well as Fowler’s control over Crypto Capital. See id. (explaining

that factual allegations that individual’s employer joined alleged conspiracy are

“more suggestive of [the individual] having joined and directly participated in

the conspiracy”). Furthermore, Plaintiffs provide specific allegations as to

Fowler’s and each Individual Defendant’s actions in furtherance of the antitrust

scheme. See Precision Assocs., Inc. v. Panalpina World Transp. (Holding) Ltd.,
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No. 08 Civ. 42 (JG) (VVP), 2012 WL 3307486, at *2 (E.D.N.Y. Aug. 13, 2012)

(“[O]nly ‘slight evidence’ is necessary to connect a defendant to an antitrust

conspiracy once the conspiracy is established[.]” (collecting cases)).

             b.      Commodities Exchange Act Claims

      The Court now turns to Plaintiffs’ three claims against all Defendants

under the Commodities Exchange Act:

             •    market manipulation in violation of 7 U.S.C. §§ 9,
                  25 and CFTC Rule 180.1(a) (Count Five); 37

             •    principal-agent liability in violation of 7 U.S.C.
                  § 2(a)(1) (Count Six); and

             •    aiding and abetting manipulation in violation of 7
                  U.S.C. § 25(a)(1) (Count Seven). 38



37    As discussed further below, Plaintiffs allege a market manipulation claim under two
      theories: first, that Defendants engaged in price manipulation, and second, that
      Defendants utilized a “manipulative device.”
38    In the Amended Complaint, the headings for each of Plaintiffs’ three CEA claims specify
      that Plaintiffs assert each claim “Against All Defendants.” However, Plaintiffs failed to
      include the Exchange Defendants or the CC Defendants in the ad damnum clauses for
      each of the three CEA causes of action. (See CAC ¶¶ 439, 444, 448). Plaintiffs also
      failed to specify that the Exchange Defendants or the CC Defendants “had the ability to
      cause, and did cause, artificial prices” in support of their price manipulation claim.
      (See id. at ¶ 434). Fowler argues that Plaintiffs failed to assert any CEA claims against
      him because they omitted him from each of the ad damnum clauses and pleaded no
      specific references to him in the paragraphs asserting the CEA claims. (Fowler Reply 8-
      9). More broadly, Fowler argues that he did not have “fair notice” of the CEA claims
      asserted against him, and that it would be improper to allow Plaintiffs to assert these
      “new claims” for the first time in an opposition to a motion to dismiss. (Id.). For the
      same reasons, the Exchange Defendants argue that Plaintiffs failed to assert a price
      manipulation claim against them. (See Exchange Reply 9).
      The Court declines to dismiss Plaintiffs’ CEA claims against Fowler or their price
      manipulation claim against the Exchange Defendants on this ground. “Federal Rule of
      Civil Procedure 8(a)(2) requires only ‘a short and plain statement of the claim showing
      that the pleader is entitled to relief,’ in order to ‘give the defendant fair notice of what
      the ... claim is and the grounds upon which it rests[.]’” Bell Atl. Corp. v. Twombly, 550
      U.S. 544, 555 (2007) (alteration in Twombly) (quoting Fed. R. Civ. P. 8(a)(2)). The
      Amended Complaint explicitly states that CEA claims are asserted against “All
      Defendants,” giving Fowler and the Exchange Defendants fair notice that CEA claims
      are asserted against them.
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Plaintiffs assert these claims on behalf of a subclass of “[a]ll persons or entities

that purchased or otherwise acquired Cryptocommodity Futures in the United

States or its territories at any time from February 17, 2015, through the

present and were injured thereby.” (CAC ¶ 377). Defendants move to dismiss

Plaintiffs CEA claims in their entirety. The Court first addresses the Moving

Defendants’ argument that Plaintiffs lack standing under the CEA and then

addresses each of Plaintiffs’ CEA claims. As explained below, the Court denies

the Moving Defendants’ motions to dismiss Plaintiffs’ CEA claims.

                    i.      Plaintiffs Adequately Allege CEA Standing

      Section 22 of the CEA creates a private right of action for any person

“who purchased or sold a [futures contract] or swap if the violation

constitutes ... a manipulation of the price of any such contract or swap or the

price of the commodity underlying such contract or swap.” 7 U.S.C.

§ 25(a)(1)(D). To have standing to sue under the CEA, the plaintiff must show



      The Exchange Defendants were not named in any of the three CEA claim ad damnum
      clauses, and yet they still opposed the market manipulation-manipulative device claim,
      the aiding and abetting claim, and the principal-agent liability claim. (See Exchange
      Br. 17-20). This fact undermines their argument that they had no notice of the price
      manipulation claim. Furthermore, Plaintiffs included allegations of the Exchange
      Defendants’ ability to control prices in support of their Section 1 Sherman Act claims
      (see CAC ¶¶ 419, 424-425, 428-429), which allegations were then incorporated into
      Plaintiffs’ CEA claims (see id. at ¶ 431).
      Plaintiffs also advanced extensive factual allegations in support of Fowler’s involvement
      in the scheme to manipulate cryptocommodity prices, and as such, Fowler had
      adequate notice of the grounds upon which Plaintiffs’ CEA claims rested, and Plaintiffs
      noted that they asserted all CEA claims against all Defendants, giving Fowler adequate
      notice that he needed to respond to the claims. The Court therefore declines to find
      that Fowler had inadequate notice of the CEA claims asserted against him. Finally,
      neither Fowler nor the Exchange Defendants cite any case for the proposition that a
      failure to list a specific defendant in an ad damnum clause while otherwise signaling an
      intent to assert the claim against the omitted defendant constitutes inadequate notice of
      the claim.
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that he or she suffered “actual damages” as a result of the manipulation. Id.

§ 25(a)(1); see also Platinum I, 2017 WL 1169626, at *28. “To establish ‘actual

damages’ a plaintiff must show an ‘actual injury caused by the violation.’” In re

London Silver Fixing, Ltd., Antitrust Litig. (“In re Silver”), 213 F. Supp. 3d 530,

564 (S.D.N.Y. 2016) (quoting In re LIBOR-Based Fin. Instruments Antitrust Litig.

(“LIBOR II”), 962 F. Supp. 2d 606, 620 (S.D.N.Y. 2013)); see also In re Amaranth

Nat. Gas Commodities Litig. (“Amaranth II”), 269 F.R.D. 366, 379 (S.D.N.Y.

2010) (finding that plaintiffs had standing to sue under the CEA because they

established that they “suffered net losses ... caused by the [defendants’] alleged

[price] manipulation”).

      When “CEA claims are based on discrete, episodic instances of

manipulation, plaintiffs must allege that they ‘engaged in a transaction at a

time during which prices were artificial as a result of defendants’ alleged ...

manipulative conduct, and that the artificiality was adverse to their position.’”

In re Silver, 213 F. Supp. 3d at 564 (quoting LIBOR II, 962 F. Supp. 2d at 622).

Of potential significance to the instant motion, however, where the CEA claims

are based on persistent manipulation, CEA plaintiffs may establish actual

injury at the motion to dismiss stage by pleading that they engaged in

transactions during the period of sustained manipulation because prices were

“allegedly artificial throughout the Class Period.” LIBOR II, 962 F. Supp. 2d at

622; see also Platinum I, 2017 WL 1169626, at *28.

      Here, the parties agree that Plaintiff Goldshtein is the only named

plaintiff alleged to have purchased cryptocommodity futures during the Class
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Period. (See Pl. Opp. 26; B/T Reply 8; see also CAC ¶ 22). As relevant here,

Plaintiffs allege that “between January 16, 2018[,] and June 3, 2020, Pinchas

Goldshtein purchased 629 bitcoin futures positions,” “the prices of which

[futures] had been artificially inflated by Defendants’ market manipulation and

as a result suffered economic losses and actual damages.” (CAC ¶ 22).

      The Moving Defendants argue that Plaintiffs’ claims are based on

“discrete, episodic instances of manipulation” and that they therefore fail to

allege loss with sufficient specificity. (See, e.g., B/T Br. 15-17, Exchange

Br. 15-16; B/T Reply 8-11). Relatedly, they argue that Plaintiffs must plead

facts about the specific purchases that Goldshtein made and connect those

individual purchases to Defendants’ misconduct in order to prove that

Goldshtein actually suffered a loss on any of the transactions. (See, e.g., B/T

Br. 16; Exchange Br. 15-16; B/T Reply 8-9). Plaintiffs, in contrast,

characterize their claims as based on “persistent manipulation,” obviating their

need to plead facts establishing that Goldshtein was injured by any specific

transaction. (Pl. Opp. 26-27). The Court agrees with Plaintiffs that the

allegations here make out a claim for persistent manipulation rather than for

episodic manipulation, and that the allegations are sufficient to survive a

motion to dismiss.

      While Defendants correctly note that Plaintiffs assert that the

manipulation was accomplished through “‘massive, carefully timed’

cryptocommodity purchases” (B/T Br. 16 (emphasis in B/T Br.) (quoting CAC

¶¶ 3, 10)), they are wrong in suggesting that Plaintiffs allege the market as
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having operated free from artificial influence during the intervening time

periods. Quite to the contrary, Plaintiffs allege that Defendants’ carefully timed

purchases were intended to, and had the effect of, simulating organic demand

and creating artificial price floors, causing prices to inflate more or less

persistently, and creating a protracted bubble in the cryptocommodity market,

which bubble burst around early 2018. (See CAC ¶¶ 95-96, 135-136, 272-279,

295-300, 393-394, 437). Goldshtein alleges that he purchased

cryptocommodity futures starting in January 2018, right around the time the

bubble burst, and continued purchasing futures through the filing of the

Amended Complaint. (Id. at ¶ 22; see also id. at ¶¶ 95-96). As such, and

accepting the allegations in the Amended Complaint as true, the Court can

infer that Goldshtein suffered actual damages as to any of his purchases, as

each purchase was made at an artificially inflated price that continued to fall,

all as a result of Defendants’ manipulation.

      Defendants argue that the persistent manipulation cases on which

Plaintiffs rely involved more concrete allegations regarding the purported

injurious transactions than those advanced here. (See, e.g., B/T Reply 10-11

(citing Harry, 889 F.3d at 112; Platinum I, 2017 WL 1169626, at *28; LIBOR II,

936 F. Supp. 2d at 718-19)). While Plaintiffs certainly could have provided

more detailed, concrete allegations as to the dates and times of Goldshtein’s

purchases, particularly given the public nature of the crypto-asset transactions

at issue here (see CAC ¶¶ 104, 118), nothing in the cited decisions requires

Plaintiffs to plead details about specific transactions if, under a persistent
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manipulation theory, Plaintiffs’ allegations at the motion to dismiss stage

adequately establish that any of those transactions caused Goldshtein actual

injury. That is the case here, and accordingly the Moving Defendants’ motions

to dismiss Plaintiffs’ CEA claims for lack of standing is denied. However, the

Court notes that, while “at the pleading stage, [Plaintiffs] have adequately

alleged that they were damaged by [Defendants’] manipulation” of the

cryptocommodity market, “[i]t ultimately remains [P]laintiffs’ burden to prove

through reliable evidence that they suffered actual loss based on defendants’

manipulation[.]” Sullivan v. Barclays PLC, No. 13 Civ. 2811 (PKC), 2017 WL

685570, at *31 (S.D.N.Y. Feb. 21, 2017). 39

                     ii.     Plaintiffs Adequately Allege Market Manipulation

      Plaintiffs assert claims under CEA Sections 6(c)(1) and 22, 7 U.S.C.

§§ 9, 25, which make it unlawful for “any person, directly or indirectly, to use

or employ or attempt to use or employ ... any manipulative or deceptive device



39    The Exchange Defendants argue that Plaintiffs’ CEA claims against them are time-
      barred because “publication of the Tether Report in January 2018 [and subsequent
      stories in major media outlets regarding the Tether Report] triggered the two-year
      statute of limitations for CEA claims” by putting Goldshtein on inquiry notice, thus
      “making the June 2020 CAC untimely.” (Exchange Reply 6; see also Exchange Br. 13-
      14). For the reasons set forth in Plaintiffs’ opposition brief, the Court believes that the
      publication of the Tether Report and news stories about that report are insufficient to
      find that Goldshtein was on inquiry notice of the Exchange Defendants’ role in the
      scheme as a matter of law at this early stage in the litigation. (See Pl. Opp. 38-41).
      Defendant Potter further argues that Plaintiffs do not have standing to advance CEA
      claims against him because he stopped working for Tether and Bitfinex “by late
      February 2018, shortly after Plaintiff Goldshtein began transacting in bitcoin futures.”
      (Potter Br. 8). However, Potter does not contest that Goldshtein purchased Bitcoin
      futures in January 2018, before Potter stepped down from his role working for the
      DigFinex Defendants. (See Potter Reply 5 n.2; see also CAC ¶ 22). Accordingly, the
      Court declines to dismiss Plaintiffs’ CEA claims against Potter on standing grounds, for
      the same reasons that the Court declines to dismiss Plaintiffs’ claims against the other
      DigFinex Defendants for lack of CEA standing.
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or contrivance,” and CFTC Rule 180.1(a), which in relevant part makes it

unlawful for “any person ... to intentionally or recklessly” “[m]ake, or attempt to

make, any untrue or misleading statement of a material fact or to omit to state

a material fact necessary in order to make the statements made not untrue or

misleading; [or] ... [e]ngage, or attempt to engage, in any act, practice, or

course of business, which operates or would operate as a fraud or deceit,” 17

C.F.R. § 180.1(a).

      Manipulation claims that sound in fraud, including those advanced by

Plaintiffs here (see CAC ¶ 437; see also Pl. Opp. 28), are evaluated under the

more stringent pleading requirements of Federal Rule of Civil Procedure 9(b), In

re Amaranth Nat. Gas Commodities Litig. (“Amaranth III”), 730 F.3d 170, 180-81

(2d Cir. 2013); see also Platinum I, 2017 WL 1169626, at *30; In re Commodity

Exch., Inc., 213 F. Supp. 3d at 667-68. “Despite the generally rigid

requirement that fraud be pleaded with particularity, the Second Circuit has

recognized that ‘[a] claim of manipulation ... can involve facts solely within the

defendant’s knowledge; therefore, at the early stages of litigation, the plaintiff

need not plead manipulation to the same degree of specificity as a plain

misrepresentation claim.’” Platinum I, 2017 WL 1169626, at *30 (quoting ATSI

Commc’ns, Inc. v. Shaar Fund, Ltd., 493 F.3d 87, 102 (2d Cir. 2007)). “As a

result, the heightened pleading standard under 9(b) ‘is generally relaxed in the

context of manipulation-based claims, where the complaint must simply

specify what manipulative acts were performed, which defendants performed

them, when the manipulative acts were performed, and what effect the scheme
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had on the market for the securities at issue.’” Id. (quoting In re Silver, 213 F.

Supp. 3d at 566).

      Here, Plaintiffs advance two theories of liability for market manipulation:

they assert that Defendants: (i) engaged in price manipulation and (ii) utilized a

“manipulative device” pursuant to 7 U.S.C. § 25(a)(1)(D)(i). The Court

addresses each theory in turn.

                           (a)    Price Manipulation

      “To state a claim for market manipulation under the CEA, Plaintiffs must

allege that: [i] the defendant ‘possessed an ability to influence market prices;’

[ii] ‘an artificial price existed;’ [iii] the defendant ‘caused the artificial price; and’

[iv] the defendant ‘specifically intended to cause the artificial price.’” Platinum

I, 2017 WL 1169626, at *31 (quoting Amaranth III, 730 F.3d at 173); see also In

re Commodity Exch., Inc., 213 F. Supp. 3d at 668. This final element of scienter

“can be pled by ‘alleging facts [i] showing that the defendants had both motive

and opportunity to commit the fraud or [ii] constituting strong circumstantial

evidence of conscious misbehavior or recklessness.’” In re Commodity Exch.,

Inc., 213 F. Supp. 3d at 670 (quoting In re Amaranth Nat. Gas Commodities

Litig. (“Amaranth I”), 587 F. Supp. 2d 513, 529 (S.D.N.Y. 2008)).

      The B/T Defendants argue that Plaintiffs fail to plead fraud with the

particularity required to satisfy Rule 9(b). (See, e.g., B/T Br. 17-18). The Court

disagrees. The Amended Complaint provides sufficient details about

Defendants’ purportedly manipulative trading, including charts, graphs, and

specific examples illustrating how and when Defendants allegedly utilized
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unbacked USDT to inflate cryptocommodity prices. (See CAC ¶¶ 265-270, 272-

276). While Plaintiffs did not include every purportedly manipulative transfer

in the Amended Complaint, their allegations easily satisfy the “relaxed”

Rule 9(b) pleading standard for price manipulation claims. See Platinum I,

2017 WL 1169626, at *32 (finding that pleading “examples showing predictable

price movements in the platinum and palladium derivatives market” satisfies

Rule 9(b) in the context of a price manipulation claim).

      The B/T Defendants also argue that Plaintiffs fail to plead each of the

four elements of a price manipulation claim, essentially recasting their

arguments for dismissal of Plaintiffs’ antitrust claims, viz., that Plaintiffs have

not adequately pleaded how Defendants’ use of USDT caused price

manipulation in the cryptocommodity market, and that Defendants lacked the

specific intent to manipulate prices. (See B/T Br. 18-21; B/T Reply 11-12).

The Exchange Defendants assert similar arguments, including that Plaintiffs

have not adequately alleged their ability to influence the market, that their

actions actually did influence prices, or that they had the requisite scienter.

(Exchange Reply 9 n.5).

      For the reasons discussed supra with respect to Plaintiffs’ Section 1

Sherman Act claim, the Court disagrees and finds that Plaintiffs have

established the elements of a price manipulation claim by plausibly alleging

how Defendants conspired to manipulate cryptocommodity prices using

unbacked USDT, that they did artificially inflate prices, and that Defendants

acted with the requisite intent. As noted above, Plaintiffs have plausibly
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alleged how the B/T Defendants used unbacked USDT to inflate

cryptocommodity prices, and that they engaged in misconduct to achieve that

goal (see CAC ¶¶ 135-136, 272-279, 295-300, 393-394); and have further

alleged how the Exchange Defendants advanced the scheme by knowingly

facilitating and concealing the B/T Defendants’ manipulative trading with the

specific goal of inflating the price of cryptocommodities (see id. at ¶¶ 310-341).

Similarly, Plaintiffs have plausibly alleged the CC Defendants’ role as providers

of shadow banking services to the DigFinex Defendants and have pleaded facts

demonstrating that the CC Defendants knew their role was critical to

maintaining the illusion that USDT was fully backed, and, by extension, to

artificially inflating cryptocommodity prices. (See id. at ¶¶ 342-366). Whether

discovery will confirm these allegations remains to be seen, but at the motion

to dismiss stage, the Court finds Plaintiffs have adequately pleaded price

manipulation.

                         (b)   Manipulative Device

      Plaintiffs also assert a market manipulation claim against Defendants

under a manipulative device theory pursuant to 7 U.S.C. § 25(a)(1)(D)(i) and

CFTC Rule 180.1. Section 25(a)(1)(D)(i) provides a remedy for:

            the use or employment of, or an attempt to use or
            employ, in connection with a swap, or a contract of sale
            of a commodity, in interstate commerce, or for future
            delivery on or subject to the rules of any registered
            entity, any manipulative device or contrivance in
            contravention of such rules and regulations as the
            Commission shall promulgate[.]

Id. CFTC Rule 180.1 prohibits:

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            any person ... in connection with any swap, or contract
            of sale of any commodity in interstate commerce, or
            contract for future delivery ... to intentionally or
            recklessly ... [u]se or employ, or attempt to use or
            employ, any manipulative device, scheme, or artifice to
            defraud[.]

17 C.F.R. § 180.1(a)(1).

      Although the CEA does not define the terms “manipulate device” or

“contrivance,” the CFTC has provided the following guidance with respect to

those terms:

            The language of CEA section 6(c)(1), particularly the
            operative phrase “manipulative or deceptive device or
            contrivance,” is virtually identical to the terms used in
            section 10(b) of the Securities Exchange Act of 1934 ....
            Indeed, when the Commission promulgated Rule 180.1,
            the Commission observed that given the similarities
            between CEA section 6(c)(1) and Exchange Act section
            10(b), the Commission deems it appropriate and in the
            public interest to model final Rule 180.1 on SEC Rule
            10b-5. Accordingly, case law developed under Section
            10(b) of the Exchange Act and SEC Rule 10b-5 is
            instructive in construing CEA Section 6(c)(1) and
            Commission Regulation 180.1(a).

Platinum I, 2017 WL 1169626, at *34 (quoting In re Total Gas & Power N. Am.,

Inc., CFTC Dkt. No. 16-03, 2015 WL 8296610, at *8 (Dec. 7, 2015)). The case

law on the specific elements required to establish a manipulative device claim

is unsettled; however, the Court is persuaded by Judge Woods’s analysis in

Platinum I, id. at *36, and Judge Caproni’s analysis in In re Commodity

Exchange, 213 F. Supp. 3d at 672-73, both of which conclude that where — as

here — plaintiffs allege both “manipulation ... and misrepresentation ... as part

of a single scheme,” they may satisfy their pleading burden “by alleging with


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particularity ‘the nature, purpose, and effect of the fraudulent conduct and the

roles of the defendants,’” and need not also plead loss causation or reliance at

the motion to dismiss stage. In re Commodity Exch., Inc., 213 F. Supp. 3d at

673 (quoting ATSI Comm’cns, 493 F.3d at 101); accord Platinum I, 2017 WL

1169626, at *36 (same); see also CFTC v. McDonnell, 332 F. Supp. 3d 641, 717

(E.D.N.Y. 2018) (“To prove a violation of [Rule] 180.1(a)[,] the Commission must

show that Defendants engaged in prohibited conduct (i.e., employed a

fraudulent scheme; made a material misrepresentation, misleading statement

or deceptive omission; or engaged in a business practice that operated as a

fraud); with scienter; and in connection with a contract of sale of a commodity

in interstate commerce.”).

      Plaintiffs have alleged with particularity the various Defendants’ roles in

the manipulative scheme and have adequately pleaded scienter. For example,

Plaintiffs allege in detail how the DigFinex Defendants issued unbacked USDT,

transferred it to their accounts on the Exchange Defendants’ exchanges, and

used that unbacked USDT to artificially simulate organic demand and price

floors to inflate cryptocommodity prices. (CAC ¶¶ 135-136, 272-279, 295-300,

393-394). Plaintiffs allege that the Exchange Defendants were aware of this

scheme, and knowingly facilitated it by, inter alia, providing bespoke accounts

to the DigFinex Defendants, affirmatively misrepresenting the unbacked nature

of USDT, and concealing that USDT was not fully backed. (See id. at ¶¶ 310-

341). Plaintiffs allege that the CC Defendants were also aware of the scheme

and willingly participated by providing U.S. correspondent banking services to
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help the DigFinex Defendants cover up the unbacked nature of USDT.

Plaintiffs further allege that the CC Defendants were explicitly told of their role

in keeping the price of Bitcoin artificially inflated. (See id. at ¶¶ 342-366). And

as noted above, Plaintiffs need not establish loss causation or reliance at this

time given Plaintiffs’ allegations of sustained market manipulation, see

Platinum I, 2017 WL 1169626, at *36 (collecting cases); accord In re Commodity

Exch., Inc., 213 F. Supp. 3d at 673 (same); for this reason, the Court rejects

Defendants’ arguments that Plaintiffs’ manipulative device claim must be

dismissed for failure to allege loss causation or reliance (see B/T Br. 21-22;

Exchange Br. 18-19; B/T Reply 12; Exchange Reply 8).

      Defendants’ remaining arguments are equally unpersuasive. The

Exchange Defendants argue that their statements that USDT was not fully

backed were not false when made (see Exchange Br. 17-18; Exchange Reply 7

(citing CAC ¶¶ 166, 174)). But on the current record, the Court cannot

conclude that the statements were true when made, or that the Exchange

Defendants believed them to be true when made, especially when Plaintiffs

plausibly allege that the Exchange Defendants were involved in the

manipulative scheme from the get-go. Furthermore, Plaintiffs allege that the

Exchange Defendants made misrepresentations to the market other than the

explicit statement cited in the Exchange Defendants’ briefs, for example, by

covering up the unbacked nature of USDT throughout the course of the

manipulative scheme and by concealing the DigFinex Defendants’ manipulative

trading.
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      Finally, as Plaintiffs note, case law developed under Section 10(b) of the

Securities Exchange Act is instructive in construing the relevant portions of the

CEA and Rule 180.1, and the Second Circuit has instructed that Section 10(b)

“prohibits not only material misstatements but also manipulative acts,”

including “a transaction [that] sends a false pricing signal to the market,” as

Plaintiffs allege here. ATSI Commc’ns, 493 F.3d at 100; accord In re Commodity

Exch., Inc., 213 F. Supp. 3d at 673. As such, the Court denies the Moving

Defendants’ motions to dismiss Plaintiffs’ manipulative device claim.

                   iii.   Secondary Liability

                          (a)   Plaintiffs Adequately Allege a Principal-Agent
                                Liability Claim

      Plaintiffs assert a claim for principal-agent liability pursuant to

Section 2(a)(1) of the CEA, 7 U.S.C. § 2(a)(1). “Under that provision, a claim for

principal-agent liability requires that [i] the agent was acting in the capacity of

an agent when he or she committed the unlawful acts and [ii] that the agent’s

actions were within the scope of his or her employment.” In re Silver, 213 F.

Supp. 3d at 571 (citations omitted); accord Platinum I, 2017 WL 1169626, at

*37 (same).

      Plaintiffs have adequately pleaded principal-agent liability as to the

Individual Defendants and Fowler. First, Plaintiffs allege that the Individual

Defendants acted as agents of Bitfinex and Tether by serving as corporate

officers of those entities. (See CAC ¶¶ 23-24, 34-36, 476-480). Similarly,

Plaintiffs allege that Fowler acted as an agent and principal of Crypto Capital.


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(Id. at ¶ 41). Plaintiffs also plead specific facts to support their allegations of

wrongdoing as to each of these defendants, as detailed supra with respect to

the Individual Defendants’ and Fowler’s motions to dismiss Plaintiffs’ Sherman

Act claims. (See id. at ¶¶ 130, 151-161, 343-347, 354-363). Second, Plaintiffs

adequately allege that the Individual Defendants and Fowler were acting within

the scope of their employment. (See id. at ¶¶ 23-24, 34-36, 476-480). The

Court therefore denies the Moving Defendants’ motions to dismiss Count Six. 40

                            (b)     Plaintiffs Adequately Allege an Aiding and
                                    Abetting Claim

      Pursuant to Section 22 of the CEA, “[a]ny person ... who violates this

chapter or who willfully aids, abets, counsels, induces, or procures the

commission of a violation of this chapter shall be liable for actual damages

resulting from [relevant transactions] ... and caused by such violation” of the

statute. 7 U.S.C. § 25(a)(1). The Second Circuit has interpreted “aiding and

abetting” in this context as “requir[ing] the defendant to in some sort associate

himself with the venture, that he participate in it as in something that he

wishes to bring about, that he seek by his action to make it succeed.”



40    Plaintiffs’ opposition brief opposes only the Individual Defendants’ and Fowlers’ motions
      to dismiss the CEA principal-agent liability claim. (Pl. Opp. 36-37). Accordingly, the
      Court considers the motions to dismiss Count Six to be unopposed as to the other
      Moving Defendants. Because Plaintiffs failed to plead that those other defendants were
      acting as agents of Bitfinex, Tether, or other entities that allegedly manipulated
      cryptocommodity prices, the Court grants the motion to dismiss this claim as to the
      Exchange Defendants, the Tether Defendants, the Bitfinex Defendants, and DigFinex.
      Plaintiffs also attempt to assert principal-agent liability claims against “other employees
      of the corporate Defendants, as yet unknown to Plaintiffs[.]” (Pl. Opp. 37). Plaintiffs
      failed to assert this claim against unnamed defendants in the Amended Complaint and
      the Court rejects Plaintiffs’ attempt to assert such a claim in opposition to the Moving
      Defendants’ motions to dismiss.
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Amaranth III, 730 F.3d at 182 (internal quotation marks omitted) (quoting

United States v. Peoni, 100 F.2d 401, 402 (2d Cir. 1938)). “Consistent with the

Second Circuit’s holding, courts in this district have required plaintiffs alleging

aiding and abetting under the CEA to plead sufficient facts showing that ‘the

[d]efendant [i] had knowledge of the principal’s intent to violate the CEA;

[ii] intended to further that violation; and [iii] committed some act in

furtherance of the principal’s objective.’” Platinum I, 2017 WL 1169626, at *36

(quoting Laydon v. Mizuho Bank, Ltd. (“Laydon I”), No. 12 Civ. 3419 (GBD),

2014 WL 1280464, at *4 (S.D.N.Y. Mar. 28, 2014)).

      The Amended Complaint adequately pleads all three elements. As

explained supra, Plaintiffs allege facts demonstrating that the DigFinex

Defendants, Exchange Defendants, and CC Defendants knowingly assisted

each other to perpetuate a manipulative scheme wherein they used unbacked

USDT to artificially inflate cryptocommodity prices. See Platinum I, 2017 WL

1169626, at *37 (collecting cases and denying motion to dismiss CEA aiding

and abetting claim where plaintiffs “plead[ed] sufficient facts showing that

Defendants knowingly assisted each other and participated in the Fixing with

the intent to artificially suppress ... prices”); In re Silver, 213 F. Supp. 3d at

571 (denying motion to dismiss CEA aiding and abetting claim where plaintiffs

adequately pleaded conspiracy to restrain trade and fix prices). Accordingly,

the Moving Defendants’ motions to dismiss Count Seven is denied.




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                   iv.   Plaintiffs Adequately Allege CEA Claims Against
                         the Individual Defendants and Fowler

      Finally, the Court declines to dismiss the CEA claims brought against the

Individual Defendants and Fowler for essentially the same reasons the Court

sustained the Sherman Act claims against those same Defendants. Potter

argues that allegations against him are not specific enough to survive a motion

to dismiss. (Potter Br. 8-11; Potter Reply 5-8). The Court disagrees, for

substantially the same reasons the Court rejected this argument in the

antitrust context: allegations of Potter’s leadership role at Tether, Bitfinex, and

DigFinex, coupled with allegations regarding his willing involvement in covering

up USDT’s purportedly unbacked nature, sufficiently establish the requisite

conduct and intent to survive a motion to dismiss the CEA claims. Similarly,

the Court disagrees with Potter’s claim that Plaintiffs pleaded no act in

furtherance of price manipulation (Potter Br. 10-11); as but one example,

Plaintiffs pleaded that Potter worked to circumvent banking regulations, a key

component of perpetuating the false claim that USDT was fully backed, and

thus of the scheme to inflate cryptocommodity prices. Regarding Velde,

Devasini, and Fowler, the Court has already explained why Plaintiffs’

allegations implicating the Individual Defendants are not fatally vague,

inasmuch as Plaintiffs allege specific facts as to each and also generally allege

misdeeds carried out while the Individual Defendants were acting as agents of

Bitfinex, Tether, or Digfinex. Accordingly, the Court declines to dismiss CEA

claims against the Individual Defendants and Fowler.


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             c.    Plaintiffs’ RICO Claims Are Dismissed

      The Court proceeds to consider Plaintiffs’ civil RICO claims. By way of

background, Congress enacted RICO in 1970 to “eradicat[e] ... organized crime

in the United States.” Am. Fed’n of State, Cnty. & Mun. Emp. Dist. Council 37

Health & Sec. Plan v. Bristol-Myers Squibb Co., 948 F. Supp. 2d 338, 344

(S.D.N.Y. 2013) (citing Pub. L. No. 91-452 (1970)). Under RICO, organized

crime is defined as racketeering activity, a term that “encompass[es] dozens of

state and federal statutes” that serve as punishable predicate acts. RJR

Nabisco, Inc. v. European Cmty., 136 S. Ct. 2090, 2096 (2016). An individual

who commits two or more predicate acts within a ten-year period may violate

RICO if “those predicate offenses are related to one another ... and the

predicates amount to or pose a threat of continued criminal activity.” Elsevier,

Inc. v. Grossmann, No. 12 Civ. 5121 (KPF), 2017 WL 1843298, at *3 (S.D.N.Y.

May 8, 2017) (internal quotation marks omitted) (citing H.J. Inc. v. Nw. Bell Tel.

Co., 492 U.S. 229, 239 (1989)).

      RICO establishes four criminal offenses, and, separately, a private civil

cause of action. RJR Nabisco, 136 S. Ct. at 2096-97. Sections 1962(a)-(d)

make it unlawful to engage in several specific activities involving a “pattern of

racketeering activity.” Specifically:

             Section 1962(a) makes it unlawful to invest income
             derived from a pattern of racketeering activity in an
             enterprise.  Section 1962(b) makes it unlawful to
             acquire or maintain an interest in an enterprise through
             a pattern of racketeering activity. Section 1962(c)
             makes it unlawful for a person employed by or
             associated with an enterprise to conduct the
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               enterprise’s affairs through a pattern of racketeering
               activity. Finally, [Section] 1962(d) makes it unlawful to
               conspire to violate any of the other three prohibitions.

Id. at 2097.

      Of significance here, RICO affords a private right of action to individuals

who are harmed by racketeering activity. See 18 U.S.C. § 1964. This private

right of action allows a plaintiff to bring a claim under RICO for sustaining

injuries “in his business or property by reason of a violation of [S]ection 1962.”

Id. § 1964(c). A plaintiff who proves injuries in his business or property may

“recover threefold the damages he sustains and the cost of the suit, including a

reasonable attorney’s fee[.]” Id. Here, Plaintiffs assert three RICO claims:

               •   pursuant to Section 1962(c) against the DigFinex
                   and CC Defendants;

               •   pursuant to Section 1962(a) against the DigFinex
                   Defendants — pleaded in the alternative to
                   Plaintiffs’ Section 1962(c) claim; and

               •   pursuant to Section 1962(d) against all Defendants
                   for a RICO conspiracy to violate Section 1962(a)
                   and (c).

(See CAC ¶¶ 449-572). For the reasons that follow, Plaintiffs’ RICO claims are

dismissed in their entirety.

                     i.    Plaintiffs’ Section 1962(c) Claim Is Dismissed

      In Count Eight, Plaintiffs allege that certain Defendants conducted the

affairs of an enterprise through a pattern of racketeering activity, in violation of

18 U.S.C. § 1962(c). In particular, Plaintiffs allege that “DigFinex Inc., iFinex

Inc., BFXNA Inc., BFXWW Inc., Tether Holdings Limited, Tether Limited, Tether

Operations Limited, Tether International Limited, Poloniex, Inc., Bittrex, Inc.,
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Ludovicus Jan van der Velde, Giancarlo Devasini, [and] Philip G. Potter … have

been associated-in-fact and have constituted a RICO enterprise since at least

2015,” and, further, that “Crypto Capital and Fowler were part of the enterprise

from at least 2016 to October 2019.” (CAC ¶¶ 453-454 (identifying the putative

members of the RICO “Count Eight Enterprise”)). The Count Eight Enterprise

is alleged to have conducted its affairs through a pattern of racketeering

activity that included wire fraud, bank fraud, money laundering, engaging in

monetary transactions in criminally derived property, and operating an

unlicensed money transmitting business. (Id. at ¶¶ 483-535). Its purpose,

according to Plaintiffs,

             was to manipulate the price of cryptocommodities by
             engaging in a scheme to defraud the market. The
             Enterprise used a purported stablecoin, USDT, which
             the Tether, Bitfinex, and Individual Defendants
             fraudulently represented was backed 1:1 by U.S. dollar
             reserves.   These misrepresentations allowed these
             Defendants to issue new, unbacked USDT and use that
             debased USDT to artificially inflate the prices of
             cryptocommodities through transactions on the Bittrex
             and Poloniex exchanges.

(Id. at ¶ 456). Finally, Plaintiffs claim injury as a consequence of the Count

Eight Enterprise’s racketeering acts, insofar as Plaintiffs “purchas[ed]

cryptocommodities at artificially inflated prices they would not have paid but

for the Count Eight Defendants’ scheme.” (Id. at ¶ 457).

      In resolving the Moving Defendants’ challenge to Plaintiffs’ Section

1962(c) claim, the Court focuses on the issues of standing and causation.

Pursuant to Second Circuit precedent, among other things, “[t]o demonstrate


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RICO standing, a plaintiff must plead, at a minimum ... causation of the injury

by the defendant’s violation.” Baisch v. Gallina, 346 F.3d 366, 373 (2d Cir.

2003), abrogated on other grounds by Lexmark Int’l, Inc. v. Static Control

Components, Inc., 572 U.S. 118 (2014). Under RICO, causation requires both

“but for” and proximate causation. See Holmes v. Secs. Inv. Protection Corp.,

503 U.S. 258, 259, 266 (1992).

      To establish proximate causation, the connection between the

defendant’s conduct and the plaintiff’s injury must be “direct” and

“straightforward,” Holmes, 503 U.S. at 268; see also Hemi Grp., LLC v. City of

New York, 559 U.S. 1, 14 (2010), and must not entail “intricate, uncertain

inquiries” into the extent of the defendant’s responsibility for the loss, Anza v.

Ideal Steel Supply Corp., 547 U.S. 451, 460 (2006); accord Empire Merchants,

LLC v. Reliable Churchill LLLP, 902 F.3d 132, 142 (2d Cir. 2018). A link that is

“too remote, purely contingent, or indirect” is insufficient, Hemi Group, 559

U.S. at 9-10, and even at the pleading stage, a court should rarely “go beyond

the first step” in assessing causation, Holmes, 503 U.S. at 272. The

requirement of a direct causal relation serves vital considerations of judicial

administrability and convenience:

            First, “the less direct an injury is, the more difficult it
            becomes to ascertain the amount of a plaintiff’s
            damages attributable to the violation, as distinct from
            other, independent, factors.” Second, recognizing the
            claims of the indirectly injured would lead to problems
            of apportionment, as courts would have to adopt
            complicated rules to prevent multiple recoveries. Third,
            “directly injured victims can generally be counted on to
            vindicate the law as private attorneys general, without
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             any of the problems attendant upon suits by plaintiffs
             injured more remotely.”

Doe v. Trump Corp., 385 F. Supp. 3d 265, 276 (S.D.N.Y. 2019) (internal

citations omitted) (quoting Holmes, 503 U.S. at 268-70).

      The Court pauses briefly to note that all of the predicate racketeering

acts alleged here — wire fraud, money laundering, bank fraud, unlawful money

transactions, and operation of unlicensed money transmitting businesses —

arise out of essentially the same related conduct: covering up the unbacked

nature of USDT by circumventing U.S. banking regulations (bank fraud and

operation of unlicensed money transmitting businesses), and then using that

unbacked USDT to purchase cryptocommodities (money laundering, wire

fraud, and unlawful money transactions). (See CAC ¶¶ 484-535). 41 The

Moving Defendants argue that any alleged loss incurred by Plaintiffs is too

attenuated from Defendants’ purported racketeering activity to establish

proximate cause under RICO. Specifically, they argue that the intervening

activity of third parties — those users who exchanged cryptocommodities for

the allegedly unbacked USDT — breaks the causal chain. (See B/T Br. 24-27;

Exchange Br. 24-25; Potter Br. 11; Fowler Br. 18-21; B/T Reply 13-16).

Plaintiffs offer two counterarguments in opposition: first, that Defendants’ use

of unbacked USDT to prop up cryptocommodity prices by establishing

fraudulent price floors is not too remote, even if Defendants did not interact



41    Because the Court ultimately concludes that Plaintiffs lack standing to pursue their
      Section 1962(c) claim, the Court does not here analyze whether Plaintiffs have
      adequately pleaded predicate RICO offenses.
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directly with Plaintiffs in issuing the unbacked USDT (Pl. Opp. 43-47); and

second, that the subsequent price inflation was a “foreseeable and natural

consequence” of the scheme irrespective of the involvement of third parties (id.

at 47-50).

      The Court agrees with the Moving Defendants that Plaintiffs’ allegations

require the intervening activity of third parties, that those third parties are

better situated than Plaintiffs to allege RICO claims given the racketeering

activity alleged here, and that the connection between the racketeering activity

and the harm “is attenuated by substantial intervening factors or third party

conduct.” Doe, 385 F. Supp. 3d at 276. In so doing, it rejects Plaintiffs’

arguments to the contrary. As an initial matter, Plaintiffs claim that “[c]ourts

in this circuit recognize that plaintiffs who trade in a manipulated market can

establish RICO injury and causation.” (Pl. Opp. 44). However, the lone case

Plaintiffs cite to support this proposition, Sonterra Capital Master Fund Ltd. v.

UBS AG, 954 F.3d 529 (2d Cir. 2020), addresses injury only in the context of

Article III standing, and says nothing about RICO’s more stringent proximate

cause requirement, see id. at 534-35.

      This Court has independently identified other cases addressing

proximate cause in the context of RICO market manipulation claims, but those

cases are distinguishable. For example, in Dennis v. JPMorgan Chase & Co.,

343 F. Supp. 3d 122, 184 (S.D.N.Y. 2018), adhered to on denial of

reconsideration, No. 16 Civ. 6496 (LAK), 2018 WL 6985207 (S.D.N.Y. Dec. 20,

2018), and Sonterra I, 277 F. Supp. 3d at 576, two sister courts in this District
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found proximate cause adequately alleged in the context of market

manipulation claims as to certain groups of plaintiffs. However, in both of

those cases, a direct connection existed between the defendants’ manipulation

of interest rates and the injury suffered by the plaintiff-investors who

purchased derivatives that incorporated the inflated rates.

      For example, the plaintiffs in Dennis and Sonterra I did not rely on

allegations that independent market participants responded to artificial market

signals; instead, those cases involved situations where the purported rate

manipulation directly and necessarily influenced the price of the derivatives

purchased by the plaintiffs (i.e., because the manipulated rates were

fundamental components of pricing the derivatives). See Dennis, 343 F. Supp.

3d at 145-47 (explaining the direct link between the Bank Bill Swap Reference

Rate (“BBSW”), a benchmark interest rate, and BBSW derivatives purchased by

plaintiffs); Sonterra I, 277 F. Supp. 3d at 537-42 (same, but as to LIBOR

instead of BBSW). Here, by contrast, there are intervening steps between the

racketeering activity (i.e., covering up the unbacked nature of USDT and the

use of that USDT to buy cryptocommodities) and Plaintiffs’ injury, which was

caused by the creation of artificial price floors and price inflation. In

particular, the market — and independent buyers and sellers in the market —

responded to the stimulus of the unbacked USDT that the DigFinex Defendants

repeatedly injected into the cryptocommodity market. 42


42    The Court identified only one case from within this Circuit where the court found
      proximate cause adequately alleged in the context of market manipulation without an
      explicit finding that the fraudulently manipulated element was directly connected to the
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      Plaintiffs allege that Defendants’ use of unbacked USDT simulated

organic demand, thus creating artificial price floors, and argue that this act

“did not depend on the actions of later investors.” (Pl. Opp. 44). But the

establishment of a price floor is not a unilateral action and necessarily requires

the independent action of other market participants, which participants may

choose to buy or not buy cryptocommodities for any number of reasons. The

involvement of independent market actors in that intermediate step introduces

the possibility that factors other than Defendants’ racketeering activity gave

rise to the artificial price inflation that injured Plaintiffs. And unlike in the

LIBOR and BBSW cases, there is no direct connection between the racketeering

activity and the injury to keep the causal chain intact despite the involvement

of independent market actors.

      The Court therefore agrees with Defendants that the facts alleged here

are closer to those alleged in 7 West 57th Street Realty Company, LLC v.




      asset price. See In re Sumitomo Copper Litig., 104 F. Supp. 2d 314, 321 (S.D.N.Y. 2000).
      In Sumitomo, the court found proximate cause adequately pleaded where defendants
      purportedly engaged in mail and wire fraud to overstate market transactions in copper
      and copper futures, causing the price of copper and copper futures to artificially
      increase. Id. at 320-21. Those allegations are much more direct than the relationship
      between the racketeering activity and injury alleged here. In Sumitomo, the
      racketeering activity alleged created the very misrepresentations that caused the price
      of copper to increase, even if that artificial increase necessarily required market
      participants to respond to the misrepresented transactions. An apt analogy to this case
      would be if Plaintiffs had alleged that Defendants’ racketeering activity was not to
      misrepresent USDT’s one-to-one backing, but instead to fraudulently claim to have
      purchased more bitcoin than they actually purchased, creating the illusion of artificial
      demand in a single step, rather than employing the multi-step process of laundering
      unbacked USDT outlined in the Amended Complaint to simulate organic demand.
      Furthermore, the Court notes that Sumitomo was decided before the Supreme Court’s
      more recent decisions addressing proximate cause in Anza v. Ideal Steel Supply Corp.,
      547 U.S. 451 (2006), and Hemi Grp., LLC v. City of New York, 559 U.S. 1 (2010).
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Citigroup, Inc., 771 F. App’x 498 (2d Cir. 2019) (summary order). (See B/T

Reply 13-14). In 7 West 57th, the Second Circuit declined to find proximate

causation where the plaintiff alleged that the defendants manipulated LIBOR,

and claimed injury because the manipulation of LIBOR purportedly caused a

change in the value of bonds not directly pegged to LIBOR. 771 F. App’x at

500-01, 503-04. The Second Circuit explained that the alleged racketeering

activity did not proximately cause the plaintiff’s injury because “the injury was

directly caused by buy/sell decisions that independent market actors made,

which LIBOR may have influenced.” Id. at 504. Here too, the manipulation of

cryptocommodity prices “was directly caused by buy/sell decisions that

independent market actors made,” and it is these actions that established price

floors and created a bubble, “which [the purchase of cryptocommodities using

unbacked USDT] may have influenced.” Id.; accord Laydon v. Mizuho Bank,

Ltd. (“Laydon II”), No. 12 Civ. 3419 (GBD), 2015 WL 1515487, at *10 (S.D.N.Y.

Mar. 31, 2015) (finding no proximate cause where multiple discrete links

between defendants’ racketeering conduct in fixing two rate benchmarks and

injury caused by price manipulation of derivatives in which plaintiffs traded).

Thus, the relationship between the use of unbacked USDT to purchase

cryptocommodities and the manipulation of prices in the cryptocommodity

market is more like allegations of price manipulation where the derivative at

issue is responsive to independent market forces and not pegged to an interest

rate (like LIBOR), than to the allegations in Dennis and Sonterra I, where the

assets were directly pegged to the manipulated rates.
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      Additionally, this is not a scenario where the plaintiffs are those directly

injured by the racketeering conduct; rather, that injury fell on those market

participants who exchanged cryptocommodities for the unbacked USDT. Those

individuals may have a stronger claim to RICO standing because the causal

link between the racketeering activity and the injury is direct and does not

require market participants to play along.

      This Court’s examination of recent Supreme Court and Second Circuit

decisions addressing proximate cause reinforces its determination that

proximate cause is lacking here. For example, in Holmes, the Supreme Court

declined to find proximate causation when the plaintiffs, entities that covered

the losses of two broker-dealers that failed after the defendants allegedly

conspired to manipulate stock prices that the brokers purchased, claimed

injury on behalf of customers who did not directly purchase the manipulated

stock. See 503 U.S. at 261-63, 268. The chain was too attenuated because

the plaintiffs could have been injured by wholly independent factors, such as

the broker-dealers’ “poor business practices or their failures to anticipate

developments in the financial markets.” Id. at 273. The Court explained that

the broker-dealers themselves, as direct customers, would have standing under

RICO. Id. at 274-75. Here, Plaintiffs attempt to analogize themselves to the

defunct broker-dealers who purchased the manipulated stocks, which broker-

dealers would have standing under Holmes. (Pl. Opp. 48-49). However, the

defunct broker-dealers are more properly analogized to individuals who

exchanged cryptocommodities for the unbacked USDT, as those individuals
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were the ones who were directly harmed by Defendants’ alleged

misrepresentations.

       In Anza, the plaintiff, a steel supply company, alleged that its principal

competitor had evaded taxes, allowing it to undercut the plaintiff’s prices and

cost the plaintiff sales. Anza, 547 U.S. at 454. The Supreme Court held that

the plaintiff had not adequately pleaded proximate cause because its “lost sales

could have resulted from factors other than [the defendants’] alleged acts of

fraud,” and noted in particular that “[b]usinesses lose and gain customers for

many reasons, and it would require a complex assessment to establish what

portion of [the plaintiff’s] lost sales were the product of” the defendant’s

conduct. Id. at 459. As in Anza, determining how much of the artificial price

floors and price inflation is attributable to Defendants’ racketeering activity

(covering up the unbacked nature of USDT and using that USDT to purchase

cryptocommodities), would require a similarly “complex assessment.” Id. But

such a complex assessment would be unnecessary for another group more

directly injured by the racketeering activity, i.e., individuals who exchanged

cryptocommodities for unbacked USDT. 43




43     Plaintiffs attempt to distinguish Anza by arguing that Defendants’ manipulation of
       cryptocommodity prices “was not a mere byproduct of Defendants’ scheme; it was the
       object of the scheme” (Pl. Opp. 47), whereas in Anza, the defendants’ predicate act was
       tax fraud, which could only harm the state, and not the plaintiffs (id. (citing Anza, 547
       U.S. at 457-58)). Plaintiffs’ argument is unavailing. The predicate acts alleged here all
       arise out of Defendants’ issuance and use of unbacked USDT to purchase
       cryptocommodities. Plaintiffs do not allege that they accepted the unbacked USDT in
       exchange for cryptocommodities. Rather, the harm alleged is the product of artificial
       prices in the cryptocommodity market, which harm requires independent market actors
       to create price floors or price bubbles.
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      In Hemi Group, a plurality of the Supreme Court held that New York City

had not stated a RICO claim against a business that had failed to provide

statutorily required disclosures about its customers to the New York State

government, making it difficult for the city to pursue tax evaders. See Hemi

Group, 559 U.S. at 5-7. The court concluded that proximate cause had not

been sufficiently pleaded: “[T]he conduct directly causing the [city’s] harm was

distinct from the conduct giving rise to the fraud,” because of the various

intervening factors attenuating the link between the business’s failure to

disclose and the city’s lost tax revenue. Id. at 2, 11. Here as well, Plaintiffs’

alleged injury is too attenuated, as various intervening factors may have

caused independent market actors to buy cryptocommodities, including, as the

B/T Defendants note, “speculation; introduction of other cryptocurrencies;

distrust of centralized, government-controlled money supply; initial coin

offerings; increasing media attention; and bullish market reports.” (B/T

Br. 26).

      Plaintiffs counter that the Supreme Court’s decision in Bridge v. Phoenix

Bond & Indemnity Co., 553 U.S. 639 (2008) — a case where the plaintiffs were

found to have adequately pleaded proximate causation, despite allegations that

the defendants targeted a third-party with racketeering conduct — supports a

finding of proximate cause here. (Pl. Opp. 46-47). In point of fact, the Court

finds that Bridge provides an instructive contrast with the allegations in the

Amended Complaint. In Bridge, the plaintiffs were unsuccessful participants

in county tax lien auctions, and they alleged that the defendants had won a
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disproportionate share of auctions by fraudulently manipulating the county’s

process of selecting auction winners in the event of a tie. See Bridge, 553 U.S.

at 642-44. The defendants argued that proximate cause had not been

established because the county, not plaintiffs, relied on the defendants’

misrepresentations. See id. at 653-55. In rejecting this argument, the

Supreme Court explained that “here, unlike in Holmes and Anza, [i] there are

no independent factors that account for respondents’ injury, [ii] there is no risk

of duplicative recoveries by plaintiffs removed at different levels of injury from

the violation, and [iii] no more immediate victim is better situated to sue.” Id.

at 658. 44 In the instant case, by contrast, (i) there are independent factors that

may account for the injury, as just noted (see B/T Br. 26); (ii) there are more

immediate victims; and (iii) there is a risk of duplicative recovery, because at

the very least, individuals who received debased USDT for cryptocommodities

could pursue a RICO claim. 45


44     In other words, as the Supreme Court explained in Hemi Group, “the plaintiff’s theory of
       causation in Bridge was ‘straightforward’: Because of the zero-sum nature of the
       auction, and because [of the county’s procedure for awarding bids], each time a fraud-
       induced bid was awarded, a particular legitimate bidder was necessarily passed over.”
       Hemi Group, 559 U.S. at 14.
       Plaintiffs’ attempt to shoehorn the facts alleged here to align with those alleged in
       Bridge is unpersuasive. Plaintiffs argue that “here, for every injection of USDT onto the
       market, subsequent purchasers of crypto-commodities — including Plaintiffs — lost
       money,” just as, in Bridge (as described in Hemi Group) “for every bid the Bridge
       defendants won through their fraud, another bidder necessarily lost out.” (Pl. Opp. 46
       (citing Hemi Group, 559 U.S. at 14-15)). The Court fails to see how a zero-sum bidding
       system, where one bidder winning necessarily causes other bidders to lose, is analogous
       to an open market, wherein myriad factors may influence the price of
       cryptocommodities, such that Defendants’ injection of USDT into the market does not
       necessarily cause prices to increase.
45     For essentially the same reasons, Plaintiffs’ citations to D’Addario v. D’Addario, 901
       F.3d 80 (2d Cir. 2018), and De Sole v. Knoedler Gallery, LLC, 974 F. Supp. 2d 274, 310
       n.15 (S.D.N.Y. 2013), fail to carry the day. (See Pl. Opp. 46-47). Both cases stand only
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      Finally, in Empire Merchants, a distributor with exclusive rights to

distribute certain brands of liquor in New York sued competing distributors for

illegally smuggling liquor into the state. See Empire Merchants, 902 F.3d at

136. The plaintiff argued that because the smuggled liquor was not subject to

New York’s excise taxes, it could be sold at a lower price, which in turn

decreased the plaintiff’s sales. See id. at 137. The Second Circuit held that the

complaint did not sufficiently plead proximate cause because the retailers’

choices not to purchase liquor from the plaintiff did not necessarily follow from

the defendants’ smuggling activities. Id. at 146-47. The Empire Merchants

court explained that the plaintiff “might have lost sales due to bootlegging from

states with even lower alcohol excise taxes ... [o]r various retailers might have

purchased wine, beer, or a brand of liquor not subject to Empire’s exclusive

distribution contracts to offer something new to consumers or to respond to

changes in consumer tastes.” Id. at 143. The Empire Merchants court rejected

a similar attempt to analogize the facts in that case to those in Bridge:

             Empire asserts that its proximate cause theory is
             straightforward and like that in Bridge: it alleges that
             every crate of every Empire-exclusive brand smuggled
             into New York cost it a sale. We disagree. As in Anza
             and Hemi, and unlike Bridge, Empire has not and
             cannot allege that the asserted racketeering activity

      for the proposition that a plaintiff may pursue a RICO claim even when the defendant’s
      misrepresentation targeted a third party, as long as the causal link between the
      misrepresentation and the injury alleged is direct. Here, as noted above, the link is not
      sufficiently direct, because Plaintiffs’ allegations necessarily require the involvement of
      independent market actors, exposed to other market forces, to establish the price floors
      and inflated prices that purportedly injured Plaintiffs. Cf. Doe v. Trump Corp., 385 F.
      Supp. 3d 265, 678 (S.D.N.Y. 2019) (“If a purported intervening factor does not make
      any less certain the quantum of loss attributable to the defendant or create problems of
      apportionment, it cannot be said to attenuate the causal link.”).
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              directly caused its injury. This is so for three principal
              reasons: [i] Empire was harmed by the New York
              retailers’ decisions to purchase less alcohol from
              Empire, which is not itself racketeering activity; [ii] the
              asserted causal relationship between the alleged
              racketeering and retailers’ decisions to purchase less
              alcohol from Empire is intricate and uncertain, as in
              Anza and Hemi, and not Bridge; and [iii] New York State
              is a better situated plaintiff that was more directly
              harmed by the defendants’ alleged racketeering.

Id. at 142.

      So too here. First, Plaintiffs were harmed by the decisions of

independent market participants to purchase cryptocommodities (thereby

artificially inflating prices), which conduct is not itself racketeering activity.

Second, the relationship between Defendants’ alleged racketeering activity —

covering up the unbacked nature of USDT and using unbacked USDT to

purchase cryptocommodities — and the establishment of price floors and the

simulation of organic demand (which purportedly caused Plaintiffs’ injury), is

intricate, uncertain, and contingent on numerous independent decisions made

by other market participants, subject to other market forces. Third, market

participants who directly exchanged cryptocommodities for unbacked USDT

are better situated plaintiffs, as they were more directly harmed by Defendants’

alleged racketeering conduct.

      For the foregoing reasons, the causal connection between Defendants’

purported racketeering and Plaintiffs’ injury is insufficiently “direct” and

“straightforward” to satisfy the proximate cause requirement under Section




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1962(c). Holmes, 503 U.S. at 268. Accordingly, the Court dismisses Plaintiffs’

Section 1962(c) RICO claim. 46

                      ii.     Plaintiffs’ Section 1962(a) Claim Is Dismissed

       Plaintiffs fare no better with Count Nine, their Section 1962(a)

“investment of racketeering proceeds” claim. Given the nearly twenty-eight

pages over which Plaintiffs detail their Section 1962(c) claim, the three pages

they devote to their Section 1962(a) claim makes it seem like an afterthought —

and indeed, the claim is specifically pleaded in the alternative. (See CAC

¶¶ 549-560). Like the Section 1962(c) claim, the Section 1962(a) claim is

brought against all of the DigFinex Defendants; unlike the Section 1962(c)

claim, the Section 1962(a) claim is not also brought against the CC

Defendants.

       As support for the Section 1962(a) claim, Plaintiffs allege that the

DigFinex Defendants engaged in a pattern of racketeering activity that included

wire fraud, engaging in transactions involving criminally derived property, and

operating an unlicensed money transmitting business. (CAC ¶ 553). From this

conduct, the DigFinex Defendants realized both income and proceeds of


46     Plaintiffs argue that proximate cause may nevertheless be established if the injury is “‘a
       foreseeable and natural consequence of [Defendants’] scheme,’ for which Defendants
       are liable.” (Pl. Opp. 47 (quoting Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639,
       658 (2008)); see also id. at 46-50). Plaintiffs misapprehend the relationship between
       proximate cause under RICO and at common law. See, e.g., Hemi Group, 559 U.S. at
       12 (stating that the Supreme Court in “Holmes never even mention[ed] the concept of
       foreseeability”); Lerner v. Fleet Bank, N.A., 459 F.3d 273, 278 (2d Cir. 2006) (“A plaintiff
       must make a different showing of proximate cause — one that is often more difficult to
       make — when bringing suit under the RICO statute than when bringing a common-law
       cause of action.”). Regardless of foreseeability, Plaintiffs must first establish that
       proximate causation is “direct,” Holmes, 503 U.S. at 271, and as discussed above,
       Plaintiffs have failed to do so.
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income, the former as a result of purchases of USDT by legitimate customers

and the latter in the form of debased USDT. (Id. at ¶ 554). According to

Plaintiffs, “Defendants then used their self-issued, debased USDT in the

operation of an association-in-fact enterprise, whose purpose was to artificially

inflate cryptocommodity prices and profit therefrom. That enterprise consisted

of the Tether Defendants, the Bitfinex Defendants, the Individual Defendants,

Poloniex, and Bittrex (the ‘Count Nine Enterprise’).” (Id. at ¶ 555). 47 In other

words, most of the dramatis personae who are alleged to have constituted the

vehicle through which a pattern of racketeering activity was conducted in

Count Eight are, with nearly identical allegations of conduct, also alleged to

constitute the entity into which racketeering proceeds were invested in Count

Nine. Plaintiffs claim injuries as a result of purchasing cryptocommodities at

artificially inflated prices. (Id. at ¶ 558).

       The B/T Defendants take the laboring oar in moving for dismissal of

Plaintiffs’ Section 1962(a) claim, arguing in relevant part that: (i) Plaintiffs fail

to demonstrate “direct causation” in the Section 1962(a) context for the same

reasons as in the Section 1962(c) context (see B/T Br. 27 n.17; B/T Reply 16);

(ii) debased USDT are not “proceeds” derived from racketeering activity within



47     See also CAC ¶ 556:
             The Count Nine Defendants invested debased USDT in
             cryptocommodities through transfers of debased USDT from Tether
             to the Bitfinex crypto-exchange, and then to the Bittrex and
             Poloniex crypto-exchanges, where the debased USDT was sold for
             cryptocommodities. This use of debased USDT in the operation of
             the Count Nine Enterprise directly caused cryptocommodity prices
             to increase.
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the meaning of Section 1962(a) (see B/T Reply 17); and (iii) Plaintiffs fail to

allege a separate enterprise into which the racketeering proceeds were invested

(see id. at 17-18). As discussed in the remainder of this section, certain of the

B/T Defendants’ arguments have more traction than others, but the Court

ultimately dismisses Plaintiffs’ Section 1962(a) claim because of pleading

deficiencies regarding the alleged enterprise, the investment of funds, and the

claimed injury.

      Section 1962(a) provides that:

             [i]t shall be unlawful for any person who has received
             any income derived ... from a pattern of racketeering
             activity ... in which such person has participated as a
             principal ..., to use or invest ... any part of such income,
             or the proceeds of such income, in acquisition of any
             interest in, or the establishment or operation of, any
             enterprise which is engaged in, or the activities of which
             affect, interstate or foreign commerce.

18 U.S.C. § 1962(a). Particularly when compared with the robust caselaw

regarding Section 1962(c), there are fewer cases addressing the requirements of

a claim under Section 1962(a). A sister court in this District has explained

that “[t]o state a claim under [Section] 1962(a), a plaintiff must allege ‘[i] that

the defendants used or invested racketeering income to acquire or maintain an

interest in the alleged enterprise; and [ii] that the plaintiffs suffered injury as a

result of that investment by the defendants.” 4 K & D Corp. v. Concierge

Auctions, LLC, 2 F. Supp. 3d 525, 543 (S.D.N.Y. 2014) (quoting R.C.M. Exec.

Gallery Corp. v. Rols Cap. Co., 901 F. Supp. 630, 642 (S.D.N.Y. 1995)). Another

frequently cited decision from the Eastern District of New York teaches that:


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            in order to state a cause of action for a violation of
            [Section] 1962(a), a plaintiff must allege [i] that a
            defendant received income from a pattern of
            racketeering activity; [ii] invested that income in the
            acquisition of a stake in, or establishment of, an
            enterprise distinct from the one from which the income
            was derived; and [iii] that the plaintiff suffered an injury
            flowing from this reinvestment of racketeering income
            distinct from any injury suffered because of the
            commission of the original predicate acts of
            racketeering activity.

Leung v. Law, 387 F. Supp. 2d 105, 120 (E.D.N.Y. 2005).

      The Leung court’s articulation of a Section 1962(a) claim is echoed in the

B/T Defendants’ argument that Plaintiffs have failed to allege a separate

enterprise into which the proceeds of the racketeering activity were deposited.

(See B/T Reply 17-18). The Court accordingly begins its analysis of Plaintiffs’

Section 1962(a) claim by considering the statute’s enterprise requirement.

      Section 1962(a) aims to prevent “the use of racketeering money to

acquire legitimate companies.” USA Certified Merchs., LLC v. Koebel, 262 F.

Supp. 2d 319, 330 (S.D.N.Y. 2003) (citing Nat’l Org. for Women, Inc. v.

Scheidler, 510 U.S. 249, 259 (1994)); see also Ideal Steel Supply Corp. v. Anza,

652 F.3d 310, 320 (2d Cir. 2011) (“RICO provisions such as [Section] 1962(a)

reflect Congress’s concern about the control of otherwise legitimate business

concerns ‘acquired by the sub rosa investment of profits acquired from illegal

ventures.’” (citations omitted)), cert denied 565 U.S. 1241 (2012). In light of

their differing policy objectives, what qualifies as an “enterprise” under Section

1962(a) can differ from what qualifies as an enterprise under other provisions

of the RICO statute:
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                The “enterprise” referred to in subsections (a) and (b) is
                thus something acquired through the use of illegal
                activities or by money obtained from illegal activities.
                The enterprise in these subsections is the victim of
                unlawful activity and may very well be a “profit-seeking”
                entity that represents a property interest and may be
                acquired. But the statutory language in subsections (a)
                and (b) does not mandate that the enterprise be a
                “profit-seeking” entity; it simply requires that the
                enterprise be an entity that was acquired through illegal
                activity or the money generated from illegal activity.

                By contrast, the “enterprise” in subsection (c) connotes
                generally the vehicle through which the unlawful
                pattern of racketeering activity is committed, rather
                than the victim of that activity. Subsection (c) makes it
                unlawful for “any person employed by or associated
                with any enterprise ... to conduct or participate ... in the
                conduct of such enterprise’s affairs through a pattern
                of racketeering activity....” Consequently, since the
                enterprise in subsection (c) is not being acquired, it
                need not have a property interest that can be acquired
                nor an economic motive for engaging in illegal activity;
                it need only be an association in fact that engages in a
                pattern of racketeering activity.

Scheidler, 510 U.S. at 259; accord Tooker v. Guerrera, No. 15 Civ. 2430 (JS)

(ARL), 2017 WL 3475994, at *7 (E.D.N.Y. Aug. 11, 2017) (“Unlike Section

1962(c), the Section 1962(a) and (b) ‘enterprise’ is ‘not intended to be the

vehicle through which a pattern of racketeering is undertaken, but a separate,

legitimate entity purchased through moneys raised through racketeering.’”

(citing Koebel, 262 F. Supp. 2d at 330-31)); Rush v. Oppenheimer & Co., Inc.,

628 F. Supp. 1188, 1196-97 (S.D.N.Y. 1985) (“Thus where section 1962(c)

envisions the racketeering acts conducted through the enterprise, section

1962(a) portrays the enterprise as the investment object of the criminal

violators.”).

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      A further distinction among civil RICO claims is that “there is no

requirement under section 1962(a) (as opposed to section 1962(c)) that the

‘person’ be distinct from the ‘enterprise.’” Riverwoods Chappaqua Corp. v.

Marine Midland Bank, N.A., 30 F.3d 339, 345 (2d Cir. 1994), abrogated on other

grounds by Cedric Kushner Promotions, Ltd. v. King, 533 U.S. 158, 159 (2001).

Precisely because Section 1962(a) eschews this requirement, “[t]he ‘enterprise’

in [Section 1962(a)] is not necessarily the racketeering enterprise in [Section]

1962(c), but refers to an ‘entity purchased through moneys raised through

racketeering.’” 4 K & D Corp., 2 F. Supp. 3d at 544 (quoting Koebel, 262 F.

Supp. 2d at 330-31).

      All of that said, Plaintiffs must still allege a qualifying enterprise. As

defined in the RICO statute, an “enterprise” includes “any individual,

partnership, corporation, association, or other legal entity, and any union or

group of individuals associated in fact although not a legal entity.” 18 U.S.C.

§ 1961(4). This broad definition “has a wide reach.” Red Fort Cap., Inc. v.

Guardhouse Prods. LLC, 397 F. Supp. 3d 456, 467 (S.D.N.Y. 2019) (quoting

Boyle v. United States, 556 U.S. 938, 944 (2009)). The Supreme Court has

further explained that a RICO enterprise is “a group of persons associated

together for a common purpose of engaging in a course of conduct,” the

existence of which is proven “by evidence of an ongoing organization, formal or

informal, and by evidence that the various associates function as a continuing

unit.” United States v. Turkette, 452 U.S. 576, 583 (1981); accord United States

v. Applins, 637 F.3d 59, 73 (2d Cir. 2011).
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      While the enterprise requirement is “most easily satisfied when the

enterprise is a formal legal entity ... [,] an association-in-fact may also be a

RICO enterprise.” Palatkevich v. Choupak, No. 12 Civ. 1681 (CM), 2014 WL

1509236, at *11 (S.D.N.Y. Jan. 24, 2014) (internal quotation marks omitted)

(citing First Cap. Asset Mgmt., Inc. v. Satinwood, Inc., 385 F.3d 159, 173 (2d

Cir. 2004)). “An association-in-fact enterprise must have, at a minimum, the

following structural features: ‘a purpose, relationships among those associated

with the enterprise, and longevity sufficient to permit these associates to

pursue the enterprise’s purpose.’” Mayfield v. Asta Funding, Inc., 95 F. Supp.

3d 685, 699 (S.D.N.Y. 2015) (quoting Boyle, 556 U.S. at 946).

      Accepting for present purposes Plaintiffs’ allegation that the debased

USDT constitutes the “proceeds” of Defendants’ racketeering acts, the Court

nonetheless concludes that Plaintiffs have failed to allege a qualifying

enterprise into which these proceeds were invested. To begin, Plaintiffs’

articulation of the Section 1962(a) enterprise is decidedly conclusory:

             The [DigFinex] Defendants used their self-issued,
             debased USDT in the operation of an association-in-fact
             enterprise, whose purpose was to artificially inflate
             cryptocommodity prices and profit therefrom. That
             enterprise consisted of the Tether Defendants, the
             Bitfinex Defendants, the Individual Defendants,
             Poloniex, and Bittrex (the “Count Nine Enterprise”).

(CAC ¶ 555). Nothing in this paragraph explains how this enterprise is

anything other than an arbitrary, artificial creation, reverse-engineered

specifically to satisfy Section 1962(a)’s requirement.



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       Worse yet, Plaintiffs fail to draw any meaningful distinctions between the

Section 1962(a) “entity” enterprise charged in Count Nine and the Section

1962(c) “vehicle” enterprise charged in Count Eight. (See CAC ¶¶ 550, 553

(alleging that the DigFinex Defendants “engaged in a pattern of racketeering

activity, as described in Count Eight”); see also id. at ¶¶ 454-473 (describing

the Count Eight RICO enterprise in extensive detail)). There is near-complete

overlap between the members of these two purported enterprises (compare id.

at ¶ 550, with id. at ¶ 555), and Plaintiffs allege no distinctions between the

organizations, backgrounds, or structures of the two enterprises. The principal

difference alleged is a conclusory assertion that one had the goal of issuing

unbacked USDT, while the other had the goal of using the unbacked USDT to

buy cryptocommodities. (Compare id. at ¶ 553, with id. at ¶ 555). But

elsewhere in the Amended Complaint, Plaintiffs go to great lengths to establish

that the DigFinex Defendants, the Exchange Defendants, and the CC

Defendants were all willing participants in the conspiracy to use unbacked

USDT to purchase cryptocommodities with the goal of inflating

cryptocommodity prices. (See, e.g., id. at ¶¶ 419-427). Finally, and most fatal

to their claims, Plaintiffs have failed to allege “a separate, legitimate entity

purchased through moneys raised through racketeering.” Tooker, 2017 WL

3475994, at *7 (citing Koebel, 262 F. Supp. 2d at 330-31). 48




48     To be clear, the Court recognizes, and does not penalize, Plaintiffs for pleading their
       RICO claims in the alternative. But while the Moving Defendants have not challenged
       the adequacy of the enterprise allegations for Count Eight, the B/T Defendants have
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      Put simply, given the nature of their allegations, Plaintiffs cannot satisfy

the enterprise pleading requirements of Section 1962(a) merely by shuffling the

deck of their Section 1962(c) enterprise. For this reason, their Section 1962(a)

claim must be dismissed. Of note, however, Plaintiffs’ failure to plead a Section

1962(a) enterprise has ripple effects for the remaining pleading requirements.

One such deficiency concerns the “investment” requirement of the statute;

because Plaintiffs have failed to allege a qualifying enterprise, Plaintiffs have

also failed to allege the investment of any proceeds of racketeering activity in

the “acquisition of any interest in, or the establishment or operation of” a

commerce-affecting enterprise. 18 U.S.C. § 1962(a). Indeed, even were the

Court to find that Plaintiffs’ Count Nine Enterprise had been adequately

pleaded, it would still have difficulty finding the investment requirement

satisfied. The gravamen of Plaintiffs’ argument is that Defendants’ racketeering

acts yielded proceeds in the form of “debased USDT, which had the market

value of U.S. dollars and was freely exchangeable at that value for other

assets.” (CAC ¶ 554). Yet the ensuing transactions — “transfers of debased

USDT from Tether to the Bitfinex crypto-exchange, and then to the Bittrex and

Poloniex crypto-exchanges, where the debased USDT was sold for

cryptocommodities” (id. at ¶ 556) — would not qualify as “investments,” either

in the Count Nine Enterprise as alleged or any of its constituent entities.




      challenged the adequacy of the enterprise allegations for Count Nine, and the Court
      agrees that they are deficient for Section 1962(a) purposes.
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      Finally, Plaintiffs have failed to allege a qualifying injury. To state a

claim under Section 1962(a), a plaintiff must allege “injury from the

defendant’s investment of the racketeering income[.]” Ouaknine v. MacFarlane,

897 F.2d 75, 83 (2d Cir. 1990). The Second Circuit has suggested that a

broader range of injuries could suffice to state a claim under Section 1962(a)

than under Section 1962(c):

            Further, the numerous disjuncts in [Section] 1962(a)
            create a broad prohibition. Assuming a pattern of
            racketeering activity and a commerce-affecting
            enterprise, both the funds derived “directly or
            indirectly” from such activity and the “proceeds of such
            income” are tainted: no part of the “income, or the
            proceeds of such income” may lawfully be “use[d] or
            invest[ed],” whether “directly or indirectly,” in “the
            establishment or operation” of that enterprise. Thus,
            although the injury alleged to result from the violation
            of subsection (a) — as from the violation of any other
            subsection of [Section] 1962 — must be sufficiently
            directly related to the violation to meet the legal
            standard of proximate cause implied in [Section]
            1964(c), the many disjuncts in [Section] 1962(a) mean
            that any of dozens of combinations or permutations will
            constitute a violation of that section.

Ideal Steel Supply Corp. v. Anza, 652 F.3d 310, 322 (2d Cir. 2011). Even then,

Plaintiffs must allege an injury caused by the investment of the racketeering

proceeds, and not merely by the predicate acts. Plaintiffs’ failures to allege a

qualifying enterprise or a qualifying investment foreclose their ability to plead

injury cognizable under Section 1962(a).

                                        ***

      Because Plaintiffs did not adequately allege a substantive violation of

RICO in either Count Eight or Count Nine, the Court also dismisses Count Ten,
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which alleges a RICO conspiracy in violation of Section 1962(d). See First Cap.

Asset Mgmt., Inc., 385 F.3d at 182 (collecting cases).

              d.      State Law Claims 49

       Finally, Plaintiffs allege state law claims against Tether, Bitfinex, and the

Individual Defendants for common law fraud and a violation of GBL § 349. 50

For the reasons discussed herein, the Court denies Defendants’ motions to

dismiss Count Eleven, Plaintiffs’ common law fraud claim, but grants

Defendants’ motions to dismiss Count Twelve, Plaintiffs’ GBL § 349 claim. 51




49     In this subsection, the term “Defendants” is intended to refer jointly to Tether, Bitfinex,
       and the Individual Defendants, except where explicitly stated otherwise.
50     No party suggests that the Court should apply the law of a state other than New York.
       (See generally B/T Br.; Potter Br.; Pl. Opp.; B/T Reply; Potter Reply). New York courts
       apply an “interest analysis” to choice of law issues involving torts, which analysis seeks
       “to effect the law of the jurisdiction having the greatest interest in resolving the
       particular issue[.]” Cooney v. Osgood Mach., Inc., 81 N.Y.2d 66, 72 (1993). Here, all but
       one of the named Plaintiffs are citizens of New York, and those Plaintiffs purchased
       cryptocommodities in New York in reliance on Defendants’ purported fraudulent
       misstatements, and were also subsequently injured in New York by Defendants’
       purported misconduct. See, e.g., id. at 72-74. Thus, New York is the jurisdiction with
       the greatest interest in the matter, and the Court will apply New York law to Claims
       Eleven and Twelve.
51     Defendants ask the Court to decline to exercise supplemental jurisdiction over Plaintiffs’
       state law claims, arguing that “a ‘district court usually should decline the exercise of
       supplemental jurisdiction when all federal claims have been dismissed at the pleading
       stage.’” (B/T Br. 36 (quoting Denney v. Deutsche Bank AG, 443 F.3d 253, 266 (2d Cir.
       2006))). However, as noted above, the Court declines to dismiss all federal claims.
       When a district court has original jurisdiction in a civil action, it also “shall have
       supplemental jurisdiction over all other claims that are so related to claims in the
       action within such original jurisdiction that they form part of the same case or
       controversy under Article III of the United States Constitution.” 28 U.S.C. § 1367(a).
       Plaintiffs’ state law claims arise out of the same conduct and seek redress for the same
       harm as Plaintiffs’ federal claims. Accordingly, considerations of “economy,
       convenience[,] [and] fairness,” In re Methyl Tertiary Butyl Ether Prods. Liability Litig., 510
       F. Supp. 2d 299, 329-30 & n.137 (S.D.N.Y. 2007) (citing City of Chicago v. Int’l Coll. of
       Surgeons, 522 U.S. 156, 173 (1997)), weigh in favor of the Court’s exercise of
       supplemental jurisdiction over Plaintiffs’ state law claims, and the Court addresses the
       merits of Defendants’ motions to dismiss Counts Eleven and Twelve.
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                    i.    Plaintiffs Adequately Allege Common Law Fraud

      “To state a claim for fraud under New York law, a plaintiff must allege

that (i) the defendant made a misrepresentation or material omission of fact,

(ii) that was false and known to be false by the defendant, (iii) made for the

purpose of inducing the plaintiff to rely upon it, (iv) the plaintiff’s justifiable

reliance on the misrepresentation or material omission, and (v) injury.”

Cosgrove v. Or. Chai, Inc., 520 F. Supp. 3d 562, 587 (S.D.N.Y. 2021) (citing

Pasternack v. Lab’y Corp. of Am. Holdings, 27 N.Y.3d 817, 827 (2016); In re

Fyre Festival Litig., 399 F. Supp. 3d 203, 212-13 (S.D.N.Y. 2019)). Claims for

fraud, even under state law, must satisfy the heightened pleading requirements

of Rule 9(b). See Premium Mortg. Corp. v. Equifax, Inc., 583 F.3d 103, 108 (2d

Cir. 2009); see generally Malvar Egerique v. Chowaiki, No. 19 Civ. 3110 (KPF),

2020 WL 1974228, at *23 (S.D.N.Y. Apr. 24, 2020).

      In moving to dismiss, Defendants contend that Plaintiffs have not

adequately pleaded actual reliance or damage causation. (See B/T Br. 36-38;

B/T Reply 21-24). Potter further argues that Plaintiffs’ allegations as to him

are insufficiently specific to meet Rule 9(b)’s stringent pleading requirements.

For the reasons discussed below, the Court disagrees with Defendants and

denies their motions to dismiss Count Eleven.

      Defendants first argue that Plaintiffs fail to allege reliance with the

requisite particularity because Plaintiffs do not plead facts to show that any of

the individual purchases listed in the Amended Complaint was made in “actual

reliance” on any of Defendants’ purported misrepresentations. (See B/T
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Br. 36). Plaintiffs rejoin that in the market manipulation context, “reliance on

artificial market prices suffices” and that Plaintiffs have pleaded such reliance.

(Pl. Opp. 66; see also CAC ¶ 579). 52 Plaintiffs rely on Minpeco, S.A. v.

ContiCommodity Servs., Inc. (“Minpeco I”), 552 F. Supp. 332 (S.D.N.Y. 1982),

and its progeny in support of their market manipulation theory of reliance.

(See Pl. Opp. 66-67 (collecting cases)).

       In Minpeco, the district court held that the defendants’ manipulation of

the price of silver through monopolization of the silver market entitled plaintiff

to a presumption of reliance in alleging fraud under New York law, even though

the court noted the question of reliance in such a context was an open one

under New York law. 552 F. Supp. at 335-38; see also Minpeco, S.A. v. Hunt

(“Minpeco II”), 718 F. Supp. 168, 176 (S.D.N.Y. 1989). Subsequently, sister

courts in this District have followed Minpeco I in finding that, in a common law

fraud action under New York law alleging market manipulation activity, the

reliance element may be satisfied at the motion to dismiss stage by an

averment that the plaintiff relied on the integrity of the market. See Fezzani v.

Bear, Stearns & Co., 384 F. Supp. 2d 618 (S.D.N.Y. 2004) (explaining that case

law in this District supports the argument that common-law fraud can be



52     The Court disagrees with Defendants’ characterization of the Amended Complaint as
       failing to allege that Plaintiffs relied on artificial market prices. (See B/T Reply 21-22).
       Plaintiffs adequately alleged that they generally relied on Defendants’
       misrepresentations “when purchasing cryptocommodities at artificially high prices
       caused by these materially false statements and omissions.” (CAC ¶ 579). Nor can the
       Court find, as a matter of law, that Plaintiffs knew the markets were inefficient at the
       time they purchased cryptocommodities, as Defendants argue. (See B/T Reply 21).
       Accordingly, the Court declines to dismiss Plaintiffs’ fraud claim on those grounds.
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established on a market manipulation theory), reconsideration denied in

relevant part, No. 99 Civ. 793 (RCC), 2004 WL 1781148 (S.D.N.Y. Aug. 10,

2004); Vandenberg v. Adler, No. 98 Civ. 3544 (WHP), 2000 WL 342718, at *12

(S.D.N.Y. Mar. 31, 2000) (“Allegations of direct and knowing participation in a

market manipulation scheme that injured plaintiff is sufficient to state a fraud

claim under common law.”); Scone Invs., L.P. v. Am. Third Mkt. Corp., No. 97

Civ. 3802 (SAS), 1998 WL 205338, at *10 (S.D.N.Y. Apr. 28, 1998) (“In a

common law fraud action [under New York law] alleging market manipulation,

the reliance element may be satisfied by averment that the plaintiff relied on

the integrity of the market.”); Schultz v. Com. Programming Unlimited Inc.,

No. 91 Civ. 7924 (LJF), 1992 WL 396434, at *3 (S.D.N.Y. Dec. 23, 1992) (“[I]n

the context of allegations of market manipulation a New York court may only

require a plaintiff to allege reliance on the integrity of the market to satisfy the

reliance element of common law fraud.”); In re Blech Sec. Litig., 961 F. Supp.

569, 587 (S.D.N.Y. 1997) (same).

      The cases cited by Defendants are not to the contrary. While Defendants

are correct that in Pasternack v. Laboratory Corporation of America Holdings, 27

N.Y.3d at 817, the New York Court of Appeals generally “decline[d] to extend

the reliance element of fraud to a claim based on the reliance of a third party,

rather than plaintiff,” id. at 829, the Court of Appeals acknowledged that fraud

is actionable where a third party “acted as a conduit to relay the false

statement to plaintiff, who then relied on the misrepresentation to his

detriment,” id. at 828. As such, the Court agrees with Plaintiffs that the
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market manipulation scheme described in the Amended Complaint resembles

this “conduit” theory of third-party reliance, and that Pasternack therefore does

not foreclose reliance in this case.

      Next, Defendants cite two Second Circuit cases, Pennsylvania Public

School Employees’ Retirement System v. Morgan Stanley & Co., Inc. (“PSERS”),

772 F.3d 111 (2d Cir. 2014), and Securities Investor Protection Corporation v.

BDO Seidman, LLP (“SIPC”), 222 F.3d 63 (2d Cir. 2000), to argue that “the

Second Circuit ‘repeatedly has refused to apply’ ... the fraud-on-the-market

theory, ‘to state common law cases.’” (B/T Reply 22 (alteration omitted)

(quoting PSERS, 772 F.3d at 121)). But Defendants’ argument works a sleight-

of-hand on Plaintiffs’ claims. Neither PSERS nor SIPC addresses market

manipulation claims; instead, the plaintiffs in both cases alleged fraud arising

out of specific misrepresentations or omissions. See In re Blech, 961 F. Supp.

at 587 (“It is true that a fraud on the market theory is not available in cases

alleging misrepresentations or omissions. However, in the context of market

manipulation, New York law requires only that a plaintiff allege reliance on the

integrity of the market to satisfy the reliance element of common law fraud.”

(internal citations omitted) (collecting cases)). Recognizing still that neither the

Second Circuit nor New York State courts have yet provided a definitive answer

to the question first addressed in Minpeco — i.e., whether under New York law,

in a market manipulation case, allegations of reliance on the integrity of the

market satisfies the reliance element of common law fraud — the Court finds

the reasoning employed by the Court in Minpeco and its progeny persuasive
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and holds that, at least at the motion to dismiss stage, Plaintiffs have

adequately pleaded reliance. Defendants’ arguments challenging the causation

element fail for the same reasons discussed above: taking all the well-pleaded

allegations in the Amended Complaint as true, Plaintiffs have adequately

alleged that Defendants’ misrepresentations regarding USDT caused Plaintiffs’

injury through a scheme to artificially inflate cryptocommodity prices.

      The Court turns next to Potter’s argument that Plaintiffs fail to satisfy

Rule 9(b)’s particularity requirement. (See Potter Br. 15-16; Potter Reply 9).

The Court disagrees, again for essentially the same reason that the Court

rejected this argument with respect to Potter’s motion to dismiss Plaintiffs’

antitrust and CEA claims. Plaintiffs’ allegations of (i) Potter’s leadership role at

Tether, Bitfinex, and DigFinex; (ii) his status as co-founder of Tether; and

(iii) his willing involvement in covering up USDT’s purportedly unbacked nature

satisfy Rule 9(b) here. (See, e.g., CAC ¶¶ 24, 36, 122, 152-156, 343-347, 480).

As Plaintiffs succinctly explain, “[t]he misrepresentation about Tether being

backed dollar-for-dollar was Tether’s entire supposed business model, and one

of the key features of Tether that Potter and his co-conspirators held out to the

market.” (Pl. Opp. 71). Plaintiffs have pleaded Potter’s involvement in Tether’s

leadership from the entities’ inception through his departure in early 2018. As

such, the Court concludes that Plaintiffs “have adequately stated

circumstances that give rise to a plausible inference of knowledge and

liability[,]” In re DDAVP Direct Purchaser Antitrust Litig., 585 F.3d 677, 695 (2d

Cir. 2009), and denies Potter’s motion to dismiss Count Eleven.
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                     ii.    Plaintiffs’ GBL § 349 Claim Is Dismissed

       Count Twelve alleges that Defendants violated GBL § 349 by

misrepresenting that USDT was fully backed by U.S. dollars. GBL § 349

prohibits “[d]eceptive acts or practices in the conduct of any business, trade or

commerce or in the furnishing of any service in” the state of New York. GBL

§ 349(a). Defendants argue that the conduct at issue was not consumer-

oriented and that Plaintiffs failed to adequately allege that they suffered a

direct injury as a result of Defendants’ allegedly deceptive conduct. (See B/T

Br. 38-40; Potter Br. 17-18; B/T Reply 24-25; Potter Reply 10). The Court

agrees with Defendants that Plaintiffs fail to allege a direct injury and thus do

not have standing under GBL § 349. 53

       To state a claim under GBL § 349, “‘a plaintiff must allege [i] that the

defendant ... engaged in consumer-oriented conduct; [ii] that the conduct was

materially misleading; and [iii] that the plaintiff suffered injury as a result of

the allegedly deceptive act or practice.’” Cosgrove, 520 F. Supp. 3d at 575

(quoting Weisblum v. Prophase Labs, Inc., 88 F. Supp. 3d 283, 292 (S.D.N.Y.

2015)); see also Spagnola v. Chubb Corp., 574 F.3d 64, 74 (2d Cir. 2009).

While “standing under [GBL § 349] had been extended to consumers and




53     The Court is aware of the unsettled nature of crypto-assets under the securities and
       commodities laws. See, e.g., Barron v. Helbiz Inc., No. 20 Civ. 4703 (LLS), 2021 WL
       229609, at *4 (S.D.N.Y. Jan. 22, 2021) (conducting a fact-intensive inquiry into the
       development and use of “Helbiz Coin,” a type of crypto-asset, and thereafter holding
       that it is a security). Here, the Court does not decide whether USDT is a security,
       commodity, or some other type of good or asset. Nor does the Court decide whether
       USDT is consumer-facing. As such, this decision should not be read to foreclose the
       possibility that consumers of USDT have standing to pursue a claim under GBL § 349.
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competitors, the statute had not yet been interpreted to grant a right of action

to parties not suing in either of those capacities.” City of New York v. Smokes-

Spirits.Com, Inc., 12 N.Y.3d 616, 621 (2009) (citing GBL § 349(h)).

Furthermore, “‘derivative actions are barred’ under section 349’” and as such, a

plaintiff alleging only an indirect or derivative injury does not have standing

under GBL § 349. Id. at 622 (quoting Blue Cross & Blue Shield of N.J., Inc. v

Philip Morris USA Inc. (“BCBS of NJ”), 3 N.Y.3d 200, 207 (2004)).

       Here, Plaintiffs do not allege that they are consumers of USDT, nor are

they direct competitors of Defendants. Accordingly, they do not have standing

to pursue their GBL § 349 claim. Smokes-Spirits.Com, Inc., 12 N.Y.3d at 621. 54

Additionally, Plaintiffs’ GBL § 349 claim must be dismissed as a “derivative

action” because Plaintiffs’ claimed injury — in the form of inflated

cryptocommodity prices — is entirely derivative of injuries that Plaintiffs allege

were suffered by misled consumers who exchanged cryptocommodities for

unbacked USDT. See id. at 622 (holding that plaintiff “failed to establish

standing ... because its claimed injury, in the form of lost tax revenue, is

entirely derivative of injuries that it alleges were suffered by misled consumers

who purchased defendants’ cigarettes over the Internet”). This is precisely the


54     To the extent Plaintiffs attempt to assert they are consumers of cryptocommodities, not
       USDT, that claim fails because Plaintiffs clearly argue that they invested in
       cryptocommodities and were injured when their investments decreased in value. (See
       Pl. Opp. 1). Thus, the Court rejects such an argument for the reasons articulated in
       DeAngelis v. Corzine, 17 F. Supp. 3d 270, 284 (S.D.N.Y. 2014) (“[The plaintiff] invested
       funds with [defendants] as investments, not as a purchase of traditional consumer
       goods. Further, the commodities markets, like the securities markets, are subject to
       federal oversight and regulation. The Court thus rejects [plaintiff’s] attempt to apply
       [Section] 349 in this case.”).
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kind of derivative injury the Court of Appeals has repeatedly foreclosed. See id.

at 621-22; accord BCBS of NJ, 3 N.Y.3d at 207; Frintzilas v. DirecTV, LLC, 731

F. App’x 71, 72 (2d Cir. 2018) (summary order) (affirming dismissal of GBL §

349 claim because pleading “that a misleading act led to further steps which

eventually harmed [plaintiffs]” is insufficient and “purely contingent on harm to

third parties”). Accordingly, Plaintiffs’ GBL § 349 claim must be dismissed. 55




55     Plaintiffs cite to the Second Department’s decision in North State Autobahn v.
       Progressive Insurance Group Co., 953 N.Y.S.2d 96 (2d Dep’t 2012), to argue that
       Smokes-Spirits.Com is inapposite. (See Pl. Opp. 74-75). However, North State Autobahn
       does not suggest that Plaintiffs have standing to pursue their GBL § 349 claims here.
       North State Autobahn dealt with a plaintiff who was a direct competitor of the
       defendants. 953 N.Y.S.2d at 105-06. As noted supra, the Court of Appeals has already
       explained that “standing under [GBL § 349] had been extended to consumers and
       competitors.” City of New York v. Smokes-Spirits.Com, Inc., 12 N.Y.3d 616, 621 (2009)
       (emphasis added). However, in Smokes-Spirits.Com, the Court of Appeals explicitly
       declined to expand standing under GBL § 349 “to parties not suing in either of those
       capacities.” Id.
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                                      CONCLUSION

        For the reasons set forth above, Defendants’ motions to dismiss are

GRANTED IN PART and DENIED IN PART. Counts Three, Eight, Nine, Ten,

and Twelve are dismissed. Count Six is dismissed in part. 56 The Moving

Defendants’ motions to dismiss are denied as to Counts One, Two, Four, Five,

Seven, and Eleven. Fowler’s motion to dismiss for lack of personal jurisdiction

is denied.

        Defendants are hereby directed to file Answers to the Amended

Complaint by October 28, 2021. The Parties are directed to file a revised

proposed case management plan and joint status letter by November 18,

2021.

        The Clerk of Court is directed to terminate the motions at docket entries

142, 144, 146, 148, and 167. The Clerk of Court is further directed to mail a

copy of this Opinion to Mr. Fowler at his address of record.

               SO ORDERED.

Dated:         September 28, 2021
               New York, New York                  __________________________________
                                                        KATHERINE POLK FAILLA
                                                       United States District Judge




56      For the reasons discussed supra, Count Six is dismissed as to the Exchange
        Defendants, the Bitfinex Defendants, the Tether Defendants, and DigFinex.
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